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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    UNCONDITIONAL LOVE, INC., et al., 1                       Case No. 23-11759 (MFW)

                                Debtors.                      (Joint Administration Requested)


                    DEBTORS’ MOTION FOR ENTRY OF
      INTERIM AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS
        TO OBTAIN POSTPETITION FINANCING, GRANTING SENIOR
  POSTPETITION SECURITY INTERESTS, AND ACCORDING SUPERPRIORITY
ADMINISTRATIVE EXPENSE STATUS PURSUANT TO SECTIONS 364(c) AND 364(d)
     OF THE BANKRUPTCY CODE, (II) AUTHORIZING THE USE OF CASH
  COLLATERAL, (III) GRANTING ADEQUATE PROTECTION, (IV) MODIFYING
       THE AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

         The debtors and debtors in possession in the above-captioned cases (collectively, the

“Debtors”) file this motion (the “Motion”) 2 for the entry of an interim order, substantially in the

form attached hereto as Exhibit A (the “Interim Order”) and final order 3 (the “Final Order,” and

together with the Interim Order, the “DIP Orders”), (a) authorizing the Debtors to (i) obtain

postpetition secured financing on the terms set forth in the DIP Credit Facility Documents (as

defined below) and (ii) use Cash Collateral; (b) granting liens and providing superpriority claims

with respect to such postpetition financing; (c) approving the form of adequate protection to be

provided by the Debtors to the Prepetition CIT Secured Parties; (d) modifying the automatic stay

to the extent necessary to effectuate the terms and conditions of the Interim Order; (e) scheduling


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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     number, are Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
     Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd, Suite B200,
     Pacific Palisades, CA 90272.
2
     Capitalized terms used in this Motion but not otherwise defined herein shall have the meanings ascribed to them
     in the Interim Order or the DIP Credit Agreement, as applicable.
3
     The Debtors will file the form of Final Order prior to the Final Hearing.
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a final hearing (the “Final Hearing”) to consider entry of the Final Order; and (f) granting related

relief. In support of this Motion, the Debtors submit the Declaration of Erica Buxton in Support

of Debtors’ Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), the

Declaration of Robert J. White in Support of Motion of the Debtors for Entry of Interim and Final

Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing, Granting Senior

Postpetition Security Interests and According Superpriority Administrative Expense Status

Pursuant to Section 364(c) and 364(d) of the Bankruptcy Code, (II) Authorizing the Use of Cash

Collateral, (III) Granting Adequate Protection, (IV) Modifying the Automatic Stay, and (V)

Granting Related Relief (the “White Declaration”), and the Declaration of John P. Madden in

Support of Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors

to (A) Obtain Postpetition Financing, Granting Senior Postpetition Security Interests and

According Superpriority Administrative Expense Status Pursuant to Section 364(c) and 364(d) of

the Bankruptcy Code, (II) Authorizing the Use of Cash Collateral, (III) Granting Adequate

Protection, (IV) Modifying the Automatic Stay, and (V) Granting Related Relief (the “Madden

Declaration”), each of which were filed concurrently herewith. In further support of this Motion,

the Debtors respectfully represent as follows:

                                PRELIMINARY STATEMENT

       1.      As described in the First Day Declaration, the Debtors faced significant challenges

in the months leading to the commencement of these Chapter 11 Cases and have been engaged in

a robust prepetition marketing process to address their liquidity needs. This process has been

successful, and the Debtors enter these Chapter 11 Cases with a stalking horse asset purchase

agreement (the “Stalking Horse APA”) that sets a floor for the purchase of the Debtors’ assets and

facilitates a fair, fulsome, and value-maximizing sale process (the “Sale Process”). Nonetheless,



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the Debtors remain in a dire liquidity situation and cannot fund these Chapter 11 Cases and the

Sale Process without the relief requested herein. Until the Sale Process concludes and the Debtors

have successfully wound down their estates, the DIP Credit Facility and Cash Collateral are

necessary to fund the Debtors’ operating and working capital needs.

       2.      The Debtors engaged in good-faith, arm’s-length negotiations with the Prepetition

CIT Secured Parties over the terms of the DIP Credit Facility, which will permit the Debtors to

fund these Chapter 11 Cases and continue the Sale Process in an orderly, court-supervised setting

to the benefit of their stakeholders. As discussed more fully below, the DIP Credit Facility will

consist of a revolving credit facility in the aggregate maximum principal amount of $47 million,

consisting of approximately $12 million in new money commitments to the Debtors and a

conversion of approximately $35 million of obligations under the Prepetition CIT Loan

Documents into postpetition DIP Credit Facility obligations.

       3.      The Debtors’ ability to enter into the DIP Credit Facility and utilize Cash Collateral

is vital to preserve the value of their business during the course of these Chapter 11 Cases. As the

Debtors do not hold sufficient cash on hand to fund their chapter 11 process, the Debtors must

obtain the ability to use the DIP Credit Facility and Cash Collateral to operate their business,

maintain business relationships with vendors and suppliers, continue manufacturing products for

customers, honor payroll obligations to employees, and satisfy other working capital and

operational needs—all with the aim of ensuring a value-maximizing Sale Process for the benefit

of all stakeholders. Without access to the DIP Credit Facility and Cash Collateral—the Debtors’

sole postpetition financing option at this time—the Debtors would be unable to achieve these

objectives. Accordingly, the relief requested in this Motion is necessary to avoid immediate and

irreparable harm to the Debtors.



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                                   JURISDICTION AND VENUE

       4.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated as of

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)

and, pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors

consent to the entry of a final order by the Court in connection with this Motion to the extent that

it is later determined that the Court, absent the consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       5.      Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       6.      The statutory and legal predicates for the relief sought herein are sections 362, 363,

364, 503, 507, and 552 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002,

4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Local Rules 2002-1(b) and 4001-2.

                                        RELIEF REQUESTED

       7.      By this Motion, the Debtors respectfully request entry of the DIP Orders granting,

among other things, the following relief, as applicable:

       (a)     authorizing the Debtors, as borrowers (the “Borrowers”), to enter into a senior
               secured, superpriority postpetition credit facility in a principal amount of up to
               $47,000,000 (the “DIP Credit Facility,” and the loans extended thereunder, the
               “DIP Loans”) pursuant to the terms of (i) the term sheet attached as Exhibit D to
               the Interim Order (“DIP Term Sheet”); (ii) that certain Senior Secured, Super-
               Priority Debtor-in-Possession Loan, Security and Guarantee Agreement 4 (as
               amended, supplemented or otherwise modified from time to time, the “DIP Credit
               Agreement”), to be executed by and among the Borrowers, CIT Northbridge
               Funding I LLC (the “DIP Lender”), CIT Northbridge Credit LLC, as administrative

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       The Debtors will file the DIP Credit Agreement prior to the Final Hearing on the Motion.

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       and collateral agent (in such capacities, together with its successors and permitted
       assigns, the “DIP Agent,” and together with the DIP Lender, the “DIP Secured
       Parties”), which will embody the terms set forth in the DIP Term Sheet, (iii) the
       DIP Orders; and (iv) any and all other Loan Documents (as defined in the DIP
       Credit Agreement and, together with the DIP Term Sheet, the Interim Order, the Final
       Order, and such other documents as may be designated by the DIP Agent, collectively,
       the “DIP Credit Facility Documents”), to fund, among other things, the Sale
       Process, administrative costs, ongoing working capital, general corporate
       expenditures and other financing needs of the Debtors;

(b)    granting to the DIP Agent, for the benefit of itself and the other DIP Secured Parties
       on account of the DIP Credit Facility and all obligations owed thereunder and
       under, or secured by, the DIP Credit Facility Documents, pursuant to section
       364(c)(1) of the Bankruptcy Code, allowed superpriority administrative expense
       claim status (the “DIP Superpriority Claim”), with priority over all administrative
       expense claims and unsecured claims now existing or hereafter arising, against the
       Debtors;

(c)    authorizing the Debtors to use any and all “cash collateral,” as defined in section
       363 of the Bankruptcy Code (the “Cash Collateral”), which term shall include,
       without limitation, all cash and cash equivalents of the Debtors, whenever or
       wherever acquired, and the proceeds of all collateral pledged to the Prepetition CIT
       Secured Parties, in accordance with the terms set forth in the Interim Order;

(d)    authorizing and approving the Debtors to incur obligations under the DIP Credit
       Facility Documents, including to borrow under the DIP Credit Facility
       (collectively, the “DIP Obligations”), and to use the proceeds of the DIP Credit
       Facility on the terms and conditions set forth in the DIP Orders and DIP Credit
       Facility Documents, including the Approved Budget (as defined below), subject to
       any variances expressly permitted with respect to the Approved Budget;

(e)    authorizing the Debtors to pay principal, interest, fees, expenses, and other DIP
       Obligations payable under the DIP Credit Facility Documents as they become due;

(f)    authorizing and approving the form of adequate protection to be provided by the
       Debtors to the Prepetition CIT Secured Parties, solely to the extent of the aggregate
       Diminution in Value (as defined below), if any;

(g)    modifying the automatic stay imposed by section 362 of the Bankruptcy Code to
       the extent necessary to implement the terms of the DIP Orders and the DIP Credit
       Facility Documents as set forth herein; waiving any applicable stay (including
       under Bankruptcy Rule 6004) with respect to the effectiveness and enforceability
       of the DIP Orders; and providing for the immediate effectiveness of the DIP Orders;

(h)    scheduling the Final Hearing on this Motion to consider entry of the Final Order on
       a final basis and approving the form of notice with respect to such Final Hearing;
       and

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         (i)      granting related relief.

                                             BACKGROUND

   I.          General Background

         8.       On the date hereof (the “Petition Date”), the Debtors commenced voluntary cases

under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the Court. The Debtors are

authorized to operate their businesses and manage their properties as debtors-in-possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No official committee has been

appointed in these Chapter 11 Cases, and no request has been made for the appointment of a trustee

or an examiner. Additional information regarding the Debtors’ business, their capital structure,

and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the First Day

Declaration.

   II.         The Debtors’ Prepetition Capital Structure

         9.       As of the Petition Date, the Debtors have approximately $64.9 million in

outstanding borrowings, consisting of (i) approximately $34.9 million aggregate principal amount

outstanding under the Debtors’ Prepetition CIT Loan Documents and (ii) approximately $30

million in borrowings under the Debtors’ Prepetition Subordinated Notes. The Debtors also have

unsecured obligations consisting of, among other things, trade debt. The Debtors’ outstanding

borrowings are set forth below:




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           Type of Debt                      Maturity                    Amount Outstanding

 Prepetition First Lien Credit    April 12, 2026                    $34,929,332.54
 Agreement

 VMG Partners IV Coinvest L.P.    November 2, 2025                  $17,550,000.00
 Subordinated Note

 VMG Partners Mentors Circle      November 2, 2025                  $314,645.00
 IV, L.P. Subordinated Note

 VMG Partners IV, L.P.            November 2, 2025                  $12,135,355.00
 Subordinated Note

 Total                                                              $64,929,332.54


                a.      Prepetition First Lien Credit Facility

         10.    The Debtors are party to that certain Loan, Security and Guarantee Agreement,

dated as of April 12, 2022 (as amended, supplemented or otherwise modified from time to time,

the “Prepetition First Lien Credit Agreement”), by and among Unconditional Love Inc.,

Unconditional Love Canada, Inc., and The Best Training Pants in the World Inc., as borrowers,

the Lenders (as defined therein), and CIT Northbridge Credit LLC, as agent for the Prepetition

CIT Lenders (together with the Lenders, the “Prepetition CIT Secured Parties”), pursuant to which

the Debtors received a revolving line of credit in an initial aggregate commitment amount of $65

million. Pursuant to the Prepetition First Lien Credit Agreement and various other Security

Documents (as defined in the Prepetition First Lien Credit Agreement), the obligations under the

Prepetition First Lien Credit Agreement are secured by a first priority security interest in

substantially all of the assets of the Debtors other than certain excluded assets (the “Prepetition

Collateral”). As of the Petition Date, the aggregate principal amount outstanding under the

Prepetition First Lien Credit Agreement and other documents, instruments, and agreements

executed in connection with the Prepetition First Lien Credit Agreement (collectively, the



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“Prepetition CIT Loan Documents”) is approximately $34.9 million, plus accrued and unpaid

interest thereon.

          iii. Prepetition Equipment Leases

          11.      Unconditional Love Inc. is also party to multiple master equipment leases, which

include: (i) that certain Master Equipment Lease Agreement No. 2022092, dated as of December

12, 2022, by and among CSC Leasing Co. (“CSC”) and Unconditional Love Inc., (ii) that certain

Master Lease Agreement, dated as of March 10, 2021, by and among 36th Street Capital Partners

LLC (“36th Street Capital”) and Unconditional Love Inc., (iii) that certain Master Lease

Agreement No. 106020, dated as of February 16, 2023, by and among Consultants Group

Commercial Funding Corporation (d/b/a Nexseer Capital) (“Nexseer”) and Unconditional Love

Inc., which Nexseer has subsequently sold and assigned all of its right, title and interest in to NFS

Leasing, Inc. (“NFS”), pursuant to that certain Notice and Acknowledgement of Assignment, dated

as of February 24, 2023, and (iv) that certain Master Equipment Lease Agreement, dated as of

December 1, 2022, by and among SGC Capital Corporation (“SGC”) and Unconditional Love Inc.

(collectively, as amended, supplemented or otherwise modified from time to time, the “Prepetition

Equipment Leases”).         The Prepetition Equipment Leases each relate to individual diaper

manufacturing lines and certain other equipment, in each case, as scheduled in each applicable

Prepetition Equipment Lease.

   III.         The Debtors’ Urgent and Immediate Liquidity Needs

          12.      As set forth in the First Day Declaration, the Debtors faced significant economic

and operational challenges that strained their liquidity in the months prior to the Petition Date. As

a result, the Debtors and their advisors considered several potential restructuring alternatives,

including additional debt or equity financing, or an acquisition of the Company.



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       13.     The Debtors ultimately determined that they would need to file for chapter 11

protection to effectuate any potential transaction given their liquidity situation. See White

Declaration ¶10. Accordingly, the Debtors, in consultation with their financial advisor, Emerald

Capital Partners (“Emerald”), performed a review and analysis of their projected cash needs to

operate their business in the ordinary course and fund the administrative expenses associated with

pursuing and consummating the Sale Process in chapter 11. See Madden Declaration ¶12. The

Debtors concluded that the use of Cash Collateral, alone, would be insufficient to meet the

Debtors’ postpetition liquidity needs and that supplemental postpetition financing would be

necessary to fund a chapter 11 process. See White Declaration ¶11.

       14.     In parallel with their prepetition marketing process, the Debtors engaged in

discussions with the Prepetition CIT Secured Parties concerning their potential restructuring

transaction, the need for relief under the Prepetition CIT Loan Documents, and potential

postpetition financing. During the course of these discussions, the Prepetition CIT Secured Parties

informed the Debtors that (a) they would be willing to provide postpetition financing if the Debtors

secured a stalking horse bidder, and (b) in such a scenario, the Prepetition CIT Secured Parties

would consent to the consensual use of their Cash Collateral. See White Declaration ¶12.

       15.     The Debtors also evaluated whether they would be able to obtain DIP financing

from third parties. In August 2023, the Debtors’ investment banker, Jefferies LLP (“Jefferies”),

commenced a DIP financing marketing process designed to gauge the availability of postpetition

financing alternatives. Jefferies contacted 86 potential parties active in the debtor-in-possession

financing market, 26 of whom signed nondisclosure agreements and were granted access to

additional due diligence. Jefferies received two preliminary indications of interest, but ultimately

none of these potential lenders expressed a willingness to provide debtor-in-possession financing



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either (a) secured by liens junior to the liens of the Prepetition CIT Secured Parties or (b) secured

by priming liens without the consent of the Prepetition CIT Secured Parties, given the attendant

cost and delay of a likely priming dispute. See White Declaration ¶13.

       16.     In early October, with their marketing process in advanced stages, the Debtors

faced increasing pressure on their cash resources. The Prepetition CIT Secured Parties provided

an interim liquidity solution that enabled the Debtors to conclude negotiations with their stalking

horse bidder prior to commencing chapter 11 cases. On October 12, 2023, the Debtors entered

into that certain Limited Agreement Regarding Loan Availability Calculations During Limited

Modification Period with the Prepetition CIT Secured Parties (the “Letter Agreement”), which

temporarily modified the Prepetition First Lien Credit Agreement’s borrowing limits. Specifically,

the Letter Agreement (i) reduced the Rent and Charges Reserve (as defined in the Prepetition First

Lien Credit Agreement) by $570,000 during the Limited Modification Period (as defined in the

Letter Agreement), and (ii) allowed the total Revolver Usage to exceed the Borrowing Base (each

as defined in the Prepetition First Lien Credit Agreement) by $250,000 during the Limited

Modification Period.

       17.     Although the Letter Agreement with the Prepetition CIT Secured Parties enabled

the Debtors to transition smoothly into chapter 11, the Debtors nonetheless need immediate access

to additional cash to continue their operations and fund their cases. To that end, the Debtors and

Emerald, in conjunction with the Prepetition CIT Secured Parties, prepared a budget outlining the

Debtors’ postpetition cash needs (as amended, modified, or supplemented from time to time with

the DIP Agent’s written consent, the “Approved Budget”), a copy of which is attached as Exhibit A

to the Interim Order. The Debtors believe that the Approved Budget is an accurate reflection of

their funding requirements and will allow them to meet their obligations, including administrative



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expenses, in these Chapter 11 Cases. The Debtors also believe that the Approved Budget is fair,

reasonable, and appropriate under the circumstances. Madden Decl. ⁋ 14.

       18.     The Debtors’ marketing efforts and the Prepetition CIT Secured Parties’

cooperation ultimately resulted in the proposed postpetition financing terms offered by the DIP

Lender, which the Debtors have determined are the most cost-effective and beneficial debtor-in-

possession financing terms available to them under the circumstances. The DIP Credit Facility

and use of Cash Collateral are necessary to, among other things, (a) fund the Debtors’ working

capital and capital expenditure needs during the course of these Chapter 11 Cases and ensure

payments to employees, third-party vendors, utilities, and taxing authorities, among others, all of

which are critical to operate and maintain the Debtors’ business; (b) ensure the timely payment of

chapter 11 administrative expenses; (c) pursue the Sale Process; and (d) provide a positive message

to the market that these Chapter 11 Cases are sufficiently funded, which is critical to ensure that

customers, employees and vendors maintain confidence in the Debtors. The relief requested herein

is necessary to avoid immediate and irreparable harm to the Debtors and critical to the Debtors’

efforts to maximize value for their stakeholders through their Sale Process.

     SUMMARY OF DIP CREDIT FACILITY AND USE OF CASH COLLATERAL

       19.     In accordance with Bankruptcy Rules 4001(b)(1) and 4001(c)(1), and Local Rule

4001-2(a)(i) and (ii), a summary of certain key terms of the DIP Credit Facility and DIP Orders is

set forth below. The below summary is qualified in its entirety by reference to the applicable

provisions of the DIP Orders and the DIP Credit Facility Documents, and the DIP Orders and the




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DIP Credit Facility Documents will control in the event of any inconsistency between the below

summary and such documents, as applicable.

                                 Summary of Material Terms of DIP Facility 5

    DIP Facility Parties           Borrowers (or “Debtors”):
                                   (i)   Unconditional Love Inc.
    Bankruptcy Rule                (ii)  The Best Training Pants in the World Inc.
    4001(c)(1)(B)                  (iii) Unconditional Love Canada, Inc.

    DIP Term Sheet, p. 1           Guarantors:
                                   (i)   Unconditional Love Inc.
                                   (ii)  The Best Training Pants in the World Inc.
                                   (iii) Unconditional Love Canada, Inc.

                                   Lenders: CIT Northbridge Funding I LLC (“DIP Lender”)

                                   DIP Agent: CIT Northbridge Credit LLC

    DIP Facility Amount            The DIP Lender will provide the Borrowers a revolving credit facility in
                                   the aggregate, maximum principal amount of forty-seven million dollars
    Bankruptcy Rule                ($47,000,000) (such amount, the “Maximum DIP Facility Amount”),
    4001(c)(1)(B)                  consisting of new revolving availability of up to twelve million seventy
                                   thousand six hundred sixty seven dollars and forty six cents
    Local Rule                     ($12,070,667.46) (the “Maximum DIP Funding Amount”), and a
    4001-2(a)(i)(A)                conversion of thirty-four million, nine hundred twenty nine thousand three
                                   hundred thirty two dollars and fifty four cents ($34,929,332.54) of
    DIP Term Sheet, p. 1           obligations under the Pre-Petition Credit Agreement into post-petition
                                   DIP Facility obligations; provided, however, that until entry of the Final
    Proposed Interim DIP           Order, the amount of DIP Facility advances shall be limited to an amount
    Order, Recitals                that would not cause DIP Facility Usage (i.e., the sum of (a) the total principal
                                   amount of obligations under the DIP Facility (prior to giving effect to a
                                   proposed DIP Facility revolving advance); plus (b) the total balance of
                                   obligations under the Pre-Petition Loan Documents) to exceed the Opening
                                   Pre-Petition Loan Balance (i.e., $34,929,332.54) by more than five million
                                   five hundred thousand dollars ($5,500,000).

    Use of Proceeds                Subject to the DIP Term Sheet, proceeds of the DIP Facility shall be
                                   available for the Debtors’ working capital needs, including but not limited
    Bankruptcy Rule                to fund the costs of the administration of these Chapter 11 Cases and to
    4001(c)(1)(B)(ii), (iii)       pay professional fees and expenses.

    DIP Term Sheet, p. 6




5
      Capitalized terms used in this summary of the DIP Facility but not defined in the summary shall have the meanings
      ascribed to them in the DIP Term Sheet.

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Proposed Interim DIP
Order, ¶ 1

Liens and Priorities     The DIP Facility (including accrued interest, fees, costs and expenses)
                         shall be secured by first priority senior and priming liens and security
Bankruptcy Rule          interests (the “DIP Credit Liens”) in all of the Debtors’ property,
4001(c)(l)(B)(i)         including, without limitation, all of Debtors’ existing and future acquired
                         property and interests of any nature whatsoever, real and personal,
DIP Term Sheet, p. 7     tangible and intangible, including accounts receivable, general
                         intangibles, payment intangibles, supporting obligations, investment
Proposed Interim DIP     property, commercial tort claims, inventory, rolling stock, machinery,
Order, ¶ 7               equipment, subsidiary capital stock, chattel paper, documents,
                         instruments, deposit accounts, contract rights, and tax refunds of each
                         Debtor, excluding only Avoidance Actions, but including, subject to entry
                         of the Final Order, Avoidance Proceeds (collectively, the “DIP
                         Collateral”), subject and subordinate only to: (i) any valid, properly
                         perfected, enforceable, non-avoidable prior liens and security interests
                         existing as of the Petition Date (including any Liens that are perfected after
                         the Petition Date that are afforded priority due to the express relation back
                         of the perfection of such lien to a date prior to the Petition Date as
                         permitted by Bankruptcy Code section 546(b)) that are senior to the liens
                         and security interests in favor of the Pre-Petition Agent and/or the Pre-
                         Petition Lenders (the “Permitted Senior Liens”), and (ii) the Carve Out.

Fees                     Unused Line Fee: 50 basis points per annum

Bankruptcy Rule          Collateral Management Fee: $7,000 per month, fully earned and payable
4001(c)(1)(B)            in advance on the first business day of each month

Local Rule               Upfront Fee: $200,000, payable on the date of the first DIP Facility draw.
4001-2(a)(i)(B)

DIP Term Sheet, p. 4



Interest Rate            Interest on all outstanding advances under the DIP Facility shall accrue
                         from and after the Petition Date at a per annum rate equal to Adjusted
Bankruptcy Rule          Term SOFR + 8.00% (the “Non-Default Interest Rate”). The Adjusted
4001(c)(1)(B)            Term SOFR rate shall have a floor of 1.50%.

Local Rule
4001-2(a)(i)(B)

DIP Term Sheet, p. 5


Limitation on Court’s    N/A
Power or Discretion to
Enter Future Orders


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Local Rule
4001-2(a)(i)(C)

Funding to Non-Debtor       N/A
Affiliates

Local Rule
4001-2(a)(i)(D)

Conditions of               Conditions Precedent to Closing and Funding Initial Draw:
Closing and Borrowing
                               (a) The approval of the Budget by the DIP Agent, together with all
Bankruptcy Rule                    financial information and projections regarding the Debtors
4001(c)(1)(B)                      requested by the DIP Agent, all in form and substance satisfactory
                                   to the DIP Agent in its sole discretion,
Local Rule
4001-2(a)(i)(E)                (b) The entry of an Interim Order approving the DIP Facility, the DIP
                                   Credit Liens, and the DIP Superpriority Claim, and containing
DIP Term Sheet, pp. 13-14          such other orders and findings as the DIP Agent may require,
                                   including modification of the automatic stay after a specified
                                   notice period following the occurrence of an Event of Default
                                   enabling the DIP Agent to exercise certain rights and remedies
                                   against the DIP Collateral, which Interim Order or Final Order, as
                                   applicable, shall not have been modified or amended without
                                   approval of the DIP Agent, and shall not have been reversed,
                                   vacated or stayed pending appeal, in form and substance
                                   satisfactory to the DIP Agent in its sole discretion,

                               (c) The DIP Agent’s approval (not to be unreasonably withheld,
                                   conditioned, or delayed) of all material first day motions and
                                   orders filed in the Chapter 11 Cases relating to the 363 Sale or
                                   requiring the expenditure of cash amounts greater than $25,000 in
                                   the aggregate,

                               (d) The continuation of Debtors’ present cash management system,

                               (e) The form and substance of the DIP Term Sheet shall be
                                   satisfactory to the DIP Agent in its sole discretion,

                               (f) The Debtors’ delivery to the DIP Agent of an executed asset
                                   purchase agreement, prior to the Petition Date, between the
                                   Debtors and the Stalking Horse Bidder, in form and substance
                                   satisfactory to the DIP Agent at its sole discretion, providing for
                                   the Stalking Horse Bidder’s purchase of substantially all of the
                                   Debtors’ assets; and

                               (g) No material adverse change in the Debtors’ operations (financial,
                                   environmental, or otherwise), performance, or properties (other
                                   than as a result of (i) the commencement of the Chapter 11 Cases



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                                 or (ii) events or circumstances disclosed to the DIP Agent prior to
                                 the Petition Date), has occurred since the Petition Date.

                         Conditions Precedent to Subsequent Draws:

                             (a) There shall exist no Event of Default (or event that would
                                 constitute an Event of Default with the giving of notice or lapse
                                 of time) under any of the DIP Financing Documents, and the
                                 representations and warranties therein shall be true and correct in
                                 all material respects;

                             (b) Compliance with Bankruptcy Rule 4001 and any applicable Local
                                 Bankruptcy Rules, the entry of the Interim Order and the Final
                                 Order (as applicable), together with any other order requested by
                                 the DIP Agent authorizing and approving the DIP Facility in form,
                                 substance and amount acceptable to the DIP Agent in its sole
                                 discretion;

                             (c) Payment of all fees and expenses owing to the DIP Agent in
                                 connection with the DIP Facility (which payment may be made
                                 from the proceeds of such borrowing);

                             (d) Satisfaction of all other borrowings set forth in the DIP credit
                                 agreement (which shall be substantially the same as in the Pre-
                                 Petition Credit Agreement, including, the absence of any Material
                                 Adverse Effect since the Petition Date), and

                             (e) the DIP Financing Documents and the Interim and Final Orders
                                 shall include such waivers, indemnities, and other provisions as
                                 are acceptable to the DIP Agent in its sole discretion.


Budget                   The Budget is attached as Exhibit A to the Interim Order.

Bankruptcy Rule          The Debtors believe that the Budget will be adequate, considering all
4001(b)(1)(B)(ii)        available assets, to pay all administrative expenses due or accruing during
                         the period covered by the Budget.
Local Rule
4001-2(a)(iii)

DIP Term Sheet, p. 3-4

Proposed Interim DIP
Order, ¶¶ 1-2

DIP Liens on             See “Liens and Priorities” above.
Unencumbered Assets

Local Rule
4001-2(a)(i)(G)



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DIP Term Sheet, p. 7

Proposed Interim DIP
Order, ¶ 7

Chapter 11                The Debtors shall comply with the following milestones:
Milestones
                             (a) On the Petition Date, the Debtors shall have entered into an asset
Bankruptcy Rule                  purchase agreement with the Stalking Horse Bidder, in form and
4001(c)(1)(B)(vi)                substance satisfactory to the DIP Agent, providing for the Stalking
                                 Horse Bidder’s purchase of substantially all of the Debtors’ assets
Local Rule                       (subject to the Auction and process contemplated in the Sale
4001-2(a)(i)(H)                  Procedure Order);

DIP Term Sheet, pp. 16-      (b) On or before one business day after the Petition Date, or such later
17.                              date to which the DIP Agent consents in writing in its sole
                                 discretion, the Debtors shall file a motion, in form and substance
                                 acceptable to the DIP Agent, requesting entry of the Sale
                                 Procedure Order (as defined below) authorizing procedures for
                                 the sale of substantially all of the Debtors’ assets to the Stalking
                                 Horse Bidder (or, if an Auction is held, to the Winning Bidder);

                             (c) On or before 30 days after Petition Date, or such later date to
                                 which the DIP Agent consents in writing in its sole discretion, the
                                 Bankruptcy Court shall have entered the Sale Procedure Order;

                             (d) On or before the date that is 72 days after the Petition Date, the
                                 Debtors shall have conducted an auction for the sale of
                                 substantially all of their assets (if necessary) and selected the
                                 successful bidder for the substantially all of their assets;

                             (e) On or before the date that is 75 days after the Petition Date, or
                                 such later date to which the DIP Agent consents in writing in its
                                 sole discretion, the Bankruptcy Court shall have entered the Sale
                                 Order approving the 363 Sale; and

                             (f) On or before the date that is 77 days after the Petition Date,
                                 provided that the Bankruptcy Court has waived the stay imposed
                                 by Bankruptcy Rule 6004(h) or such later date to which the DIP
                                 Agent consents in writing in its sole discretion, the Sale shall be
                                 closed.


Prepayment Premiums       None.

Local Rule
4001–2(a)(i)(I)




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Joint Liability of Debtors   Each of the Debtors, jointly and severally, promises and agrees to pay to
                             the DIP Agent and the DIP Lender all DIP Facility advances, together with
Local Rule                   interest thereon accruing pursuant to the DIP Financing Documents, in
4001–2(a)(i)(J)              full, in cash.
DIP Term Sheet, p. 5

Payment of DIP Secured       The Debtors shall promptly pay or reimburse the DIP Agent when
Parties Expenses             requested for all reasonable and documented costs and expenses of
                             counsel (including, without limitation, local counsel) and financial
Bankruptcy Rule              advisors for the DIP Secured Parties relating to the DIP Facility and the
4001(c)(1)(B)(ix)            administration and interpretation of, and the enforcement of remedies
Local Rule                   under, the DIP Facility, regardless of whether such amounts were incurred
4001-2(a)(i)(K)              prior to or after the Petition Date, including but not limited to, due-
                             diligence, duplication or printing costs, consultation, travel, and
DIP Term Sheet, p. 9         attendance at court hearings, regardless of whether the DIP Facility is
                             consummated. The DIP Agent shall have the right to charge the DIP
Proposed Interim DIP         Facility for any such fees and costs. Failure to pay such fees and expenses
Order, ¶ 5                   within ten (10) days of delivery of the applicable fee reimbursement
                             request shall be an Event of Default under the DIP Facility if such failure
                             continues unremedied for more than two (2) business days after written
                             notice of such failure to the Debtors, provided that the DIP Agent shall
                             concurrently provide copies of any fee reimbursement request to the U.S.
                             Trustee and the Committee (if any) and allow such parties and the Debtors
                             ten (10) days to review and object to any fees or expenses requested
                             therein. If any objection is asserted, the Bankruptcy Court shall decide the
                             issue and the Debtors shall not be required to pay any disputed portion of
                             such fees or expenses until the matter is resolved.

Limitations on               A Committee (if any) and its professionals shall be permitted to
Investigations of Liens      investigate the liens of the Pre-Petition Agent and Pre-Petition Lenders in
                             connection with the Pre-Petition Credit Agreement, with such
Local Rule                   investigation fees not to exceed $25,000.
4001–2(a)(i)(L)

DIP Term Sheet, p. 6

Events of Default            In addition to certain Events of Default consistent with the Pre-Petition
                             Credit Agreement, Events of Default shall mean the occurrence of any of
Bankruptcy Rule              the following:
4001(c)(l)(B)
Local Rule                       a. The Debtors shall cease to employ a chief executive officer or
4001-2(a)(i)(M)                     chief restructuring officer who is reasonably acceptable to the DIP
                                    Agent (it being understood that Erica Buxton and John Madden
DIP Term Sheet, pp. 18-20           shall be acceptable to the DIP Agent).

                                 b. Any of the Chapter 11 Cases shall be converted to a case under
                                    Chapter 7 of the Bankruptcy Code or be dismissed.

                                 c. Filing or support of a proposed plan of reorganization by any
                                    Debtor that does not provide for the indefeasible payment in full


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                   and in cash of Debtors’ obligations outstanding under the DIP
                   Facility, unless otherwise agreed in writing by the DIP Agent in
                   its sole discretion.

              d. The filing by the Debtor of, or the filing of motion or pleading
                 requesting confirmation of, a plan of reorganization that does not
                 require the indefeasible repayment in full, in cash of the DIP
                 Facility as of the effective date of the plan, unless otherwise agreed
                 in writing by the DIP Agent in its sole discretion.

              e. Appointment of a trustee under Section 1104 of the Bankruptcy
                 Code without the express written consent of the DIP Agent, or the
                 failure of the Debtors to oppose prior to the applicable objection
                 deadline (as such deadline may be extended from time to time)
                 any motion or other pleading requesting such relief.

              f.   Appointment of an examiner with expanded or enlarged powers
                   (powers beyond those set forth in Section 1106(a)(3) and (4) of the
                   Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code
                   without the prior written consent of the DIP Agent, or the failure
                   of the Debtors to oppose prior to the applicable objection deadline
                   (as such deadline may be extended from time to time) any motion
                   or other pleading requesting such relief.

              g. Entry of an order by the Bankruptcy Court amending,
                 supplementing, staying, vacating or otherwise modifying the DIP
                 Facility, the Interim Order or Final Order approving the DIP Facility,
                 without the prior written consent of the DIP Agent or the failure of
                 the Debtors to oppose prior to the applicable objection deadline
                 (as such deadline may be extended from time to time) any motion
                 or other pleading requesting such relief.

              h. Any Debtor commences an adversary proceeding or files a motion
                 to obtain, or if any other party in interest obtains, an order of the
                 Bankruptcy Court or other judgment, and the effect of such order
                 or judgment is to, invalidate, reduce or otherwise impair the
                 claims of the DIP Agent, DIP Lender, Pre-Petition Agent, or Pre-
                 Petition Lenders, or to subject any of the collateral of the DIP
                 Agent or Pre-Petition Agent to a surcharge pursuant to Section
                 506(c) of the Bankruptcy Code.

              i.   Any Debtor shall request approval of any postpetition financing,
                   other than the DIP Facility, that would not immediately repay all
                   DIP Facility obligations, in full, in cash, on the date of the closing
                   of such postpetition financing.

              j.   Any Debtor shall apply for an order substituting any assets for all
                   or any portion of the DIP Collateral.

              k. Subject to the Carve Out and the Permitted Senior Liens, entry of
                 an order granting liens or claims that are senior or pari passu to

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                   the liens granted in favor of the DIP Agent and/or the DIP Lender
                   under the DIP Financing Documents.

              l.   Any Debtor shall assert in any pleading that any of the DIP Credit
                   Liens are invalid, or any DIP Credit Liens granted to the DIP
                   Agent or DIP Lender shall be determined by the Bankruptcy Court
                   to be invalid.

              m. Any payment on, or application for authority to pay any pre-
                 petition claim owing to terminated employees or lease rejection
                 damages without prior written consent of the DIP Agent or as
                 otherwise set forth in the Budget.

              n. If at any time prior to the conclusion of the sale process, either (i)
                 the Debtors announce or state in writing that the sales process has
                 been terminated or suspended, and such termination or suspension
                 continues for more than seven (7) days without the DIP Agent’s
                 consent; or (ii) the DIP Agent has filed a notice with the
                 Bankruptcy Court, at least two (2) business days before the
                 effective date of any declared default, of its intent to declare an
                 event of default as a result of the sales process being terminated
                 or suspended for more than seven (7) days (with the Debtors
                 reserving all rights to seek further order of the Bankruptcy Court
                 concerning whether such alleged suspension is an actionable
                 default).

              o. A final order is entered granting any creditor relief from the
                 automatic stay that would permit the foreclosure of any assets of
                 the Debtors with a value in excess of $500,000 in the aggregate.

              p. Failure to make any payment of (i) principal, interest, or DIP Fees
                 under the DIP Facility when due or (ii) any other amount (other
                 than principal, interest, or DIP fees) where such payment default
                 has continued for five (5) days.

              q. Failure to pay by the applicable due dates (after giving effect to
                 applicable grace periods) any material indebtedness in excess of
                 $500,000 incurred after the Petition Date, which payment is not
                 otherwise stayed.

              r.   Breach of any Milestones.

              s. Breach of any other covenant set forth in any DIP Financing
                 Document and such breach shall continue for five (5) Business
                 Days after notice by the DIP Agent to the Debtors.

              t.   Any material representation or warranty by any Debtor is
                   incorrect or misleading in any material respect when made.

              u. Exclusivity shall have been terminated or any Debtor shall have



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                                  agreed to any such termination.

                              v. After entry thereof, either of the Sale Procedure Order or the Sale
                                 Order shall cease to be in full force and effect, shall have been
                                 reversed, stayed, vacated or subject to stay pending appeal or shall
                                 have been modified or amended without the prior written consent
                                 of the DIP Agent (not to be unreasonably withheld, conditions or
                                 delayed).

                              w. Unless the Stalking Horse Bidder fails to be the Winning Bidder,
                                 or a back-up-bidder, following the conclusion of an Auction, the
                                 Stalking Horse Bidder designated in the motion seeking approval
                                 of the Sale Procedures Order shall drop out of the sale process or
                                 otherwise indicate that it is unable to close the sale process within
                                 ninety (90) days of the Petition Date.

                              x. Any Debtor shall file a motion to seek (or support any other
                                 Person in seeking) an order to restrict or prohibit the DIP Agent,
                                 DIP Lender, Pre-Petition Agent, or Pre-Petition Lender from
                                 submitting a “credit bid” for any DIP Collateral.

                              y. Any Debtor commences any Challenge Action (as such term is
                                 defined in the interim or final order approving the DIP Facility)
                                 against the Pre-Petition Agent or any Pre-Petition Lender.


Cross-Collateralization   N/A

Local Rule
4001–2(a)(i)(N)

Roll-Up                   Prior to entry of the Final Order, all collections and proceeds of DIP
                          Collateral shall be applied to reduce, on a dollar for dollar basis, the
Local Rule 4001–          obligations under the Pre-Petition Credit Agreement and Pre-Petition
2(a)(i)(O)                Loan Documents. Upon entry of the Final Order, all obligations under the
                          Pre-Petition Credit Agreement and other Pre-Petition Loan Documents in
DIP Term Sheet, p. 1      an amount equal to $34,929,332.54 shall be deemed and become post-
                          petition obligations under the DIP Facility.

Non-Consensual            N/A
Priming Liens

Local Rule
4001–2(a)(i)(P)

Debtors’ Stipulations     The Debtors shall stipulate in the Interim Order and Final Order that (i) the
                          liens of the Pre-Petition Agent and the other Pre-Petition Lenders securing
Bankruptcy Rule           the Pre-Petition Credit Facility are valid, perfected, encumber all assets of
4001(c)(1)(B)(iii)        the Debtors, and have first priority, and (ii) the Debtors possess no claims,
                          offsets or any other type cause of action against the Pre-Petition Agent or
Local Rule
4001–2(a)(i)(Q)           any of the Pre-Petition Lenders that would impair, in any manner, the liens


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                            of the Pre-Petition Agent or any of the Pre-Petition Lenders against the
DIP Term Sheet, p. 8        Debtors’ assets or the obligations of the Debtors to the Pre-Petition Agent
                            and Pre-Petition Lenders under the Pre-Petition Credit Facility. The
Proposed Interim DIP        Debtors’ stipulations shall be binding upon all parties in interest in the
Order, ¶E                   Chapter 11 Cases, including any Committee that is appointed, unless (i)
                            an adversary proceeding is filed by any party-in-interest (including any
                            Committee appointed in the Chapter 11 Cases) prior to the expiration of
                            seventy-five (75) days after entry of the Interim Order (the “Review
                            Period”) against the Pre-Petition Agent or the Pre-Petition Lenders (as
                            applicable) challenging the Pre-Petition Agent or the Pre-Petition
                            Lender’s liens (as applicable) or otherwise asserting estate claims against
                            the Pre-Petition Agent or the Pre-Petition Lenders (as applicable), and (ii)
                            a final, non-appealable judgment is entered against the Pre-Petition Agent
                            or the Pre-Petition Lenders (as applicable) in such adversary proceeding.
                            Any party-in-interest that fails to file an adversary proceeding within the
                            Review Period shall be forever barred from asserting any claims against
                            the Pre-Petition Agent or the Pre-Petition Lenders on behalf of any
                            Debtor’s estate, or challenging in any manner the liens and claims of the
                            Pre-Petition Agent or the Pre-Petition Lenders against any of the Debtors.

Immediate Approval of       The Debtors are authorized, pursuant to sections 363 and 364, to enter into
DIP Documents               the DIP Credit Facility and DIP Credit Facility Documents pursuant to the
                            terms and conditions of the DIP Credit Facility Documents and the Interim
Local Rule                  Order; provided, however, that until entry of the Final Order, the amount of
4001–2(a)(i)(R)             DIP Facility advances shall be limited to an amount that would not cause
DIP Term Sheet, p. 1        DIP Facility Usage to exceed the Opening Pre-Petition Loan Balance by
                            more than five million five hundred thousand dollars ($5,500,000).
Proposed Interim DIP
Order, ¶ 1

Notice of an Event of       Upon the occurrence of: (i) an Event of Default (as such term is defined
Default                     in any DIP Credit Facility Document); (ii) the Debtors’ failure to comply
Local Rule                  with the terms of the Interim Order or the Final Order (including, without
4001–2(a)(i)(S)             limitation, failure to comply with the Approved Budget, subject to any
                            Approved Budget Variances); or (iii) the Debtors’ failure to comply with
DIP Term Sheet, pp. 17-18
                            any of the sale milestones attached to the Interim Order as Exhibit B (such
Proposed Interim DIP        milestones, the “Milestones”), and the giving of written notice thereof by
Order, ¶ 19                 the DIP Agent to counsel to the Debtors, the Statutory Committee (if any),
                            and the U.S. Trustee (which notice may be given by any manner of
                            electronic transmission, the automatic stay being deemed lifted for such
                            purpose) (the “Default Notice”), then (i) the DIP Agent shall be fully
                            authorized, in its sole discretion to immediately cease making DIP Credit
                            Facility advances to the Debtors, (ii) the DIP Agent shall be fully
                            authorized, in its sole discretion to terminate the Debtors’ use of the DIP
                            Collateral (including without limitation Cash Collateral) pursuant to the
                            Interim Order and the Approved Budget, which termination shall become
                            effective five (5) days after delivery of a Default Notice indicating an
                            intent to terminate the Debtors’ use of Cash Collateral, provided however
                            that the DIP Agent consents to the scheduling of an expedited hearing to
                            consider further Cash Collateral usage by the Debtors, and/or (iii) the DIP

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                          Agent shall be fully authorized, in its sole discretion to immediately
                          terminate the DIP Credit Facility, accelerate the obligations under the DIP
                          Facility, and demand repayment of the DIP Credit Facility obligations
                          then outstanding.

Limitations on            N/A
Arguments in the Event
of a Default

Local Rule
4001–2(a)(i)(T)

Proposed Interim DIP
Order, ¶ 20.B

Liens on Chapter 5        Liens on the DIP Collateral exclude any causes of action that could be
Causes of Action          brought pursuant to sections 544, 545, 547, 548 of the Bankruptcy Code,
                          or any applicable state fraudulent transfer statutes (the “Avoidance
Bankruptcy Rule           Actions”), but, subject to entry of the Final Order, shall include proceeds
4001(c)(1)(B)(xi)         of (and property received in respect of) Avoidance Actions (“Avoidance
Local Rule                Proceeds”).
4001– 2(a)(i)(U)

DIP Term Sheet, p. 7

Proposed Interim DIP
Order, ¶ 7

Marshalling Waiver        Upon entry of the Final Order, the DIP Agent, the DIP Lender, the Pre-
                          Petition Agent and the Pre-Petition Lenders shall not be subject to the
Local Rule                equitable doctrines of “marshaling” or any similar claim or doctrine with
4001–2(a)(i)(X)           respect to any DIP Collateral or collateral securing the Pre-Petition Credit
                          Agreement or Pre-Petition Loan Documents.
DIP Term Sheet, pp. 8-9

Proposed Interim DIP
Order, ¶ 17.E

Waiver/Modification       The automatic stay under Bankruptcy Code section 362(a) shall be
of the Automatic          modified as necessary to, among other things:
Stay
                          (a) permit the Debtors and the DIP Agent to implement and perform under
Bankruptcy Rule           the DIP Credit Facility and the DIP Credit Facility Documents, including
4001(c)(1)(B)(iv)         without limitation the provisions thereof with respect to the collection of
                          Proceeds, and the maintenance and implementation of the Collection
Proposed Interim DIP      Accounts and the Collection Procedures (as such terms are defined
Order, ¶ 12, 37           below);

                          (b) permit the creation and perfection of all Liens granted or permitted by
                          the Interim Order or Final Order;



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                          (c) permit the Debtors to grant the CIT Adequate Protection Liens and CIT
                          Adequate Protection Claims;

                          (d) permit the Debtors to perform such acts as the Prepetition CIT Agent
                          may request in their reasonable discretion to assure the perfection and
                          priority of the liens granted under the Interim Order or Final Order;

                          (e) permit the Debtors to incur all liabilities and obligations to the
                          Prepetition CIT Secured Parties under the terms of the Interim Order or
                          Final Order;

                          (f) authorize the Debtors to pay, and the Prepetition CIT Secured Parties
                          to retain and apply, any payments made in accordance with the terms of
                          the Interim Order or Final Order;

                          (g) deliver of a Default Notice in accordance with the terms of the Interim
                          Order or the Final Order; and

                          (h) permit the DIP Agent to exercise rights and remedies in connection
                          with an Event of Default both prior to and following the expiration of the
                          Remedy Notice Period.


Waiver/Modification       The Debtors and the holders of any DIP Credit Lien or Prepetition CIT
of Applicability of       Adequate Protection Lien shall not be required to enter into any additional
Nonbankruptcy Law         security agreements to create, memorialize, and/or perfect any such liens,
Relating to               or to file UCC financing statements, mortgages, or other instruments with
Perfection or             any other filing authority or take any other action to perfect any such
Enforceability of         Liens, which Liens shall be and are deemed valid, binding, enforceable
Liens                     and automatically perfected by the docket entry of the Interim Order or
                          Final Order by the Clerk of the Court.
Bankruptcy Rule
4001(c)(1)(B)(vii)

Proposed Interim DIP
Order, ¶ 12

Release, Waiver, or       In consideration of and as a condition to, among other things, the DIP
Limitation on Any Claim   Secured Parties making the Interim DIP Advances and providing credit
or Cause of Action        and other financial accommodations to the Debtors, the Prepetition CIT
Belonging to the Estate   Secured Parties consenting to, among other things, the use of Cash
                          Collateral, and subordination by the DIP Secured Parties and Prepetition
Bankruptcy Rule
4001-2(c)(1)(B)(viii)     CIT Secured Parties of their Liens to the Carve-Out pursuant to the terms
                          of the Interim Order, the Final Order and the DIP Credit Facility
DIP Term Sheet, p. 8      Documents, each of the Debtors, on behalf of themselves, their estates,
                          and their affiliated obligors under the Prepeittion CIT Loan Documents
Proposed Interim DIP      (each a “Releasor” and collectively, the “Releasors”), subject to the
Order, ¶ 27               challenge provisions of the Interim Order, shall absolutely release, forever
                          discharge and acquit each of the Prepetition CIT Secured Parties and their
                          respective successors and assigns, affiliates, officers, directors,
                          employees, attorneys and other representatives (the “Releasees”) of and

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                                   from any and all claims, demands causes of action, damages, choses in
                                   action, and all other claims, counterclaims, defenses, setoff rights, and
                                   other liabilities whatsoever (the “Prepetition Released Claims”) of every
                                   kind, name, nature, and description, whether known or unknown, both at
                                   law and equity (including, without limitation, any “lender liability”
                                   claims) that any Releasor may now or hereafter own, hold, have or claim
                                   against each and every of the Releasees arising at any time prior to the
                                   entry of the Interim Order or Final Order (including, without limitation,
                                   claims relating to the Debtors, the Prepetition CIT Loan Documents, and
                                   other documents executed in connection therewith, and the obligations
                                   thereunder); provided, however, that such release shall not be effective
                                   with respect to the Debtors until entry of the Final Order, and with respect
                                   to the Debtors’ bankruptcy estates, until the expiration of the Challenge
                                   Period. In addition, upon the indefeasible payment, in full, in cash, of all
                                   DIP Credit Facility obligations owed to the DIP Secured Parties arising
                                   under the Interim Order and the DIP Credit Facility Documents, the DIP
                                   Secured Parties shall be released from any and all obligations, actions,
                                   duties, responsibilities, and causes of action arising or occurring in
                                   connection with or related to the DIP Credit Facility Documents.

    Indemnification                The Debtors shall, jointly and severally, indemnify and hold the DIP
                                   Agent, the DIP Lender, and their officers, directors, employees and agents
    Bankruptcy Rule                (including all of their attorneys and other professionals) (each an
    4001(c)(1)(B)(ix)              “Indemnified Party”) harmless from and against any and all claims,
                                   damages, losses, liabilities and expenses (including, without limitation, all
    DIP Term Sheet, p. 20-21       fees and disbursements in respect of attorneys and other professionals) to
                                   which any Indemnified Party may become liable or which may be incurred
                                   by or asserted against any Indemnified Party, in each case in connection
                                   with or arising out of or by reason of any investigation, litigation or
                                   proceeding arising out of or relating to or in connection with the DIP
                                   Facility, the DIP Financing Documents, any obligation, or any act, event
                                   or transaction related or attendant thereto or any use or intended use of the
                                   proceeds of the DIP Facility, except to the extent the same is found in a
                                   final, non-appealable judgment by a court of competent jurisdiction to
                                   have resulted from such Indemnified Party’s gross negligence, fraud, or
                                   willful misconduct. The indemnification terms and conditions of the Pre-
                                   Petition Credit Agreements are hereby incorporated in this DIP Term
                                   Sheet and applied to the DIP Facility.


                          Summary of Material Terms of Use of Cash Collateral 6

    Parties with Interest in      The Prepetition Secured Parties hold an interest in the cash collateral.
    Cash Collateral



6
      Capitalized terms used in this summary of the use of Cash Collateral but not defined in the summary shall have
      the meanings ascribed to them in the DIP Orders.



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Bankruptcy Rule
4001(c)(1)(B)(i)

Proposed Interim DIP
Order, ¶ G

Use of Cash Collateral    Proceeds of the DIP Facility or cash collateral shall not be used (a) to
                          permit any Debtor, or any other party-in-interest or their representatives to
Bankruptcy Rule           challenge or otherwise contest or institute any proceeding to determine (i)
4001(c)(1)(B)             the validity, perfection or priority of security interests in favor of the DIP
                          Agent, the Pre-Petition Agent, the Pre-Petition Lenders or the DIP Lender
Local Rule                or (ii) the enforceability of the obligations of any Debtor or any guarantor
4001-2(a)(i)(A)           under the Pre-Petition Credit Agreement, any other Pre-Petition Loan
                          Documents, or the DIP Facility, (b) to investigate, commence, prosecute
DIP Term Sheet, p. 6      or defend (or support any other person or entity in investigating,
                          commencing, prosecuting, or defending) any claim, motion, proceeding or
Proposed Interim DIP      cause of action against the DIP Agent, the Pre-Petition Agent, the Pre-
Order, ¶ 9                Petition Lenders, or the DIP Lender and their agents, attorneys, advisors
                          or representatives including, without limitation, any lender liability claims
                          or subordination claims, (c) to investigate, commence, prosecute or defend
                          (or support any other person or entity in investigating, commencing,
                          prosecuting, or defending) any claim or proceeding or cause of action to
                          disallow or challenge the obligations of any Debtor or any guarantor under
                          Pre-Petition Credit Agreement, any other Pre-Petition Loan Documents or
                          the DIP Financing Documents, (d) to fund acquisitions, capital
                          expenditures, capital leases, or any other expenditure not specifically set
                          forth in the Budget and approved by the DIP Agent, or (e) for any other
                          purpose for which the Carve Out may not be used, provided that a
                          Committee (if any) and its professionals shall be permitted to investigate
                          the liens of the Pre-Petition Agent and Pre-Petition Lenders in connection
                          with the Pre-Petition Credit Agreement, with such investigation fees not
                          to exceed $25,000.


Adequate Protection       As adequate protection and in consideration for being primed by the DIP
                          Lender’s claims and liens, the Pre-Petition Agent and Pre-Petition Lenders
Bankruptcy Rules          shall receive, to the extent of diminution in value of the interests of the
4001(b)(1)(B)(iv),        Pre-Petition Agent and Pre-Petition Lenders in the Debtors’ collateral
4001(b)(1)(C)(ii)         securing the amounts due under the Pre-Petition Credit Agreement and
                          other Pre-Petition Loan Documents following the Petition Date, (a) a
Proposed Interim DIP      claim having priority over any and all expenses of the kind specified in,
Order, ¶ 10               among other sections of the Bankruptcy Code, Sections 105, 326, 328,
                          330, 331, 503(b), 506(c), 507(a), 507(b), 726, and 1114, subject to
DIP Term Sheet, p. 7, 9   payment of the Carve Out and subject to the superpriority administrative
                          claims of the DIP Agent and the DIP Lender under the DIP Facility (such
                          claim, the “Prepetition Adequate Protection Superpriority Claim”); and (b)
                          valid, binding, enforceable and perfected replacement liens in all DIP
                          Collateral, subject to payment of the Carve Out, Permitted Senior Liens (if
                          any), and the DIP Credit Liens (the “Prepetition CIT Adequate Protection
                          Liens”).

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Carve-Out                 The “Carve-Out” shall be an amount equal to the sum of:

Bankruptcy Rule           (a)     unpaid, postpetition fees and expenses of the Clerk of the Court
4001(c)(1)(B)             and the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) in such amount, with
                          respect to the U.S. Trustee, as agreed to by the U.S. Trustee or as
Local Rule                determined by the Court (collectively, the “Statutory Fees”);
4001-2(a)(i)(F)
                          (b)     the unpaid postpetition fees and expenses of the professionals
Proposed Interim DIP      retained by the Debtors and by the Committee (if any), whose retentions
Order, ¶ 14               are approved pursuant to final orders of the Court under sections 327, 328,
                          363 or 1103(a) of the Bankruptcy Code (the “Chapter 11 Professionals”),
DIP Term Sheet, p. 9-11   but only to the extent that such fees and expenses are (i) incurred prior to
                          delivery of a Carve-Out Trigger Notice (the date of delivery of such notice
                          the “Carve-Out Trigger Date”), (ii) within the aggregate amount set forth
                          in the Budget approved by the DIP Agent for the Chapter 11 Professionals
                          as of the Carve-Out Trigger Date, and (iii) subsequently allowed by the
                          Bankruptcy Court under sections 330, 331, or 363 of the Bankruptcy
                          Code; and

                          (c)      after the Carve-Out Trigger Date: (i) postpetition fees and
                          expenses of the Chapter 11 Professionals incurred in an aggregate amount
                          not to exceed $500,000, to the extent such fees and expenses are
                          subsequently allowed by the Bankruptcy Court under sections 330, 331,
                          or 363 of the Bankruptcy Code; and (ii) fees and expenses of a chapter 7
                          trustee in an amount not to exceed $10,000.

                          Provided, however, that (a) the Carve-Out shall only be available to pay
                          fees and expenses set forth in the DIP Term Sheet to the extent that
                          unencumbered funds are not otherwise available; and (b) in no event shall
                          (i) the aggregate pre-Carve-Out Trigger Date amount provided in clause
                          (b) above for all the Chapter 11 Professionals retained by the Debtors
                          exceed the aggregate amount budgeted for such professionals within the
                          Approved Budget and (ii) the aggregate pre-Carve-Out Trigger Date
                          amount provided in clause (b) above for all the Chapter 11 Professionals
                          retained by the Statutory Committee exceed the aggregate amount
                          budgeted for such professionals within the Approved Budget.

                          Provided, further, however, that the Carve-Out for Chapter 11 Professional
                          fees shall be first paid from any retainers or any professional expense
                          escrow account established by the Debtor.

                           The Carve-Out shall not include payment for any fees and expenses, if
                          any, of the Chapter 11 Professionals incurred directly or indirectly, in
                          respect of, arising from or relating to:

                          (i) the initiation, joinder, support, or prosecution of any action contesting
                          the indebtedness owed to the DIP Agent, the DIP Lender, the Pre-Petition
                          Agent, or the Pre-Petition Lenders, or the validity of any liens granted to
                          the DIP Agent, the DIP Lender, the Pre-Petition Agent, or the Pre-Petition
                          Lenders;


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                         (ii) preventing, hindering or otherwise delaying (or supporting any other
                         person or entity in preventing, hindering or otherwise delaying), whether
                         directly or indirectly, the exercise by the DIP Agent or the Pre-Petition
                         Agent of any of its rights and remedies under the Interim Order, Final
                         Order, or documents comprising the DIP Facility, DIP Financing
                         Documents, Pre-Petition Credit Agreements, or other Pre-Petition Loan
                         Documents, including, without limitation, any attempt to prevent, hinder
                         or delay (or supporting any other person or entity in preventing, hindering
                         or delaying) the submission of any credit bid by the DIP Agent, DIP
                         Lender, Pre-Petition Agent, or Pre-Petition Lenders;

                         (iii) the commencement, support, or prosecution of any action or
                         proceeding of any claims, causes of action or defenses against the DIP
                         Agent, the DIP Lender, the Pre-Petition Agent, the Pre-Petition Lenders
                         or any of their respective officers, directors, employees, agents, attorneys,
                         affiliates, successors or assigns, including, without limitation, any attempt
                         to recover or avoid any claim or interest from the DIP Agent, the DIP
                         Lender, the Pre-Petition Agent, or the Pre-Petition Lenders;

                         (iv) any request to borrow money other than pursuant to the terms of the
                         Interim Order, the Final Order, or the DIP Financing Documents;

                         (v) with respect to any Debtor, any of the Debtors’ Chapter 11
                         Professionals, or any of their successors or assigns (including, without
                         limitation, any trustee, responsible officer, examiner, estate administrator
                         or representative or similar person appointed in a case for the Debtors
                         under any chapter of the Bankruptcy Code) performing or commencing
                         any investigation or litigation (whether threatened or pending) by the
                         Debtors with respect to any matter released or to be released, waived, or
                         to be waived, or specified as not subject to challenge by the Debtors
                         pursuant to the Interim Order or Final Order; or

                         (vi) for any other purpose for which proceeds of the DIP Facility may not
                         be used pursuant to this DIP Term Sheet.


506(c) Waiver            Except from and pursuant to the terms of the Carve-Out, no person or
                         entity in the course of the Debtors’ bankruptcy cases shall be permitted to
Bankruptcy Rule          recover from the DIP Collateral or Prepetition Collateral (whether directly
4001(c)(1)(B)(x)         or through the grant of derivative or equitable standing in the name of the
Local Rule               Debtors or any Debtor’s estate) any cost or expense of preservation or
4001– 2(a)(i)(V)         disposition of the Prepetition Collateral or DIP Collateral, including,
                         without limitation, expenses and charges as provided in Bankruptcy Code
Proposed Interim DIP     sections 506(c), 105(a), or any other applicable law.
Order, ¶ 17.A

Section 552(b)(1)        The Prepetition CIT Secured Parties and the DIP Secured Parties shall not
“Equities of the Case”   be subject to the “equities of the case” exception of Bankruptcy Code
Waiver                   section 552(b) with respect to any DIP Collateral or Prepetition Collateral,
Local Rule

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 4001– 2(a)(i)(W)             and the proceeds of the Prepetition Collateral shall be received and applied
                              pursuant to the Prepetition CIT Loan Documents.
 Proposed Interim DIP
 Order, ¶ 17.E


                                       BASIS FOR RELIEF

   I.         The Court Should Approve the DIP Credit Facility

        20.      As set forth above, the Debtors’ ability to maximize the value of their estates and

successfully market and sell their assets hinges upon the Debtors having access to the postpetition

financing. Section 364 of the Bankruptcy Code distinguishes among (a) obtaining unsecured credit

in the ordinary course of business, (b) obtaining unsecured credit outside the ordinary course of

business, and (c) obtaining credit with specialized priority or on a secured basis. Pursuant to

section 364(c) of the Bankruptcy Code, if a debtor cannot obtain postpetition credit on an

unsecured basis, a court may authorize such debtor to obtain credit or incur debt that is entitled to

superpriority administrative expense status, secured by a senior lien on unencumbered property or

secured by a junior lien on encumbered property. See 11 U.S.C. § 364(c). Further, under section

364(d) of the Bankruptcy Code, courts also may authorize postpetition credit secured by a senior

or equal lien on encumbered property if the debtor cannot obtain credit elsewhere and the interests

of existing lienholders are adequately protected. See 11 U.S.C. § 364(d)(1).

              A. Entry into the DIP Credit Facility Documents and Payment of Fees
                 Thereunder Is an Exercise of the Debtors’ Sound Business Judgment.

        21.      The Court should authorize the Debtors to enter into the DIP Credit Facility

Documents, obtain postpetition financing under the DIP Credit Facility, and continue using the

Cash Collateral of the Prepetition CIT Secured Parties as a sound exercise of the Debtors’ business

judgment. Courts grant considerable deference to a debtor’s business judgment in obtaining

postpetition secured credit so long as the agreement to obtain such credit does not run afoul of the



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provisions and underlying policy considerations of the Bankruptcy Code. See, e.g., In re L.A.

Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the

business judgment of a debtor in the selection of the lender.”); In re Trans World Airlines, Inc.,

163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving postpetition loan and receivables facility

because such facility “reflect[ed] sound and prudent business judgment”); In re Ames Dep’t Stores,

Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s

discretion under section 364 is to be utilized on grounds that permit reasonable business judgment

to be exercised so long as the financing agreement does not contain terms that leverage the

bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to benefit

a party-in-interest.”).

        22.     To determine whether a debtor has met the business judgment standard, a court

need only “examine whether a reasonable business person would make a similar decision under

similar circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In

re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should

not second-guess a debtor’s business decision when that decision involves “a business judgment

made in good faith, upon a reasonable basis, and within the scope of [the debtor’s] authority under

the [Bankruptcy] Code”).

        23.     Courts generally will not second-guess a debtor’s business decisions when those

decisions involve a minimum level of care in arriving at the decision on an informed basis, in good

faith, and in the honest belief that the action was taken in the best interest of the debtor. See In re

Los Angeles Dodgers LLC, 457 B.R. at 313. To determine whether the business judgment test is

met, “the court ‘is required to examine whether a reasonable business person would make a similar

decision under similar circumstances.’” In re Dura Auto. Sys., Inc., No. 06-11202 (KJC), 2007



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WL 7728109, at *97 (Bankr. D. Del. Aug. 15, 2007) (citation omitted). Further, in considering

whether the terms of postpetition financings are fair and reasonable, courts consider the terms in

light of the relative circumstances of both the debtor and the potential lender. In re Farmland

Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see also In re Ellingsen MacLean Oil

Co., 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into “hard

bargains” to acquire funds for its reorganization); In re Johns-Manville Corp., 60 B.R. 612, 615–

16 (Bankr. S.D.N.Y. 1986) (“[T]he [Bankruptcy] Code favors the continued operation of a

business by a debtor and a presumption of reasonableness attaches to a debtor’s management

decisions.”).

       24.      The Debtors’ entry into the DIP Credit Facility represents a sound exercise of their

business judgment. The Debtors require access to the DIP Credit Facility because access to the

proceeds thereof will permit the Debtors to continue to operate their business, navigate the Sale

Process in these Chapter 11 Cases to maximize value for all of their stakeholders, and reassure

their suppliers, customers, vendors, employees, and other stakeholders that the Debtors have

adequate liquidity to satisfy their obligations in the ordinary course in these Chapter 11 Cases. The

terms of the DIP Credit Facility were thoroughly negotiated in good faith and at arm’s-length,

resulting in proposed postpetition financing on terms that are most favorable to all parties,

including the Debtors, their estates, and their stakeholders. Accordingly, the Court should

authorize the Debtors’ entry into the DIP Credit Facility as a reasonable exercise of the Debtors’

business judgment.

             B. No Comparable Alternative to the DIP Credit Facility Is Reasonably
                Available.

       25.      To show that the credit required is not obtainable on an unsecured basis, a debtor

need only demonstrate “by a good faith effort that credit was not available without” the protections


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afforded to potential lenders by section 364(c) of the Bankruptcy Code. In re Snowshoe Co., Inc.,

789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber Prods., Inc., 137 B.R. 897, 900

(Bankr. N.D. Ohio 1992). Moreover, in circumstances where only a few lenders likely can or will

extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to require [the

debtor] to conduct such an exhaustive search for financing.” Sky Valley, Inc., 100 B.R. at 113;

see also In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986) (demonstrating that credit was

unavailable absent the senior lien by establishment of unsuccessful contact with other financial

institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R. 660, 663 (D. Colo. 1981)

(bankruptcy court’s finding that two national banks refused to grant unsecured loans was sufficient

to support conclusion that section 364 requirement was met); In re Ames Dep’t Stores, 115 B.R.

at 37–39 (debtor must show that it made reasonable efforts to seek other sources of financing under

section 364(a) and (b)).

       26.     Here, the Debtors have made a good-faith effort to seek out optimal postpetition

financing arrangements to meet their short-term liquidity needs and longer-term sale objectives.

As described above and in the White Declaration, prior to the Petition Date, the Debtors

endeavored to identify potential sources of postpetition financing. During this period, the Debtors

and their advisors discussed debtor-in-possession financing with the Prepetition CIT Secured

Parties and also approached close to 90 additional third-party lenders active in the debtor-in-

possession market.

       27.     The DIP Lender was not willing to provide the financing needed on an unsecured,

administrative claim basis. Nor were the potential investors whom Jefferies contacted during the

marketing process. In light of their efforts to solicit alternative financing proposals, the Debtors

do not believe that more favorable alternative debtor-in-possession financing is available, due



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principally to the Debtors’ existing capital structure. Accordingly, the Debtors determined in their

business judgment that the DIP Credit Facility constitutes the best available solution to the

Debtors’ financing needs.

             C. The Debtors Should Be Authorized to Pay the Fees Required by the DIP Credit
                Facility Documents.

       28.      Under the DIP Credit Facility Documents, the Debtors have agreed, subject to

Court approval, to pay certain fees, expenses, and other payments to the DIP Secured Parties. The

Debtors have also agreed to pay the fees and expenses of counsel and other professionals retained

by the DIP Secured Parties as provided for in the DIP Credit Facility Documents.

       29.      In determining whether the terms of postpetition financing are fair and reasonable,

courts consider the relative circumstances of both the debtor and the potential lender. See In re

Farmland, 294 B.R. at 886-89; see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l

Bank & Trust Co. (In re Ellingsen MacLean Oil Co., Inc.), 65 B.R. 358, 364-65 n.7 (W.D. Mich.

1986) (recognizing debtor may have to enter into “hard” bargains to acquire funds for its

reorganization); In re ION Media Networks, Inc., No. 09-13125, 2009 WL 2902568, at *4 (Bankr.

S.D.N.Y. July 6, 2009) (“Although all parties, including the Debtors and the Committee, are

naturally motivated to obtain financing on the best possible terms, a business decision to obtain

credit from a particular lender is almost never based purely on economic terms.”). The propriety

of a proposed financing facility should also be considered in light of current market conditions.

See Tr. of Record at 740:4-6, In re Lyondell Chem. Co., No. 09 10023 (REG) (Bankr. S.D.N.Y.

Feb. 27, 2009) (“[B]y reason of present market conditions, as disappointing as the [DIP financing]

pricing terms are, I find the provisions [of a DIP financing facility that included a roll-up of

prepetition secured debt] reasonable here and now.”)




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       30.     The Debtors submit that the interest, fees, and premiums to be paid under the DIP

Credit Facility are consistent with the market and are reasonable and appropriate, particularly in

light of the circumstances of these Chapter 11 Cases and the robust Sale Process undertaken, and

represent the most favorable terms available to the Debtors. In particular, the interest rate and fees

contemplated by the DIP Credit Facility are similar to the interest rate and fees in other debtor-in-

possession financing arrangements approved by courts in this District and in other jurisdictions.

See In re Lucky Bucks, Case No. 23-10758 (KBO) (D. Del. July 14, 2023) (approving $20.5

million new money DIP Credit Facility with interest rate of SOFR + 10% (+ 2% for the default

interest rate), 5% new money backstop fee, 4% commitment fee, and 3% exit fee); In re Clovis

Oncology, Inc., Case No. 22-11292 (JKS) (Jan. 24, 2023) (approving a $75 million DIP Credit

Facility with 8% interest rate, 7% backstop fee, 1.5% upfront fee, and 1.5% contingent sale fee);

In re Phasebio Pharmaceuticals, Inc., Case No. 22-10995 (LSS) (Nov. 15, 2022) (approving a $15

million DIP Credit Facility with 14% interest rate, 2% commitment fee, and 5% exit fee); In re

MD Helicopters, Inc., Case No. 22-10263 (KBO) (Bankr. D. Del. Apr. 26, 2022) (approving $60

million new money DIP Credit Facility with 8.25% interest rate, 5.0% exit fee, and 8.0% backstop

fee); In re APC Automotive Technologies Intermediate Holdings, LLC, Case No. 20-11466 (CSS)

(Bankr. D. Del. June 23, 2020) (approving $50 million new money DIP Credit Facility with 10%

new money interest, 5.0% upfront fee, and 10% backstop fee); In re Alpha Media Holdings LLC,

Case No. 21-30209 (KRH) (Bankr. E.D. Va. Feb. 24, 2021) (approving $95 million new money

DIP Credit Facility with 8.0% interest, 2.0% upfront fee, and 5.0% exit fee);

       31.     The Debtors considered the fees when determining, in their sound business

judgment, that the DIP Credit Facility constituted the best actionable terms on which the Debtors

could obtain the postpetition financing necessary to continue their operations and pursue the Sale



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Process to the benefit of the Debtors’ estates. Accordingly, the Court should authorize the Debtors

to pay the interest, payments, fees, costs, and expenses provided under the DIP Credit Facility

Documents in connection with the DIP Credit Facility.

D.     The Proposed “Roll-Up” of the DIP Credit Facility Is Appropriate.

       32.     As described above, the DIP Credit Facility contemplates the dollar-for-dollar

conversion of approximately $35 million of existing obligations under the Pre-Petition Credit

Agreement into postpetition DIP Credit Facility obligations upon entry of the Final Order (the

“Roll-Up”).

       33.     Section 363 of the Bankruptcy Code permits a debtor to use, sell, or lease property,

other than in the ordinary course of business, with court approval. It is well settled in the Third

Circuit that such transactions should be approved when they are supported by a sound business

purpose. See In re Abbots Dairies, Inc., 788 F.2d 143 (3d Cir. 1986) (holding that in the Third

Circuit, a debtor’s use of assets outside the ordinary course of business under section 363(b) of the

Bankruptcy Code should be approved if the debtor can demonstrate a sound business justification

for the proposed transaction). The business judgment rule shields a debtor’s management from

judicial second-guessing. In re Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986)

(“[T]he [Bankruptcy] Code favors the continued operation of a business by a debtor and a

presumption of reasonableness attaches to a debtor’s management decisions.”).

       34.     Repayment of prepetition debt (often referred to as a “roll-up”) is a common feature

in debtor-in-possession financing arrangements. Courts regularly approve this practice, including

on the first day of the case. See In re PGX Holdings, Inc., Case No. 23-10718 (CTG) (Bankr. D.

Del. Aug. 4, 2023) (authorizing approximately $12 million new money DIP and a roll-up of

approximately $39.85 million); In re Lucky Bucks, LLC, Case No. 23-10758 (KBO) (Bankr. D.

Del. July 14, 2023) (approving approximately $20.5 million new money DIP and a roll-up of
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approximately $61.5 million); In re Charming Charlie Holdings Inc., Case No. 19-11534 (MFW)

(Bankr. D. Del. July 11, 2019) (approving approximately $20 million new money DIP and a roll-

up for approximately $40 million).

       35.     The Debtors submit that the Roll-Up, as set forth in the DIP Credit Facility, is

appropriate in these cases. The DIP Credit Facility, like the Prepetition First Lien Credit Facility,

is structured as an asset-based revolving loan in which the Debtors’ receipts are swept to pay down

the outstanding debt, with the Debtors able to draw additional loans subject to a borrowing base.

Upon entry of the Interim Order, the Roll-Up would allow all collections and proceeds of DIP

Collateral to be applied to reduce, on a dollar-for-dollar basis, the obligations under the Prepetition

CIT Loan Documents. Upon entry of the Final Order, the Roll-Up would allow all remaining

outstanding obligations under the Prepetition First Lien Credit Facility to convert into DIP Loans.

The Roll-Up is not only a material component of the consideration required by the Lenders as part

of their commitment to provide new money postpetition financing, but a critical part of a global

deal among the Debtors, their stalking horse bidder, certain equipment lessors, and the Prepetition

CIT Secured Parties. The Prepetition CIT Secured Parties made clear in their negotiations with

the Debtors that the inclusion of this Roll-Up was an essential inducement to their willingness to

extend the DIP Credit Facility. Moreover, no creditors or other parties in interest are prejudiced

by the Roll-Up. To the contrary, without the Roll-Up, the Debtors would have no option but to

liquidate their assets in an orderly wind-down to the detriment of their estates and stakeholders.

The Roll-Up will enable the Debtors to instead conduct an orderly, value-maximizing sale process.

For these reasons, the Debtors respectfully submit that the Roll-Up is a sound exercise of the

Debtors’ business judgment, appropriate under the circumstances, and should be approved.




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E.      The Use of Cash Collateral Is Warranted and Necessary

        36.     In addition to the DIP Credit Facility, the Debtors require use of Cash Collateral to

continue operating and conducting an orderly disposition of their assets, to maximize the value

thereof, and to avoid a potentially value-destructive wind-down of their businesses on an

accelerated timeline. The Debtors submit that, under the circumstances, their request to use Cash

Collateral should be approved. The Debtors’ use of property of their estates, including Cash

Collateral, is governed by section 363(c) of the Bankruptcy Code. Section 363(c) provides, in

pertinent part, that:

                The trustee may not use, sell, or lease cash collateral . . . unless—

                (A) each entity that has an interest in such cash collateral consents; or
                (B) the court, after notice and a hearing, authorizes such use, sale, or lease in
                accordance with the provisions of this section [363].

11 U.S.C. § 363(c)(2).

        37.     Here, the Debtors have negotiated consensual use of Cash Collateral with the

Prepetition CIT Secured Parties. Because the Debtors have the consent of the only entities with

an interest in the Cash Collateral (subject to the terms of the DIP Orders), the Court should approve

such use under section 363(c)(2)(A) of the Bankruptcy Code. In re Sorenson Communications,

Inc., No. 14-10454 (BLS), 2014 WL 929351, at *5 (Bankr. D. Del. Mar. 4, 2014) (“The Debtors’

access to sufficient working capital and liquidity through the use of Cash Collateral . . . is vital to

the preservation and maintenance of the Debtors’ going concern values and successful

reorganization.”); In re WP Steel Venture LLC, No. 12-11661 (KJC), 2012 WL 5288123 (Bankr.

D. Del. 2012) (“The ability of the Debtors to obtain sufficient working capital and liquidity through

the use of Cash Collateral . . . is vital to the preservation and maintenance of the value of the

Debtors’ assets.”). Likewise, courts have recognized that “[a] debtor, attempting to reorganize a

business under Chapter 11, clearly has a compelling need to use ‘cash collateral’ in its effort to

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rebuild. Without the availability of cash to meet daily operating expenses . . . the congressional

policy favoring rehabilitation over economic failure would be frustrated.” In re George Ruggiere

Chrysler-Plymouth, Inc., 727 F.2d 1017, 1019 (11th Cir. 1984); In re MFM Delaware, Inc., No.

13-11359 (PJW), 2013 WL 2434211, at *2 (Bankr. D. Del. May 28, 2013) (“The Debtors’ need to

use cash collateral on an interim basis . . . is immediate and critical to enable the Debtors to

continue operations and to administer and preserve the value of their estates.”).

       38.     Moreover, absent the use of Cash Collateral, the Debtors will not have sufficient

working capital to fund their ordinary course operations or these Chapter 11 Cases, and they will

not be able to maximize the value of their assets by continuing and efficiently concluding the Sale

Process. It is well established that whenever possible, a bankruptcy court should resolve issues in

favor of allowing a debtor to continue its business as a going concern. Courts have recognized

that “[a] debtor, attempting to reorganize a business under Chapter 11, clearly has a compelling

need to use ‘cash collateral’ in its effort to rebuild. Without the availability of cash to meet daily

operating expenses . . . the congressional policy favoring rehabilitation over economic failure

would be frustrated.” Chrysler Credit Corp. v. Ruggiere (In re George Ruggiere Chrysler-

Plymouth, Inc.), 727 F.2d 1017, 1019 (11th Cir. 1984); In re Sorenson Communications, Inc., No.

14-10454 (BLS), 2014 WL 929351, at *5 (Bankr. D. Del. Mar. 4, 2014) (“The Debtors’ access to

sufficient working capital and liquidity through the use of Cash Collateral . . . is vital to the

preservation and maintenance of the Debtors’ going concern values and successful

reorganization.”); In re MFM Delaware, Inc., No. 13-11359 (PJW), 2013 WL 2434211, at *2

(Bankr. D. Del. May 28, 2013) (“The Debtors’ need to use cash collateral on an interim basis . . .

is immediate and critical to enable the Debtors to continue operations and to administer and

preserve the value of their estates.”); see also N.L.R.B. v. Bildisco and Bildisco, 465 U.S. 513, 528



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(1984) (“The fundamental purpose of reorganization is to prevent a debtor from going into

liquidation, with an attendant loss of jobs and possible misuse of economic resources.”).

             A. The Proposed Adequate Protection Is Reasonable and Appropriate

       39.      Additionally, the Debtors submit that the agreed adequate protection package to be

provided to the Prepetition CIT Secured Parties is sufficient to approve the use of the Cash

Collateral under section 363 of the Bankruptcy Code. Section 363(e) of the Bankruptcy Code

provides for adequate protection of interests in property when a debtor uses cash collateral.

Further, section 362(d)(1) of the Bankruptcy Code provides for adequate protection of interests in

property due to the imposition of the automatic stay. See 11 U.S.C. § 362(d)(1); see also In re

Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996).

       40.      Generally, courts decide what constitutes adequate protection on a case-by-case

basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir. 1994) (“[A]

determination of whether there is adequate protection is made on a case by case basis.”); In re N.J.

Affordable Homes Corp., No. 05-60442, 2006 WL 2128624, at *14 (Bankr. D.N.J. June 29, 2006)

(“The term ‘adequate protection’ is intended to be a flexible concept.”); In re Columbia Gas Sys.,

Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992) (emphasizing

that “the varying analyses and results contained in the . . . slew of cases demonstrate that what

interest is entitled to adequate protection and what constitutes adequate protection must be decided

on a case-by-case basis”); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993)

(explaining that adequate protection can take many forms and “must be determined based upon

equitable considerations arising from the particular facts of each proceeding”) (internal citation

omitted).




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       41.     Adequate protection may be provided in various forms, including a grant of

replacement liens or administrative claims. See, e.g., In re Mosello, 195 B.R. 277, 289 (Bankr.

S.D.N.Y. 1996) (“The determination of adequate protection is a fact specific inquiry . . . left to the

vagaries of each case.”); In re Realty Sw. Assocs., 140 B.R. 360, 366 (Bankr. S.D.N.Y. 1992); In

re Beker Indus. Corp., 58 B.R. 725, 736 (Bankr. S.D.N.Y. 1986) (application of adequate

protection is case-specific, but “its focus is protection of the secured creditor from diminution in

the value of its collateral during the reorganization process”). The critical purpose of adequate

protection is to guard against the diminution of a secured creditor’s collateral during the period

when such collateral is being used by the debtor-in-possession. See In re 495 Central Park Ave.

Corp., 136 B.R. 626, 631 (Bankr. S.D.N.Y. 1992) (“The goal of adequate protection is to safeguard

the secured creditor from diminution in the value of its interest during the Chapter 11

reorganization.”).

       42.     Here, the agreed adequate protection package to be provided to the Prepetition CIT

Secured Parties is sufficient to approve the use of the Cash Collateral. The DIP Orders provide

the Prepetition CIT Secured Parties with adequate protection liens to the extent of any diminution

in value, if any, of their interest in the Prepetition Collateral resulting from, as provided in the

Bankruptcy Code, the use, sale or lease by the Debtors of such collateral, including the Cash

Collateral, or the imposition or enforcement of the automatic stay pursuant to section 362(a) of the

Bankruptcy Code (the “Diminution in Value”), as well as superpriority administrative expense

claims to the extent of any Diminution in Value, reimbursement of reasonable and documented

professional fees and expenses, and reporting obligations consistent with the Prepetition First Lien

Credit Agreement. Moreover, the use of Cash Collateral to preserve the value of the Prepetition

Collateral itself protects the Prepetition CIT Secured Parties against diminution in value of that



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collateral. Without access to the DIP Credit Facility and the use of Cash Collateral, the Debtors

would have no choice but to liquidate their business, which would rapidly erode the value of the

Prepetition Collateral and eliminate the Debtors’ ability to pursue and close a value-maximizing

going concern sale.

F.     The Scope of the Carve-Out Is Reasonable and Appropriate

       43.     The Prepetition CIT Secured Parties’ respective interests in the Prepetition

Collateral (including the Cash Collateral) are subject to the Carve-Out. Without the Carve-Out,

the Debtors and other parties in interest may be deprived of certain rights and powers because the

services for which such professionals may be paid in these Chapter 11 Cases would be restricted.

See, e.g., In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (observing that

courts insist on carve-outs for professionals representing parties in interest because “[a]bsent such

protection, the collective rights and expectations of all parties-in-interest are sorely prejudiced”).

The Carve-Out does not directly or indirectly deprive the Debtors’ estates or other parties in

interest of possible rights and powers. Additionally, the Carve-Out protects against administrative

insolvency during the course of these Chapter 11 Cases by ensuring that assets remain for payment

of the clerk of the Court, trustee fees, and professional fees of the Debtors and any official

committee of unsecured creditors appointed in these Chapter 11 Cases.

G.     Interim Relief Should Be Granted

       44.     Bankruptcy Rule 4001(b) permits a court to approve a debtor’s request for use of

cash collateral during the 14-day period following the filing of a motion requesting authorization

to use cash collateral, “only . . . as is necessary to avoid immediate and irreparable harm to the

estate pending a final hearing.” Bankruptcy Rule 4001(b)(2). In examining requests for interim

relief under this rule, courts apply the same business judgment standard applicable to other



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business decisions. See, e.g., In re Simasko Production Co., 47 B.R. 444, 449 (Bankr. D. Co.

1985); see also In re Ames Dep’t Stores Inc., 115 B.R. at 38. After the 14-day period, the request

for use of cash collateral is not limited to those amounts necessary to prevent destruction of the

debtor’s business. A debtor is entitled to use cash collateral that it believes prudent in the operation

of its business. See, e.g., Simasko, 47 B.R. at 449; Ames Dep’t Stores, 115 B.R. at 36.

        45.     As set forth above, pending the Final Hearing, the Debtors require immediate

access to Cash Collateral to fund all day-to-day operations, including to maintain business

relationships with their vendors and suppliers, honor payroll and employee benefits obligations,

and satisfy other essential working capital and operational needs. All of these expenses are

required to preserve and maintain the Debtors’ business operations for the benefit of all parties in

interest. In addition, the agreed-upon Approved Budget ensures that the Debtors’ use of Cash

Collateral will not prejudice the Prepetition CIT Secured Parties.

H.      The Automatic Stay Should Be Modified on a Limited Basis

        46.     The relief requested herein contemplates a modification of the automatic stay solely

to permit the Prepetition CIT Secured Parties to deliver written notice by electronic mail stating

that they elect to commence the exercise of rights and remedies with respect to the Interim Order,

Prepetition First Lien Credit Agreement, and under applicable bankruptcy and non-bankruptcy

law, including, without limitation, in respect of their Prepetition Collateral and Replacement Liens.

Stay modifications of this kind are ordinary and standard features for the use of cash collateral

and, in the Debtors’ business judgment, are reasonable and fair under the circumstances.

                            IMMEDIATE RELIEF IS NECESSARY

        47.     Pursuant to Bankruptcy Rule 6003(b), any motion seeking to use the property of

the estate pursuant to section 363 of the Bankruptcy Code or to satisfy prepetition claims within



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twenty-one (21) days of the Petition Date requires the Debtors to demonstrate that such relief “is

necessary to avoid immediate and irreparable harm.” Fed. R. Bankr. P. 6003. As described above,

without access to Cash Collateral, the Debtors would be unable to operate their business and fund

these Chapter 11 Cases.

       48.     For this reason and those set forth above, the Debtors respectfully submit that

Bankruptcy Rule 6003(b) has been satisfied and the relief requested herein is necessary to avoid

immediate and irreparable harm to the Debtors and their estates.

              WAIVER OF STAY UNDER BANKRUPTCY RULE 4001(a)(3)

       49.     The Debtors request a waiver of the stay of the effectiveness of the order granting

the relief requested herein pursuant to Bankruptcy Rule 4001(a)(3). Bankruptcy Rule 4001(a)(3)

provides, “[a]n order granting a motion for relief from an automatic stay made in accordance with

Rule 4001(a)(1) is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” As explained above and in the Madden Declaration, the use of Cash Collateral

is essential to prevent irreparable damage to the Debtor’s operations. Accordingly, ample cause

exists to justify the waiver of the fourteen-day stay imposed by Bankruptcy Rule 4001(a)(3), to

the extent such stay applies.

                WAIVER OF STAY UNDER BANKRUPTCY RULE 6004(h)

       50.     Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale, or lease

of property other than cash collateral is stayed until the expiration of 14 days after entry of the

order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As provided herein, and to

implement the foregoing successfully, the Debtors request that the Interim Order include a finding

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).



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       51.     For this reason and those set forth above, the Debtors submit that ample cause exists

to justify a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent applicable

to the Interim Order.

                                  RESERVATION OF RIGHTS

       52.     Nothing contained in this Motion or any actions taken pursuant to any order

granting the relief requested by this Motion is intended or shall be construed as: (a) an admission

as to the validity of any claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion or any order

granting the relief requested by this Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

limitation of the Debtors’ rights under the Bankruptcy Code or any other applicable law; and (g) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise).

                                              NOTICE

       (a)     Notice of this Motion has been or will be provided to: (i) the Office of the United

States Trustee for the District of Delaware; (ii) the Internal Revenue Service; (iii) counsel for the

Prepetition CIT Secured Parties; (iv) those creditors holding the thirty (30) largest unsecured

claims against the Debtors’ estates; and (v) any party that has requested notice pursuant to

Bankruptcy Rule 2002. The Debtors will serve copies of this Motion and an order entered in

respect of this Motion as required by Local Rule 9013-1(m). In light of the nature of the relief

requested herein, the Debtors submit that no other or further notice is necessary. No previous

motion for the relief sought herein has been made to this or any other court.




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                                         CONCLUSION

               WHEREFORE, the Debtors respectfully request entry of the Interim Order,

substantially in the form annexed hereto as Exhibit A, granting the relief requested herein and such

other and further relief as the Court may deem just and equitable.




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Dated: October 23, 2023
       Wilmington, Delaware

                               YOUNG CONAWAY STARGATT & TAYLOR,
                               LLP

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                       Exhibit A

                     Interim Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re                                                               Chapter 11

    UNCONDITIONAL LOVE INC., et al, 1                                   Case No. 23-11759 (MFW)

                    Debtors.                                            Ref. Docket No.: __


                        INTERIM ORDER (I) AUTHORIZING
              THE DEBTORS TO OBTAIN POST-PETITION FINANCING,
             GRANTING SENIOR POSTPETITION SECURITY INTERESTS
          AND ACCORDING SUPERPRIORITY ADMINISTRATIVE EXPENSE
      STATUS PURSUANT TO SECTIONS 364(c) AND 364(d) OF THE BANKRUPTCY
            CODE, (II) AUTHORIZING THE USE OF CASH COLLATERAL,
            (III) GRANTING ADEQUATE PROTECTION, (IV) MODIFYING
          THE AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”) of the above-captioned debtors (each a “Debtor” and

collectively, the “Debtors”) seeking, among other things:

        (1) authority pursuant to sections 363 and 364(c) and (d) to obtain debtor-in-possession
senior secured financing (the “DIP Credit Facility”) pursuant to the following terms and
agreements (collectively, the “DIP Credit Facility Documents”): (a) this interim order (the “Interim
Order”), and any final order entered by the Court with respect to the Motion (the “Final Order”),
(b) the Terms and Conditions of Proposed Senior Secured, Super-Priority Debtor-in-Possession
Credit Facility, by and among the Debtors, as borrowers and debtors-in-possession, CIT
Northbridge Credit LLC, as agent (the “DIP Agent”) for the lenders and other financial institutions
that will be party to the DIP Credit Agreement (as defined herein), attached hereto as Exhibit D
(the “DIP Term Sheet”); and (c) the Senior Secured, Super-Priority Debtor-in-Possession Loan,
Security and Guarantee Agreement, contemplated in the DIP Term Sheet, as amended, modified,
and/or supplemented (the “DIP Credit Agreement”), 2 to be executed by and among the Debtors,
as borrowers and debtors-in-possession, CIT Northbridge Credit LLC, as agent (the “DIP Agent”)
for the lenders and other financial institutions party to the DIP Credit Agreement or which extend
credit thereunder (the “DIP Lenders,” and collectively with the DIP Agent, the “DIP Secured
Parties”); which DIP Credit Facility will consist of a consolidated, revolving credit facility in the
aggregate, maximum principal amount of forty-seven million dollars ($47,000,000), consisting of
new revolving availability of up to twelve million seventy thousand six hundred sixty seven dollars

1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      number, are Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
      Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd., Suite B200,
      Pacific Palisades, CA 90272.
2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the DIP Term Sheet
      or DIP Credit Agreement, as applicable.
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and forty six cents ($12,070,667.46), and a conversion of $34,929,332.54 of obligations under the
Prepetition First Lien Credit Agreement into post-petition debtor-in-possession financing
obligations;

       (2) the grant to the DIP Agent, for the benefit of itself and the other DIP Lenders, of
superpriority administrative claim status pursuant to sections 364(c)(1) and 507(b) of the
Bankruptcy Code in accordance with the terms of this Interim Order;

        (3) authorization for the Debtors’ use of cash collateral whenever or wherever acquired,
and the proceeds of all collateral pledged to the Prepetition CIT Secured Parties (defined below),
as contemplated by section 363 of the Bankruptcy Code in accordance with the terms set forth
herein;

        (4) authorizing and approving the Debtors to incur obligations under the DIP Credit Facility
Documents, including to borrow under the DIP Credit Facility (collectively, the “DIP
Obligations”), and to use the proceeds of the DIP Credit Facility on the terms and conditions set
forth in the DIP Orders and DIP Credit Facility Documents, including the Approved Budget (as
defined below), subject to any variances expressly permitted with respect to the Approved Budget;

       (5) authorizing the Debtors to pay principal, interest, fees, expenses, and other DIP
Obligations payable under the DIP Credit Facility Documents as they become due;

       (6) a grant of adequate protection to the Prepetition CIT Secured Parties (as defined below)
under and in connection with the Prepetition CIT Loan Documents (as defined below) in
accordance with the terms set forth herein;

       (7) modification of the automatic stay to the extent hereinafter set forth and waiving the
fourteen (14) day stay provisions of Federal Rule of Bankruptcy Procedure 4001(a)(3) and
6004(h);

      (8) scheduling a final hearing setting for the Motion for entry of an order authorizing the
DIP Credit Facility and use of cash collateral on a final basis; and

       (9) granting related relief.

       Notice of the Motion, the relief requested therein, and the Interim Hearing (as defined

below) (the “Notice”) having been served by the Debtors in accordance with Rule 4001(c) on:

(i) the DIP Agent and the DIP Lenders and the Prepetition CIT Secured Parties; (ii) the U.S.

Trustee; (iii) the holders of the thirty (30) largest unsecured claims against the Debtors’ estates;

(iv) all parties known to the Debtors who hold any liens or security interest in the Debtors’ assets

who have filed liens or UCC-1 financing statements against the Debtors, or who, to the Debtors’


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knowledge, have asserted any liens on any of the Debtors’ assets; (v) the Internal Revenue Service

and all taxing authorities of states in which the Debtors conduct business; and (vi) certain other

parties identified in the certificates of service filed with the Court.

        The Court held an interim hearing with respect to the Motion on October [__], 2023 (the

“Interim Hearing”).

        After the Motion and the proceedings before the Court at the Interim Hearing; the Court

having considered the Motion, the exhibits attached thereto, the First Day Declaration, the White

Declaration, the Madden Declaration, and the evidence submitted and arguments made at the

Interim Hearing; notice of the Interim Hearing having been given in accordance with Bankruptcy

Rules 2002, 4001(b), (c) and (d), and all applicable Local Rules; all objections, if any, to the

interim relief requested in the Motion having been withdrawn, resolved or overruled by the Court

as reflected on the record established by the Debtors at the Interim Hearing; and it appearing that

approval of the interim relief requested in the Motion is necessary to avoid immediate and

irreparable harm to the Debtors pending the Final Hearing and it is otherwise fair and reasonable

and in the best interests of the Debtors and their estates, and is essential for the administration of

the Chapter 11 Cases, the continued operation of the Debtors in the ordinary course, and the

preservation of the value of the Debtors’ assets; and it appearing that the Debtors’ entry into the

DIP Credit Facility Documents is a sound and prudent exercise of the Debtors’ business judgment;

and after due deliberation and consideration, and good and sufficient cause appearing therefor;

        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW: 3




3
    To the extent, any findings of fact constitute conclusions of law, they are adopted as such, and vice versa, pursuant
    to Fed. R. Bankr. P. 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.


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        A.       On October 23, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief pursuant to Chapter 11 of title 11, United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”); 4

        B.       The Debtors have continued in the management and operation of their business

pursuant to sections 1107 and 1108, and no trustee or examiner has been appointed;

        C.       The Debtors gave appropriate notice under the circumstances of the Motion and

hearing in accordance with the Federal Rules of Bankruptcy Procedure and any applicable local

rules of this Court;

        D.       The Court has core jurisdiction over the Debtors’ bankruptcy cases, the Motion,

and the parties and property affected by this Interim Order pursuant to 28 U.S.C. §§ 157(b) and

1334 and the Amended Standing Order of Reference, dated February 29, 2012, from the United

States District Court for the District of Delaware, and venue is proper before the Court pursuant to

28 U.S.C. §§ 1408 and 1409; and the Court may enter a final order consistent with Article III of

the United States Constitution; as of the date hereof, the United States Trustee has not yet

appointed an official committee of unsecured creditors in this case pursuant to section 1102 (a

“Statutory Committee”);

        E.       The Debtors agree, admit, represent and stipulate for themselves and their estates,

subject to the challenge rights of third parties set forth in this Interim Order, the following

(collectively, the “Stipulations”):

                 (1)      as of the Petition Date, the Debtors were party to each of:

                          (x) a Loan, Security and Guarantee Agreement dated as of April 12, 2022

                 (such agreement, as amended and existing immediately prior to the Petition Date,


4
    Unless otherwise noted, all statutory references are to the Bankruptcy Code.


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       the “Prepetition First Lien Credit Agreement”) with CIT Northbridge Credit LLC

       as agent and the lenders party thereto; and

               (y) all other documents, instruments, and agreements executed in

       connection with the Prepetition First Lien Credit Agreement (such agreements,

       collectively with the Prepetition First Lien Credit Agreement, the “Prepetition CIT

       Loan Documents”);

       (2)     As of the Petition Date, CIT Northbridge Credit LLC serves as agent (in

such capacity, the “Prepetition CIT Agent”) under each of the Prepetition CIT Loan

Documents. The lenders party to each of the Prepetition CIT Loan Documents shall be

referred to in this Interim Order as the “Prepetition CIT Lenders”, and the Prepetition CIT

Lenders and Prepetition CIT Agent shall be collectively be referred to herein as the

“Prepetition CIT Secured Parties”;

       (3)     As of the Petition Date, the Debtors and other obligors under the Prepetition

CIT Loan Documents were indebted to the Prepetition CIT Secured Parties, without

defense, counterclaim, recoupment or offset of any kind, in the non-contingent liquidated

amount of no less than $34,929,332.54, plus other fees, costs, expenses, and other amounts

arising in respect of the Prepetition CIT Loan Document obligations existing immediately

prior to the Petition Date (such obligations, the “Prepetition CIT Obligations”). The

Prepetition CIT Obligations had been accruing interest at the default rate of interest prior

to the Petition Date and the default rate shall continue to be in effect with respect to the

Prepetition CIT Obligations from and after the Petition Date.

       (4)     As of the Petition Date, the Prepetition CIT Obligations were secured by

valid, enforceable, properly perfected, and unavoidable liens on and security interests (the



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“Prepetition CIT Liens”) encumbering substantially all assets of the Debtors (other than

Excluded Assets (as defined in the Prepetition First Lien Credit Agreement)) existing

immediately prior to the commencement of the Debtors’ bankruptcy proceeding (the

“Prepetition Collateral”), which Prepetition CIT Liens are senior, first priority liens and

security interests with respect to all Prepetition Collateral, other than Senior Third Party

Liens (as defined below);

         (5)   The Prepetition CIT Liens were granted by the Debtors to, or for the benefit

of, the Prepetition CIT Secured Parties for fair consideration and reasonably equivalent

value;

         (6)   The Debtors possess no claims, counterclaims, cross-claims, offsets,

challenges, objections, defenses, or other rights or causes of action of any kind or nature

against the Prepetition CIT Secured Parties including, without limitation, avoidance,

disallowance, disgorgement, impairment, reduction, attachment, recoupment, defense,

objection, recovery, recharacterization, or subordination (equitable or otherwise) pursuant

to the Bankruptcy Code or other applicable non-bankruptcy law;

         (7)   The Prepetition CIT Obligations constitute valid, binding, and legal

obligations of the Debtors, enforceable in accordance with their terms, and the Debtors and

all other obligors under the Prepetition CIT Loan Documents will not assert any claims or

defenses of any kind or nature that in any way would affect the validity and enforceability

of any of the Prepetition CIT Obligations and/or the security interests or liens of the

Prepetition CIT Secured Parties upon the Prepetition Collateral, or which would in any way

reduce the obligation of the Debtors to pay in full all of the Prepetition CIT Obligations;

and



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               (8)     the use of Cash Collateral (as defined below) and the loans, advances, and

       other financial accommodations to be obtained pursuant to the DIP Credit Facility are

       sufficient to fund the projected legitimate and allowable expenses of their Chapter 11 cases

       from the Petition Date during the period to which the Approved Budget pertains.

       F.      The DIP Facility is the best source of debtor-in-possession financing available to

the Debtors. Given their current financial condition, financing arrangements, and capital structure,

the Debtors are unable to obtain financing from sources other than the DIP Agent and DIP Lenders

on terms more favorable than the DIP Facility. The Debtors are unable to obtain sufficient levels

of unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative

expense necessary to maintain and conduct their business, unable to obtain credit secured solely

by a lien on unencumbered property, and unable to obtain credit secured solely by junior liens on

property of the Debtors. The DIP Secured Parties are willing to provide postpetition financing to

the Debtors only through DIP Credit Facility and the DIP Credit Facility Documents;

       G.      All cash of the Debtors, wherever located (including any cash in deposit accounts),

represents (i) proceeds of loans or other financial accommodations provided to the Debtors by the

Prepetition CIT Secured Parties under Prepetition CIT Loan Documents; or (ii) proceeds of

Prepetition Collateral. Such funds (the “Cash Collateral”) constitute cash collateral within the

meaning of section 363 of the Bankruptcy Code;

       H.      It is in the best interest of the Debtors’ estates that the Debtors be allowed to enter

into the DIP Credit Facility in order to obtain postpetition secured financing from the DIP Secured

Parties, and use Cash Collateral subject to and in accordance with the terms of this Interim Order

and the DIP Credit Facility Documents, and to grant adequate protection to the Prepetition CIT

Secured Parties on account of the Debtors’ Prepetition CIT Obligations, on an interim basis under



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the terms and conditions set forth herein and in the DIP Credit Facility Documents, as such is

necessary to avoid immediate and irreparable harm to the Debtors’ estate pending the Final

Hearing;

       I.      The Debtors require access to the funding available under the DIP Credit Facility

and the DIP Credit Facility Documents and Cash Collateral in order to satisfy administrative

expenses associated with the operation of their business as a going concern, pursuing the Sale

Process and other costs relating to the administration of the Chapter 11 Cases, and in order to avoid

immediate and irreparable harm to the Debtors’ estates pending the Final Hearing. The priming

of the Prepetition CIT Liens on the Prepetition Collateral under section 364(d), as contemplated

by the DIP Facility, is necessary for the Debtors to obtain the DIP Facility and to continue to

operate their businesses to the benefit of their estates and creditors;

       J.      The Prepetition CIT Secured Parties are unwilling to consent to use of Cash

Collateral by the Debtors, except under the terms of the DIP Credit Facility Documents and this

Interim Order assuring that the liens and the various claims, superpriority claims, and other

protections granted in this Interim Order will not be affected by any subsequent reversal or

modification of this Interim Order or any other order, as provided in section 364(e) of the

Bankruptcy Code, which is applicable to the postpetition financing arrangement contemplated in

the DIP Credit Facility Documents and the use of Cash Collateral pursuant to this Interim Order;

       K.      The Prepetition CIT Secured Parties are each entitled to receive adequate protection

as set forth in this Interim Order pursuant to sections 361, 362, 363, and 507(b) of the Bankruptcy

Code, to the extent of any aggregate diminution in value of their respective interests in the

Prepetition Collateral resulting from, among other things, the Debtors’ use, of Cash Collateral and

other Prepetition Collateral, the subordination of the Prepetition CIT Secured Parties’ respective



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interests in the Prepetition Collateral (including Cash Collateral) to the Carve Out and the

imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code (the “Diminution

in Value”);

       L.      Upon (a) entry of this Interim Order, without any further action by the Debtors or

any other party, but subject to Paragraph 28 herein, all collections and proceeds of DIP Collateral

shall be applied to reduce, on a dollar-for-dollar basis, the obligations under the Prepetition CIT

Loan Documents, and (b) entry of the Final Order, but subject to the other terms herein, all

remaining outstanding obligations under the Prepetition CIT Credit Agreement shall be converted

into and constitute DIP Credit Facility Document obligations. Such administration and treatment

of the Prepetition CIT Credit Agreement Obligations shall be authorized as compensation for, in

consideration for, and solely on account of, the agreement of the DIP Lenders to fund advances

under the DIP Credit Facility Documents and not as adequate protection for, or otherwise on

account of, any Prepetition Credit Agreement obligations. The Prepetition CIT Secured Parties

would not otherwise consent to the use of their Cash Collateral or the subordination of their liens

as provided herein, and the DIP Agent and the DIP Lenders would not be willing to provide the

DIP Credit Facility Document advances or extend credit to the Debtors thereunder without the

inclusion of such terms. Moreover, the conversion of all outstanding Prepetition CIT Credit

Agreement obligations into DIP Credit Facility Document obligations upon entry of the Final

Order will enable the Debtors to obtain urgently needed financing to administer these cases and

fund their operations. Because the conversion of Prepetition Credit Agreement obligations into

DIP Credit Facility Document obligations is subject to the reservation of rights in Paragraph 28

below, they will not prejudice the right of any other party in interest.




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       M.      The DIP Secured Parties and Prepetition CIT Secured Parties negotiated in good

faith regarding the DIP Credit Facility and the Debtors’ use of Cash Collateral to fund the

administration of the Debtors’ estates, pursuit of the Sale Process, and continued operation of the

Debtors’ businesses in accordance with the terms of this Interim Order. Based on the Motion and

on the record presented to the Court at the Interim Hearing, the terms of the DIP Credit Facility,

DIP Credit Facility Documents, proposed adequate protection arrangements and of the use of Cash

Collateral as set forth in this Interim Order are (i) consistent with and authorized by the Bankruptcy

Code, (ii) fair and reasonable, (iii) reflect the Debtors’ prudent exercise of business judgment,

(iv) necessary to protect the Prepetition CIT Secured Parties from the Diminution in Value of their

respective interests in the Prepetition Collateral, and (v) constitute reasonably equivalent and fair

consideration for the Prepetition CIT Secured Parties’ consent thereto. The DIP Secured Parties

are entitled to the protections of Bankruptcy Code Section 364(e).

       N.      Each of the Debtors is a duly organized, validly existing legal entity and has the

requisite power and authority to own, lease, and operate its property, including, without limitation,

the DIP Collateral. Each of the Debtors has the requisite power and authority to enter into, execute,

deliver, and perform its obligations under the DIP Credit Facility Documents and this Interim

Order and to incur the obligations provided for thereon. Except as may be explicitly required in

the DIP Credit Facility Documents, no consent or waiver of, filing with, authorization, approval

or other action by any shareholder, any federal, state, or other governmental authority or regulatory

body or any other Person (other than the DIP Secured Parties), which has not already been obtained

or done, is required in connection with the execution, delivery and performance by the Debtors of

any of the documents required as a condition to the validity or enforceability of the DIP Credit

Facility Documents, other than entry by this Court of this Interim Order; and



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       O.      Good and sufficient cause exists for the issuance of this Interim Order, to prevent

immediate and irreparable harm to the Debtors’ estates.

       Based upon the foregoing, and after due consideration and good cause appearing therefor;

IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

       1.      The Motion is granted on an interim basis effective as of the Petition Date, as set

forth herein. All objections to this Interim Order, to the extent not withdrawn, waived, settled, or

resolved, are hereby denied and overruled on the merits. This Interim Order shall be valid, binding

on all parties-in-interest and fully effective immediately upon entry. The Debtors are authorized,

pursuant to sections 363 and 364, to enter into the DIP Credit Facility and DIP Credit Facility

Documents (and, to the extent executed prior to entry of this Interim Order, such execution is

hereby ratified and affirmed), to execute such other and additional documents necessary or desired

to implement the DIP Credit Facility or DIP Credit Facility Documents, to obtain postpetition

secured financing from the DIP Secured Parties, and to use Cash Collateral, and the proceeds and

products thereof, pursuant to the terms and conditions of the DIP Credit Facility Documents and

this Interim Order to avoid immediate and irreparable harm to the Debtors’ estates pending the

Final Hearing. The Debtors shall use the advances obtained under the DIP Credit Facility and the

DIP Collateral (including Cash Collateral) only for the purposes and in the amounts set forth in

the DIP Credit Facility Documents and Approved Budget attached hereto as Exhibit A, as such

budget may be amended from time to time with the consent of the DIP Agent in its sole discretion,

without the need for further Court approval (such budget, the “Approved Budget”), subject to the

terms and conditions set forth in the DIP Credit Facility Documents and this Interim Order

(including the Approved Budget Variances (as defined below)). The DIP Secured Parties shall

have no obligation to make DIP Credit Facility advances in excess of the amounts and times set

forth in the Approved Budget and DIP Credit Facility Documents; provided that the obligation to

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make DIP Credit Facility overadvances shall be determined in accordance with the DIP Credit

Facility Documents.

         2.    With respect to the Approved Budget:

               (a) Subject to the Approved Budget Variances (as defined below) (i) the Debtors’

aggregate cash receipts budget line item (the “Total Cash Receipts” line item) and (ii) the Debtors’

aggregate cash operating disbursement line item (the “Total Operating Disbursements” line item)

(which Total Operating Disbursements Line item shall not include line items for fees and expenses

of third party professionals engaged by or for the benefit of the Debtor or the Statutory Committee

(if any)) shall be adhered to on a weekly basis (for the Total Operating Disbursements line item)

and a cumulative basis (for the Total Cash Receipts line item and Total Operating disbursements

line item) for the Budget (as defined below) period then ending as described below, provided,

however, that amounts not disbursed under the Budget shall be deemed to roll over to subsequent

weeks.

               (b) Actual amounts for the Total Cash Receipts line item will be tested weekly

beginning with the first full calendar week following the Petition Date and may not be less than

the applicable Approved Budget on a cumulative basis for that portion of the Approved Budget

period then ending by more than (a) fifteen percent (15.0%) for such line item for the first two

testing periods, and (b) ten percent (10.0%) for such line item for each testing period thereafter.

Actual amounts for the Total Operating Disbursements line item (which shall not and does not

include any Professional Fee line items) will be tested weekly beginning with the first full calendar

week following the Petition Date and may not exceed the applicable Approved Budget (including

any amounts deemed to roll over from a previous week due to not being spent) by more than ten

percent (10.0%) for such line item on a weekly basis or more than ten percent (10.0%) for such



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line item on a cumulative basis for that portion of the Approved Budget period then ending

(collectively, the “Approved Budget Variances”).

               (c) The Debtors’ disbursements for fees and expenses of third party professionals

engaged by or for the benefit of the Debtors or the Statutory Committee (if any), including success

or transaction fees (collectively, “Professional Fees”) shall be reported within the Approved

Budget in a manner so that Professional Fees for each retained professional are reflected on its

own line item. The Approved Budget line items for Professional Fees shall not be tested for

purposes of compliance with the Approved Budget or calculation of any Approved Budget

Variances; provided, however, that Carve-Out for the respective Chapter 11 Professionals retained

by the Debtors or Committee shall nevertheless be governed by the amounts of Professional Fees

budgeted for each group’s professionals within the Approved Budget).

               (d) Any fees payable to professionals retained by the DIP Secured Parties set forth

in the Budget shall not be tested for purposes of compliance with the Budget or calculation of any

Budget Variances.

       3.      No proceeds of the DIP Credit Facility or Cash Collateral shall be used to (a) permit

the Debtors or any other party-in-interest to challenge or institute any proceeding to determine (i)

the validity, perfection, or priority of any security interests in favor of the Prepetition CIT Secured

Parties or the DIP Secured Parties or (ii) the enforceability of the Debtors’ obligations or the

obligations of any obligor under the Prepetition CIT Loan Documents or DIP Credit Facility

Documents; (b) investigate, commence, prosecute or defend (or support any other person or entity

in investigating, commencing, prosecuting, or defending) any claim, motion, proceeding or cause

of action against the Prepetition CIT Secured Parties or the DIP Secured Parties or any of their

agents, attorneys, advisors or representatives, including, without limitation, claims or causes of



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action relating to lender liability or subordination claims; (c) investigate, commence, prosecute, or

defend (or support any other person or entity in investigating, commencing, prosecuting, or

defending) any claim or proceeding or cause of action to disallow or challenge the obligations of

the Debtors or any other obligor under the Prepetition CIT Loan Documents or the DIP Credit

Facility Documents, or (d) fund any acquisitions, capital expenditures, capital leases, or similar

expenditures other than those specifically set forth in the Approved Budget; provided, however,

that a Statutory Committee (if any) and its professionals shall be allowed to use proceeds of the

DIP Credit Facility or Cash Collateral, in an amount not to exceed twenty five thousand dollars

($25,000), to investigate the validity and perfection of the Prepetition CIT Liens (the “Committee

Budget”); provided further, however, that any fees and expenses incurred by any Statutory

Committee or any of its legal or financial advisors in connection with any such investigation in

excess of the Committee Budget, and any fees or expenses incurred by any Statutory Committee

or its legal or financial advisors in connection with commencing or prosecuting any Challenge

Action, shall not be paid from the proceeds of the Prepetition Collateral, including any Cash

Collateral or the Carve-Out, and all rights of all parties in interest are reserved to challenge the

status of such fees or expenses as allowed administrative expense claims for purposes of section

1129(a)(9)(A) of the Bankruptcy Code.

       4.      Pursuant to sections 363 and 364(c) and (d), the DIP Credit Facility funds advanced

pursuant to the terms of this Interim Order (collectively, the “Interim DIP Advances”) and, upon

entry of the Final Order, any further DIP Credit Facility funds advanced pursuant to the terms of

the Final Order, shall be allowed administrative expenses of the Debtors’ estates, which shall have

priority in payment over any other indebtedness and/or obligations now in existence or incurred

hereafter by the Debtors and over all administrative expenses or charges against property arising



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in the Debtors’ Chapter 11 cases and any superseding Chapter 7 case including, without limitation,

those specified in Bankruptcy Code sections 105, 326, 328, 330, 331, 503(b), 506(c) (subject to

the entry of the Final Order), 507(a), 507(b), 726, 1113 or 1114, subject and junior only to the

Carve-Out (as hereinafter defined) (such claim, the “DIP Superpriority Claim”); provided, that the

DIP Superpriority Claim shall not be asserted against or payable from Avoidance Proceeds (as

defined below) prior to entry of the Final Order. The time of payment of the Interim DIP Advances

shall not be altered, extended or impaired without the consent of the DIP Agent by any plan or

plans of reorganization that may hereafter be accepted or confirmed or any further orders of the

Court which hereafter may be entered. No lien or interest avoided and preserved for the benefit of

the estates pursuant to section 551 of the Bankruptcy Code shall be pari passu with or senior to the

DIP Superpriority Claim.

       5.      Interest on the Prepetition CIT Obligations shall, to the extent permitted under the

Bankruptcy Code, accrue from and after the Petition Date at the rate set forth in the Prepetition

First Lien Credit Agreement and be payable along with interest accruing on the Interim DIP

Advances, as set forth in the Approved Budget and DIP Credit Facility Documents.                The

reasonable and documented fees and expenses of the DIP Secured Parties shall be payable without

further notice, motion, or application to, order of, or hearing before, the Court (except such notice

as may be required in the DIP Credit Facility Documents); provided, however, the DIP Agent shall

submit copies of its professionals’ invoices to the Debtors, the U.S. Trustee and counsel for any

Statutory Committee, which invoices may be in summary form only (provided, that such invoices

contain data regarding hours worked by each timekeeper for the applicable professional and such

timekeepers’ hourly rates), and such parties shall have ten (10) days following the receipt of such

invoices to object to the reasonableness of the fees and expenses included in any such invoices. If



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any objection is asserted, the Court shall decide the issue and the Debtors shall pay any undisputed

portion of such fees or expenses notwithstanding the pending resolution of the disputed portion.

Any fees payable to professionals retained by the DIP Secured Parties set forth in the Approved

Budget shall not be limited by the amounts set forth in the Approved Budget.

       6.      Upon entry of this Interim Order, without any further action by the Debtors or any

other party, but subject to Paragraph 28 herein, all collections and proceeds of DIP Collateral shall

be applied to reduce, on a dollar-for-dollar basis, the obligations under the Prepetition CIT Loan

Documents, and upon entry of the Final Order, but subject to the other terms herein, all remaining

outstanding obligations under the Prepetition CIT Credit Agreement shall be converted into and

constitute DIP Credit Facility Document obligations.

       7.      Pursuant to sections 363, 364(c), and 364(d), as security for the Interim DIP

Advances and other postpetition costs payable under the DIP Credit Facility Documents, and, upon

entry of the Final Order, any further DIP Credit Facility funds advanced pursuant to the terms of

the Final Order, the Debtors are hereby authorized to and are hereby deemed to grant to the DIP

Agent a valid, binding and enforceable lien, mortgage and/or security interest (a “Lien,” and as so

granted to the DIP Agent, the “DIP Credit Lien”) in all of the Debtors’ presently owned or hereafter

acquired property and assets, whether such property and assets were acquired before or after the

Petition Date, of any kind or nature, whether real or personal, tangible or intangible, wherever

located, and the proceeds and products thereof (collectively, the “DIP Collateral”), including the

proceeds of any actions brought under section 549 of the Bankruptcy Code to recover any post-

petition transfer of DIP Collateral, but excluding any causes of action that could be brought

pursuant to sections 544, 545, 547, 548 of the Bankruptcy Code, or any applicable state fraudulent




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transfer statutes (the “Avoidance Actions”), but, subject to entry of the Final Order, including

proceeds of (and property received in respect of) Avoidance Actions (“Avoidance Proceeds”).

        8.      Pursuant to sections 364(c) and (d), the DIP Credit Lien shall be a first priority

senior and priming lien on the DIP Collateral, subject and junior only to (a) the Carve-Out and (b)

valid, enforceable, properly perfected, and unavoidable prepetition Liens (including any Liens that

are perfected after the Petition Date that are afforded priority due to the express relation back of

the perfection of such lien to a date prior to the Petition Date as permitted by Bankruptcy Code

section 546(b)) that are senior to the Prepetition CIT Liens (“Senior Third Party Liens”). The DIP

Credit Lien shall not be subject or subordinate to any Lien which is avoided and which would

otherwise be preserved for the benefit of the Debtors’ estates under section 551, and in no event

shall any person or entity who pays (or causes to be paid) any of the obligations under the

Prepetition CIT Loan Documents or DIP Credit Facility Documents be subrogated, in whole or in

part, to any rights, remedies, claims, privileges, liens or security interests granted to or in favor of,

or conferred upon, the DIP Secured Parties by the terms of the DIP Credit Facility Documents

until such time as the obligations under the DIP Credit Facility Documents and this Interim Order

are indefeasibly paid in full, in cash. The DIP Credit Lien shall not be subject to sections 510,

549, or 550 of the Bankruptcy Code. The DIP Credit Lien shall not be subject or subordinate to

Liens arising after the Petition Date, other than Liens granted pursuant to this Interim Order to the

extent set forth in this Interim Order.

        9.      All rents, income, profits, cash in accounts and deposits derived from the

Prepetition Collateral constitute Cash Collateral. Provided that each of the conditions set forth in

this Paragraph are satisfied, the Debtors shall be authorized to use the Cash Collateral only in

accordance with the terms of the Approved Budget (subject to Approved Budget Variances), this



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Interim Order, and the other DIP Credit Facility Documents. The satisfaction of each of the

following conditions shall constitute a condition to the Debtors’ authorization to use any Cash

Collateral: (i) no Event of Default under (and as defined in the DIP Credit Facility Documents)

shall exist or be continuing; and (ii) the Commitment Termination Date (as defined in the DIP

Credit Agreement) or the Termination Date (as defined in the DIP Term Sheet) shall not have

occurred.

       10.     Until the indefeasible payment in full of the Prepetition CIT Obligations, the

Prepetition CIT Secured Parties are entitled to adequate protection of their interests in the

Prepetition Collateral (including Cash Collateral) solely to the extent of the Diminution in Value

of the Prepetition Collateral as a result of (a) the provisions of this Interim Order granting first

priority and/or priming liens on such Prepetition Collateral to the DIP Agent for the benefit of the

DIP Secured Parties, (b) the Debtors’ use of the Prepetition Collateral (including Cash Collateral),

(c) the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code, or (d)

otherwise, pursuant to sections 361(a), 363(c), and 364(d)(1) of the Bankruptcy Code. The

Prepetition CIT Agent, on behalf of and for the benefit of the Prepetition CIT Secured Parties, is

hereby granted, solely to the extent of Diminution in Value of the Prepetition CIT Liens in the

Prepetition Collateral from and after the Petition Date the following:

               A.      a Lien in all DIP Collateral (the “Prepetition CIT Adequate Protection

       Lien”) junior only to (i) the Carve-Out and (ii) Senior Third Party Liens, and (iii) the DIP

       Credit Lien; and

               B.      a postpetition superpriority administrative expense claim (the “Prepetition

       CIT Adequate Protection Claim”) against the Debtors with recourse to all prepetition and

       postpetition property of the Debtors and all proceeds thereof (excluding Avoidance



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       Actions, but, subject to entry of the Final Order, including Avoidance Proceeds) under

       sections 503 and 507 of the Bankruptcy Code against the Debtors’ estates to the extent the

       Prepetition CIT Adequate Protection Lien does not adequately protect against the

       Diminution in Value of the Prepetition CIT Liens, which shall have priority in payment

       over any other indebtedness and/or obligations now in existence or incurred hereafter by

       the Debtors or their estates and over all other administrative expenses of any kind,

       including, without limitation, those specified in sections 105, 326, 328, 330, 331, 503(b),

       506(c) (subject to entry of the Final Order), 507(a), 507(b), 726, 1113, or 1114 of the

       Bankruptcy Code, or otherwise and including those resulting from the conversion of the

       chapter 11 case pursuant to section 1112 of the Bankruptcy Code; subject and junior only

       to the Carve-Out and the DIP Superpriority Claim; provided, that the Prepetition CIT

       Adequate Protection Claim shall not be asserted against or payable from Avoidance

       Proceeds prior to entry of the Final Order.

       11.     Nothing herein shall be deemed to be a waiver by any Prepetition CIT Secured

Party of its right to request additional or further protection of its interests in any property of the

Debtors, to move for relief from the automatic stay (if such relief is required), to seek the

appointment of a trustee or examiner or the dismissal of any of the Debtors’ bankruptcy cases, or

to request any other relief. The Prepetition CIT Adequate Protection Liens shall not be subject to

sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest avoided and preserved for

the benefit of the estate pursuant to section 551 of the Bankruptcy Code shall be pari passu or

senior to the Prepetition CIT Adequate Protection Liens or Prepetition CIT Liens.

       12.     The automatic stay provisions of section 362 are hereby modified to permit (a) the

Debtors and the DIP Agent to implement and perform under the DIP Credit Facility and the DIP



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Credit Facility Documents, including without limitation the provisions thereof with respect to the

collection of Proceeds, and the maintenance and implementation of the Collection Accounts and

the Collection Procedures (as such terms are defined below), and (b) the creation and perfection

of all Liens granted or permitted by this Interim Order. The Debtors and the holders of any DIP

Credit Lien or Prepetition CIT Adequate Protection Lien shall not be required to enter into any

additional security agreements to create, memorialize, and/or perfect any such liens, or to file UCC

financing statements, mortgages, or other instruments with any other filing authority or take any

other action to perfect any such Liens, which Liens shall be and are deemed valid, binding,

enforceable and automatically perfected by the docket entry of this Interim Order by the Clerk of

the Court. If, however, the holder of any DIP Credit Lien or Prepetition CIT Adequate Protection

Lien in its sole and absolute discretion shall elect for any reason to enter into, file, record or serve

any such financing statements or other documents with respect to any such Lien, then the Debtors

shall execute same upon request and the filing, recording or service thereof (as the case may be)

shall be deemed to have been made at the time and on the date of the docket entry of this Interim

Order by the Clerk of the Court. The holders of any DIP Credit Facility obligations or Prepetition

CIT Obligations are hereby relieved of any requirement to file proofs of claim in the Debtors’

bankruptcy cases with respect to any claims or Liens securing such claims, but any such holder

may in its sole and absolute discretion file any such proof of claim.

        13.     Each of the DIP Agent and the Prepetition CIT Agent, in its discretion, may file a

photocopy of this Interim Order as a financing statement with any filing or recording office or with

any registry of deeds or similar office, in addition to or in lieu of such financing statements, notices

of lien, or similar instrument. To the extent that the Prepetition CIT Agent is the secured party

under any security agreement, mortgage, leasehold mortgage, landlord waiver, credit card



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processor notices or agreements, bailee letters, custom broker agreements, financing statement,

account control agreements, or any other collateral documents or relevant Prepetition CIT

Documents then automatically and without further action, (i) the DIP Agent shall be deemed to be

a secured party under such documents, (ii) the DIP Credit Facility Document obligations, together

with any refinancings or replacements thereof, shall be deemed to be secured obligations under

such documents, and (iii) the applicable provisions of such documents shall apply to the DIP Credit

Facility Documents, the DIP Credit Liens, and the DIP Credit Facility Document obligations, and

(iv) such documents shall be deemed to be DIP Credit Facility Documents hereunder; all as fully

and completely as if the DIP Agent was an original secured party in such documents and the DIP

Credit Facility Document obligations were original secured obligations in such documents. To the

extent the Prepetition CIT Agent is listed as loss payee, lender loss payee, mortgagee or additional

insured under any of the Debtors’ insurance policies, the DIP Agent shall also be deemed to be the

secured party under such documents or to be the loss payee, lender loss payee, mortgagee or

additional insured, as applicable.

       14.     The DIP Credit Liens, DIP Superpriority Claims, Prepetition CIT Adequate

Protection Liens, and Prepetition CIT Adequate Protection Claim shall be subject to right of

payment of the following expenses (the following subparagraphs, collectively, the “Carve-Out,”

and all amounts payable in connection therewith, the “Carve-Out Amounts”):

               A.      unpaid postpetition fees and expenses of the Clerk of the Court and the U.S.

       Trustee pursuant to 28 U.S.C. § 1930(a) in such amount, with respect to the U.S. Trustee,

       as agreed to by the U.S. Trustee or as determined by the Court;

               B.      subject to the limits set forth in this Interim Order, unpaid postpetition fees

       and expenses of professionals of the Debtors and professionals of a Statutory Committee



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       (if any), which are retained by an order of the Court pursuant to sections 327, 328, 363 or

       1103(a) of the Bankruptcy Code (the “Chapter 11 Professionals”), but only to the extent

       such fees and expenses are (i) incurred prior to delivery of a Carve-Out Trigger Notice (the

       date of delivery of such notice, the “Carve-Out Trigger Date”), (ii) within the amounts set

       forth in the Approved Budget approved by the DIP Agent for such Chapter 11 Professional

       as of the date of the Carve-Out Trigger Date, and (iii) subsequently allowed (whether prior

       or subsequent to the Carve-Out Trigger Date) by the Bankruptcy Court under sections 330,

       331, or 363 of the Bankruptcy Code; and

               C.      after the Carve-Out Trigger Date, postpetition fees and expenses of the

       Chapter 11 Professionals incurred after the Carve-Out Trigger Date in an aggregate amount

       not to exceed $500,000, to the extent such fees and expenses are subsequently allowed by

       the Bankruptcy Court under sections 330, 331, or 363 of the Bankruptcy Code, and fees

       and expenses of a chapter 7 trustee in an amount not to exceed $10,000;

provided, however, that (a) the Carve-Out shall only be available to pay fees and expenses set forth

herein to the extent that unencumbered funds are not otherwise available; and (b) in no event shall

(i) the aggregate pre-Carve-Out Trigger Date amount of the Carve-Out provided in clause (b)

above for all the Chapter 11 Professionals retained by the Debtors exceed the aggregate amount

budgeted for such professionals within the Approved Budget and (ii) the aggregate pre-Carve-Out

Trigger Date amount of the Carve-Out provided in clause (b) above for all the Chapter 11

Professionals retained by the Statutory Committee exceed the aggregate amount budgeted for such

professionals within the Approved Budget; provided, further however, that the Carve Out for

Chapter 11 Professional fees shall first be paid from any retainers or any professional expense

escrow account established by any Debtor. Any amounts paid from the DIP Collateral or the



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proceeds thereof, or funded by the DIP Agent or DIP Secured Parties with respect to the Carve-

Out prior to the entry of the Final Order shall be Interim DIP Advances and such obligations shall

be secured by the DIP Credit Lien. As used in this Interim Order, the term “Carve-Out Trigger

Notice” shall mean a written notice delivered by email (or other electronic means) by the DIP

Agent to the Debtors, their lead restructuring counsel, the U.S. Trustee, and counsel to the Statutory

Committee (if any), which notice is identified as a Carve-Out Trigger Notice and is delivered

following the occurrence and during the continuation of an Event of Default under a DIP Credit

Facility Document or this Interim Order and the acceleration of the obligations under the DIP

Facility. Further, the payment of the fees or costs of any Chapter 11 Professional and/or Statutory

Committee (if any) shall be subject to Court approval, and DIP Agent and the DIP Secured Parties

reserve the right to object to any Chapter 11 Professional’s application for payment.

        15.     Neither the payment of any Chapter 11 Professional fees, nor the Carve-Out shall

include payment for any fees and expenses, if any, of the Chapter 11 Professionals incurred directly

or indirectly, in respect of, arising from or relating to:

                A.      the initiation, joinder or prosecution of any action contesting the

        indebtedness owed to DIP Secured Parties or the Prepetition CIT Secured Parties, or the

        validity of any liens granted to any of such parties, provided, however, that a Statutory

        Committee (if any) and its professionals shall be allowed to use the Committee Budget to

        investigate the validity of the Prepetition CIT Liens;

                B.      preventing, hindering or otherwise delaying (or supporting any other person

        or entity in preventing, hindering or otherwise delaying), whether directly or indirectly, the

        exercise by DIP Agent or Prepetition CIT Agent of any of its rights and remedies under the

        Interim Order, Final Order, Prepetition CIT Loan Documents, or DIP Credit Facility



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       Documents, including, without limitation, any attempt to prevent, hinder or delay (or

       supporting any other person or entity in preventing, hindering or delaying) the submission

       of any credit bid by any of the DIP Secured Parties or Prepetition CIT Secured Parties;

              C.      the commencement, support, or prosecution of any action or proceeding of

       any claims, causes of action or defenses against the DIP Secured Parties, Prepetition CIT

       Secured Parties, or any of their respective officers, directors, employees, agents, attorneys,

       affiliates, successors or assigns, including, without limitation, any attempt to recover or

       avoid any claim or interest from the DIP Secured Parties or Prepetition CIT Secured

       Parties, or any of them;

              D.      any request to borrow money other than pursuant to the terms of the Interim

       Order, the Final Order, or the DIP Credit Facility Documents;

              E.      with respect to the Debtors, any of the Debtors’ Chapter 11 Professionals,

       or any of their successors or assigns (including, without limitation, any trustee, responsible

       officer, examiner, estate administrator or representative, or similar person appointed in a

       case for the Debtors under any chapter of the Bankruptcy Code) performing or

       commencing any investigation or litigation (whether threatened or pending) by the Debtors

       with respect to any matter to be released, waived or specified as not subject to challenge

       by the Debtors pursuant to this Interim Order or the Final Order (including, without

       limitation, Paragraphs 26, 27, and 28 herein); or

              F.      For any other purpose for which proceeds of the DIP Credit Facility may

       not be used pursuant to the DIP Credit Facility Documents.

       16.    The Debtors shall establish and fund a segregated account not subject to the control

of the DIP Agent (such account, the “Carve-Out Account”) for purposes of funding the Carve-



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Out. So long as a Carve-Out Trigger Date shall not have occurred, the Debtor shall transfer to the

Carve-Out Account on a weekly basis, the amounts that the Chapter 11 Professionals may be paid

pursuant to the Approved Budget for such week. Such funds shall be held for the benefit of the

Chapter 11 Professionals, to be applied to the fees and expenses of such Chapter 11 Professionals

that are approved for payment pursuant to one or more orders of the Bankruptcy Court. Any fees

and expenses payable to Chapter 11 Professionals shall be paid first out of the Carve-Out Account,

and all amounts deposited in the Carve-Out Account shall reduce, on a dollar for dollar basis, the

Carve-Out. Upon the occurrence of the Carve-Out Trigger Date, the Debtors shall be required to

deposit in the Carve-Out Account an amount equal to (a) the unpaid amount (if any) of Chapter 11

Professional fees contemplated in the Approved Budget for such week that should have been paid

into the Carve-Out Account during the Approved Budget week in which the Carve-Out Trigger

Date occurs (to the extent such amount has not already been paid into the Carve-Out Account

during such Budget week); and (b) the $510,000 Carve-Out Trigger Reserve. To the extent that

the cash of the Debtors is not sufficient to fund the amounts set forth in the preceding items (a) or

(b), the DIP Lenders shall make advances under the DIP Facility sufficient to deposit such amounts

into the Carve-Out Account.       To the extent that the fees and expenses of the Chapter 11

Professionals performed prior to a Carve-Out Trigger Date and allowed pursuant to one or more

orders of the Bankruptcy Court are less than the amounts funded into the Carve-Out Account, the

excess amounts in the Carve-Out Account shall be remitted to the DIP Agent to reduce the

obligations under the DIP Facility.    The DIP Agent shall not foreclose or sweep amounts in the

Carve-Out Account unless and until the final, allowed amounts payable to Chapter 11

Professionals have been disbursed to the Chapter 11 Professionals from the Carve-Out Account,

and, following delivery of a Carve-Out Trigger Notice, the DIP Agent shall not sweep or foreclose



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on cash of the Debtors that would be required to fund the Carve-Out Account after the occurrence

of the Carve-Out Trigger Date in the manner set forth in this paragraph. The DIP Agent and DIP

Lenders reserve all of their rights to challenge or otherwise object to the allowance of any fees or

expenses sought to be paid to any Chapter 11 Professionals.

       17.     Subject to the entry of the Final Order, in light of, among other things, the

subordination of the liens and superpriority claims of the DIP Secured Parties and Prepetition

CIT Secured Parties to the Carve-Out, effective as of the time of commencement of the Debtors’

bankruptcy cases on the Petition Date:

               A.      each of the Debtors (and any successors thereto or any representatives

       thereof, including any trustees appointed in the Chapter 11 Cases or any case under chapter

       7 of the Bankruptcy Code upon the conversion of any of the Debtors’ Chapter 11 Cases, or

       in any other proceedings superseding or related to any of the foregoing (each, a “Successor

       Case”) waives, and shall be deemed to waive, irrevocably all claims, causes of action,

       benefits, and rights, if any, it or its estate might otherwise assert against the Prepetition

       Collateral, DIP Collateral, Prepetition CIT Secured Parties, and DIP Secured Parties

       pursuant to Bankruptcy Code sections 506(c), 105(a) or any other applicable law;

               B.      except from and pursuant to the terms of the Carve-Out, no person or entity

       in the course of the Debtors’ bankruptcy cases shall be permitted to recover from the DIP

       Collateral or Prepetition Collateral (whether directly or through the grant of derivative or

       equitable standing in the name of the Debtors or any Debtor’s estate) any cost or expense

       of preservation or disposition of the Prepetition Collateral or DIP Collateral, including,

       without limitation, expenses and charges as provided in Bankruptcy Code sections 506(c),

       105(a), or any other applicable law;



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               C.      except from and pursuant to the terms of the Carve-Out, no person or entity

       shall be permitted to recover from the DIP Collateral or Prepetition Collateral, or assert

       against any DIP Secured Party or any Prepetition CIT Secured Party, any claim with respect

       to any unpaid administrative expense of the Debtors’ bankruptcy cases, whether or not the

       Debtors’ payment of such administrative claim was contemplated by or included in the

       Approved Budget;

               D.      Nothing contained in this Interim Order shall be deemed a consent by the

       DIP Secured Parties or Prepetition CIT Secured Parties to any charge, lien, assessment, or

       claim against, or in respect of, the Prepetition Collateral or DIP Collateral under section

       506(c) of the Bankruptcy Code or otherwise, and no consent shall be implied from any

       other action, inaction, or acquiescence by any such parties; and

               E.      the Prepetition CIT Secured Parties and the DIP Secured Parties shall not

       be subject to the “equities of the case” exception of Bankruptcy Code section 552(b), or to

       the equitable doctrines of “marshaling” or any similar claim or doctrine, with respect to

       any DIP Collateral or Prepetition Collateral, and the proceeds of the Prepetition Collateral

       shall be received and applied pursuant to the Prepetition CIT Loan Documents.

       18.     So long as the DIP Credit Facility obligations remain outstanding, unless consented

to in writing by the DIP Agent, the Debtors shall not seek entry of any further orders in their

Chapter 11 Cases which authorize (a) under section 363 of the Bankruptcy Code, the use of Cash

Collateral; (b) the obtaining of credit or the incurring of indebtedness pursuant to sections 364(c)

or 364(d) of the Bankruptcy Code that does not indefeasibly repay the DIP Credit Facility in full,

in cash, (c) the return of goods pursuant to section 546(h) of the Bankruptcy Code to any creditor

of the Debtors or to consent to any creditor taking any setoff against any of such creditor’s



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prepetition indebtedness based upon any such return pursuant to section 553 of the Bankruptcy

Code or otherwise, or (d) any other grant of rights against the Debtors and/or their estates that is

secured by a Lien in the DIP Collateral or is entitled to superpriority administrative status that does

not indefeasibly repay the DIP Credit Facility in full, in cash.

       19.     Upon the occurrence of: (i) an Event of Default (as such term is defined in any DIP

Credit Facility Document); (ii) the Debtors’ failure to comply with the terms of this Interim Order

or the Final Order (including, without limitation, its failure to comply with the Approved Budget,

subject to any Approved Budget Variances); or (iii) the Debtors’ failure to comply with any of the

sale milestones attached hereto as Exhibit B (such milestones, the “Milestones”), and the giving

of written notice thereof by the DIP Agent to counsel to the Debtors, the Statutory Committee (if

any), and the U.S. Trustee (which notice may be given by any manner of electronic transmission,

the automatic stay being deemed lifted for such purpose) (the “Default Notice”), then (i) the DIP

Agent shall be fully authorized, in its sole discretion to immediately cease making DIP Credit

Facility advances to the Debtors, (ii) the DIP Agent shall be fully authorized, in its sole discretion

to terminate the Debtors’ use of the DIP Collateral (including without limitation Cash Collateral)

pursuant to this Interim Order and the Approved Budget, and/or (iii) the DIP Agent shall be fully

authorized, in its sole discretion to terminate the DIP Credit Facility, accelerate the obligations

under the DIP Facility, and demand repayment of the DIP Credit Facility obligations then

outstanding; in each of cases (i) through (iii), which termination shall become effective five (5)

days after delivery of the Default Notice, provided however that the DIP Agent consents to the

scheduling of an expedited hearing to consider further access to the DIP Credit Facility, DIP

Collateral usage, and/or or Cash Collateral usage by the Debtors.




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      20.    Further, upon the occurrence of an Event of Default and transmission of a Default

Notice or upon the Commitment Termination Date:

             A.      the DIP Agent shall have the right, free of the restrictions of sections 362 or

      under any other section of the Bankruptcy Code or applicable law or rule (including,

      without limitation, Bankruptcy Rule 4001(a)), to take immediate reasonable action to

      protect the DIP Collateral from harm, theft and/or dissipation;

             B.      with respect to an Event of Default as to which a Default Notice has been

      given, the Debtors, the Statutory Committee (if any), and the U.S. Trustee shall have five

      (5) business days from the date of the Default Notice (the “Remedy Notice Period”) to

      obtain an order of the Court on notice to the DIP Agent (a) enjoining or restraining the DIP

      Secured Parties from taking action or exercising rights and remedies (other than any rights

      and remedies that may be exercised immediately upon the satisfaction of the conditions set

      forth set forth in Paragraph 19 herein) based upon the Event of Default specified in the

      Default Notice; or (b) challenging whether an Event of Default in the Default Notice has

      occurred or is continuing without cure (a “Restraint on Remedies”). During the Remedy

      Notice Period, the DIP Agent shall refrain from exercising its rights and remedies (other

      than those that may be exercised immediately as set forth in Paragraph 19). Immediately

      upon expiration of the Remedy Notice Period unless a Restraint on Remedies has timely

      been obtained from the Court, or with respect to and upon the maturity date for the DIP

      Credit Facility, immediately:

                     (1)     the DIP Agent shall have the right, free of the restrictions of section

             362 or under any other section of the Bankruptcy Code or Bankruptcy Rules

             (including, without limitation, Bankruptcy Rule 4001(a)), but subject to the



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               provisions hereof relating to the Carve-Out, to exercise contractual, legal and

               equitable rights and remedies as to all or such part of the DIP Collateral as it shall

               elect, and to apply the Proceeds (as such term is defined below) of the DIP

               Collateral to the repayment of the DIP Credit Facility obligations and Prepetition

               CIT Obligations; and

                       (2)     the DIP Agent, should it so elect in its sole and absolute discretion

               as exercised by the filing of an appropriate statement with the Court, shall be

               deemed to have been granted “peaceful possession” of, and right of access to, all or

               any portion of the DIP Collateral, by the Debtors.

       21.     The Debtors shall provide the DIP Agent with (i) all financial statements,

certificates, and reports required by any DIP Credit Facility Document in the manner specified

therein (including, without limitation, a weekly Approved Budget Variance Report) and (ii) such

additional information as the DIP Agent shall reasonably request from the Debtors. The DIP Agent

and its representatives shall have reasonable access to the Debtors’ business premises and to the

DIP Collateral in order to review and evaluate the physical condition of any of the DIP Collateral

and/or to inspect the financial records and other records of the Debtors concerning the operation

of the Debtors’ business.

       22.     For purposes of this Interim Order, (a) “Proceeds” shall mean both (i) proceeds (as

defined in the Uniform Commercial Code for the State of New York) and (ii) any and all payments,

proceeds or other consideration realized upon the sale, liquidation, realization, collection or other

manner of disposition of the DIP Collateral, whether in the ordinary course of the Debtors’

business (including without limitation accounts, receivables, and other proceeds arising from the

Debtors’ sales of goods and/or performance of services) or other than in the ordinary course of the



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Debtors’ business, and (b) “Disposition” shall mean any sale, liquidation, realization, collection or

other manner of disposition of DIP Collateral other than in the ordinary course of the Debtors’

business, including without limitation any sale conducted pursuant to Section 363 of the

Bankruptcy Code.

       23.     The Debtors shall maintain in full force and effect the deposit, clearing, dominion,

lockbox, and similar accounts maintained by or on behalf of the Debtors pursuant to Prepetition

CIT Loan Documents for the collection of Proceeds obtained in the ordinary course of the Debtors’

business (the “Collection Accounts”), and the cash management systems, treasury management

systems, and payment procedures under which such accounts and systems are administered (the

“Collection Procedures”). In furtherance of the foregoing, the DIP Agent shall be deemed to have

control of all of the Debtors’ bank accounts, and any financial institutions in which such accounts

of the Debtors are located are hereby authorized to act in accordance with any request of the DIP

Agent concerning such accounts, including, without limitation, requests to turnover funds therein

without offset or deduction of any kind.

       24.     The Debtors and any successors to the Debtors, including without limitation any

successor trustee or trustees, shall assign or direct to the DIP Agent any and all Proceeds realized

in any Disposition of any DIP Collateral, and immediately deliver any and all such Proceeds which

come into their possession to the DIP Agent in the form received; provided, however, that the

foregoing shall be subject in all respects to (a) payment of the Carve-Out and (b) the priorities of

the DIP Credit Lien granted by this Interim Order. The foregoing is without prejudice to the rights

of (a) the DIP Agent, the Statutory Committee (if any), or any other party to object to any proposed

Disposition, (b) any third party with respect to the allocated Proceeds of any Disposition of

Collateral encumbered by a Senior Third Party Lien, or (c) the rights of third parties set forth below



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with respect to a Challenge Action and the remedies that may result from a successful Challenge

Action. All Proceeds received by the DIP Agent shall be applied to the repayment of the

Prepetition CIT Obligations and DIP Credit Facility obligations, in the manner set forth (a) prior

to entry into the DIP Credit Agreement, on Exhibit C, and (b) after entry into the DIP Credit

Agreement, in the manner set forth in Section 5.6.2 of the DIP Credit Agreement, until such

obligations are paid in full; provided, however, that the foregoing shall be subject in all respects

to the terms and the priorities of liens under this Interim Order. Such applications of Proceeds shall

be free and clear of any claim, charge, assessment or other liability.

       25.     Subject to Paragraph 28 of this Order, the DIP Agent and Prepetition CIT Agent

are hereby authorized to credit-bid all or any of the obligations under the DIP Credit Facility and

Prepetition CIT Loan Documents at any Disposition of any Prepetition Collateral and/or DIP

Collateral, including, without limitation, any sale conducted pursuant to Section 363 of the

Bankruptcy Code.

       26.     Subject to the right to bring a Challenge Action as set forth in Paragraph 28 below,

upon entry of this Interim Order:

               A.      the Stipulations shall be binding upon the Debtors and all other persons,

       entities, and/or parties in all circumstances;

               B.      the validity, extent, priority, perfection, enforceability and non-avoidability

       of the Prepetition CIT Secured Parties’ validly perfected prepetition claims and liens

       against the Debtors and the Prepetition Collateral shall not be subject to challenge by the

       Debtors or any other person, entity, or party; and

               C.      neither the Debtors, nor any other person, entity, or party shall seek to avoid

       or challenge (whether pursuant to Chapter 5 of the Bankruptcy Code or otherwise) any



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       transfer made by or on behalf of the Debtors to or for the benefit of any of the Prepetition

       CIT Secured Parties prior to the Petition Date.

       27.     In consideration of and as a condition to, among other things, the DIP Secured

Parties making the Interim DIP Advances and providing credit and other financial

accommodations to the Debtors, the Prepetition CIT Secured Parties consenting to, among other

things, the use of Cash Collateral, and subordination by the DIP Secured Parties and Prepetition

CIT Secured Parties of their Liens to the Carve-Out pursuant to the terms of this Interim Order and

the DIP Credit Facility Documents, each of the Debtors, on behalf of themselves, their estates, and

their affiliated obligors under the Prepeittion CIT Loan Documents (each a “Releasor” and

collectively, the “Releasors”), subject to Paragraph 28 herein, absolutely releases, forever

discharges and acquits each of the Prepetition CIT Secured Parties and their respective successors

and assigns, affiliates, officers, directors, employees, attorneys and other representatives (the

“Releasees”) of and from any and all claims, demands causes of action, damages, choses in action,

and all other claims, counterclaims, defenses, setoff rights, and other liabilities whatsoever (the

“Prepetition Released Claims”) of every kind, name, nature, and description, whether known or

unknown, both at law and equity (including, without limitation, any “lender liability” claims) that

any Releasor may now or hereafter own, hold, have or claim against each and every of the

Releasees arising at any time prior to the entry of this Interim Order (including, without limitation,

claims relating to the Debtors, the Prepetition CIT Loan Documents, and other documents executed

in connection therewith, and the obligations thereunder); provided, however, that such release shall

not be effective with respect to the Debtors until entry of the Final Order, and with respect to the

Debtors’ bankruptcy estates, until the expiration of the Challenge Period. In addition, upon the

indefeasible payment, in full, in cash, of all DIP Credit Facility obligations owed to the DIP



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Secured Parties arising under this Interim Order and the DIP Credit Facility Documents, the DIP

Secured Parties shall be released from any and all obligations, actions, duties, responsibilities, and

causes of action arising or occurring in connection with or related to the DIP Credit Facility

Documents.

       28.       Notwithstanding any other provisions of this Interim Order, any interested party

with requisite standing (other than the Debtors or their Professionals) in these cases (including,

without limitation, the Statutory Committee (if any)) shall have until the date that is seventy-five

(75) days after entry of this Order (such period, the “Challenge Period”), to commence an

adversary proceeding against the Prepetition CIT Secured Parties (as applicable) for the purpose

(collectively, a “Challenge Action”) of:

                 A.     challenging any of the Stipulations;

                 B.     challenging the validity, extent, priority, perfection, enforceability and non-

       avoidability the Prepetition CIT Secured Parties’ Liens (as applicable) against the Debtors;

                 C.     contesting the amount of the Prepetition CIT Secured Parties’ asserted

       claims;

                 D.     seeking to avoid or challenge (whether pursuant to Chapter 5 of the

       Bankruptcy Code or otherwise) any transfer made by or on behalf of the Debtors to or for

       the benefit of any of the Prepetition CIT Secured Parties, or any of their predecessors in

       interest under the Prepetition CIT Loan Documents (as applicable) prior to the Petition

       Date;

                 E.     seeking damages or equitable relief against any of the Prepetition CIT

       Secured Parties (as applicable) arising from or related to prepetition business and lending

       relationships of the Prepetition CIT Secured Parties or any of their predecessors in interest



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       under the Prepetition CIT Loan Documents with the Debtors, including without limitation

       equitable subordination, recharacterization, lender liability and deepening insolvency

       claims and causes of action; or

               F.      challenging the Roll-Up in Paragraph L of this Order and any other matter

       to be waived or released pursuant to this Interim Order (including, without limitation,

       pursuant to Paragraphs 26 and 27).

Provided, however, that any Chapter 7 trustee subsequently appointed in these cases shall have

until the later of (x) the expiration of the Challenge Period; or (y) 20 days after such trustee is

appointed; in order to commence a Challenge Action.

       29.     All parties in interest, including without limitation the Statutory Committee (if

any), that fail to act in accordance with the time periods set forth in the preceding paragraph shall

be, and hereby are, barred forever from commencing a Challenge Action and shall be bound by

the waivers, Stipulations, and terms set forth in this Interim Order (including Paragraphs 26, 27,

and 28 of this Interim Order). Any Challenge Action filed shall prohibit application of this

paragraph only to the extent of the specific matters set forth in such Challenge Action on the date

of filing unless otherwise ordered. For the avoidance of doubt, if any Challenge Action is timely

filed and a final, non-appealable order is entered in favor of the plaintiff sustaining any such

Challenge Action, the Debtors’ Stipulations in this Interim Order shall nonetheless remain binding

and preclusive on any Statutory Committee and any other person or entity, except to the extent

that such stipulations and admissions were raised (subject to Bankruptcy Rule 7015) in an

adversary proceeding or contested matter prior to the expiration of the Challenge Period and

sustained by the final, non-appealable order. Nothing in this Interim Order vests or confers on any

Person (as defined in the Bankruptcy Code), including any Statutory Committee (if appointed) or



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any non-statutory committees appointed or formed in these Chapter 11 Cases, standing or authority

to pursue any claim or cause of action belonging to the Debtors or their estates, and all rights to

object to such standing are expressly reserved.

       30.     The respective legal and equitable claims, counterclaims, defenses and/or rights of

offset and setoff of the Prepetition CIT Secured Parties in response to any such Challenge Action

are reserved, and the ability of a party to commence a Challenge Action shall in no event revive,

renew or reinstate any applicable statute of limitations which may have expired prior to the date

of commencement of such Challenge Action. Despite the commencement of a Challenge Action,

the prepetition claims and Liens of the Prepetition CIT Secured Parties shall be deemed valid,

binding, properly perfected, enforceable, non-avoidable, not subject to disallowance under section

502(d) of the Bankruptcy Code and not subject to subordination under section 510 of the

Bankruptcy Code until such time as, and only to the extent that, a final and non-appealable

judgment and order is entered sustaining such Challenge Action in favor of the plaintiffs therein.

Notwithstanding anything to the contrary contained in this Interim Order, the Court expressly

reserves the right to order other appropriate relief against the Prepetition CIT Secured Parties in

the event there is a timely and successful Challenge Action by any party in interest to the validity,

enforceability, extent, perfection or priority of the Prepetition CIT Liens or the amount, validity,

or enforceability of the Prepetition CIT Obligations.

       31.     In making decisions to advance any extensions of credit to the Debtors pursuant to

the DIP Credit Facility or in taking any other actions reasonably related to this Interim Order or

the DIP Credit Facility Documents (including, without limitation, the exercise of its approval rights

with respect to any budget), the DIP Agent, Prepetition CIT Agent, DIP Secured Parties, and

Prepetition CIT Secured Parties shall have no liability to any third party and shall not be deemed



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to be in control of the operations of the Debtors or to be acting as a “control person”, “responsible

person” or other “owner or operator” with respect to the operation or management of the Debtors

(as such terms, or any similar terms, are used in the Internal Revenue Code, the United States

Comprehensive Environmental Response Compensation and Liability Act, as amended, or any

similar Federal or state statute), and the DIP Agent, Prepetition CIT Agent, DIP Secured Parties,

and Prepetition CIT Secured Parties’ relationship with the Debtors shall not constitute or be

deemed to constitute a joint venture or partnership of any kind between the DIP Secured Parties

or Prepetition CIT Secured Parties, respectively, and the Debtors.

        32.     This Interim Order shall be binding upon and inure to the benefit of the DIP Agent,

the DIP Secured Parties, the Prepetition CIT Secured Parties, the Debtors, and their respective

successors and assigns, including, without limitation, any trustee, responsible officer, examiner,

estate administrator or representative, or similar person appointed in a case for the Debtors under

any chapter of the Bankruptcy Code. Except as set forth herein with respect to a Challenge Action

and the Carve-Out, no rights are created under this Interim Order for the benefit of any creditor of

the Debtors, any other party in interest in the Debtors’ bankruptcy cases, or any other persons or

entities, or any direct, indirect or incidental beneficiaries thereof.

        33.     To the extent that any of the provisions of this Interim Order shall conflict with any

provisions of the DIP Credit Agreement, the DIP Term Sheet, or with any order of the Court

authorizing the Debtors to continue the use of prepetition bank accounts, cash management

systems, treasury management systems, or business forms, or any similar orders, this Interim Order

is deemed to control and supersede the conflicting provisions therein. The DIP Term Sheet

provides that the Debtors are required to enter into the DIP Credit Agreement prior to entry of the

Final Order. The Debtors shall file a copy of the proposed DIP Credit Agreement in connection



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with their entry into such agreement, which shall be filed at least three (3) days prior to the Final

Hearing. Such agreement shall remain binding upon the Debtors upon their execution of the

agreement, subject to the ability of the Court to examine and rule upon the propriety of any such

provisions at the hearing to consider entry of the Final Order.

       34.     The terms and conditions of this Interim Order shall be effective and immediately

enforceable upon its entry by the Clerk of the Court notwithstanding any potential application of

Fed. R. Bankr. P. 6004(h) or otherwise.        Furthermore, to the extent applicable, the notice

requirements and/or stays imposed by Fed R. Bankr. P. 4001(a)(3), 6003(b), and 6004(a) are

hereby waived for good and sufficient cause.

       35.     Nothing in this Interim Order shall preclude the Court from entering a Final Order

containing provisions inconsistent with or contrary to the provisions of this Interim Order,

provided, however, that the DIP Secured Parties and Prepetition CIT Secured Parties shall be

entitled to the benefits and protections of this Interim Order, including (a) the adequate protection

afforded to the Prepetition CIT Secured Parties set forth in this Interim Order, and (b) the

protections afforded pursuant to section 364(e), with respect to all loans, advances, and other

financial, accommodations made by them pursuant to this Interim Order. The provisions of this

Interim Order and any actions taken pursuant hereto shall survive entry of any order which may

be entered: (a) confirming any plan of reorganization in any of the Chapter 11 Cases; (b) converting

any of the Chapter 11 Cases to a case under Chapter 7 of the Bankruptcy Code; (c) dismissing any

of the Chapter 11 Cases or any Successor Cases; or (d) pursuant to which this Court abstains from

hearing any of the Chapter 11 Cases or Successor Cases. The terms and provisions of this Interim

Order, including the claims, liens, security interests, and other protections granted to the

Prepetition CIT Secured Parties shall continue in the Chapter 11 Cases, in any Successor Cases,



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or following dismissal of the Chapter 11 Cases or any Successor Cases, and shall maintain their

priority as provided by this Interim Order until all of the Prepetition CIT Obligations and CIT

Adequate Protection Claims pursuant to the Prepetition CIT Loan Documents and this Interim

Order have been indefeasibly paid in full in cash. Except as provided herein, no Proceeds, Cash

Collateral or Carve-Out may be used by any party in interest seeking to modify any of the rights

granted to DIP Secured Parties or Prepetition CIT Secured Parties hereunder or in the DIP Credit

Facility Documents.

         36.    The Debtors and the DIP Agent may implement non-material modifications of the

DIP Credit Facility Documents without the need for notice or further approval of the Court,

provided, however, that copies of such amendments will be provided to the U.S. Trustee and the

Statutory Committee (if any).      The Debtors and the DIP Agent may implement material

modifications of the DIP Credit Facility Documents on at least seven (7) calendar days prior notice

to the Statutory Committee (if any) and the U.S. Trustee, and any proposed material modification

that is objected to within such period shall only be implemented to the extent approved by the

Court.

         37.    The Debtors are authorized to do and perform all acts, to make, execute and deliver

all instruments and documents, and to pay all fees and expenses that may be required or necessary

for the Debtors’ performance under this Interim Order or the DIP Credit Facility Documents,

including, without limitation, (a) the execution of the DIP Credit Facility Documents, (b) the

payment of the fees and other expenses described herein or in the DIP Credit Facility Documents

as such become due, including, without limitation, agent fees, commitment fees, letter of credit

fees, and facility fees. The automatic stay under Bankruptcy Code section 362(a) is hereby

modified as necessary to effectuate all of the terms and provisions of this Interim Order, including,



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without limitation, to: (a) permit the Debtors to grant the CIT Adequate Protection Liens and CIT

Adequate Protection Claims; (b) permit the Debtors to perform such acts as the Prepetition CIT

Agent may request in their reasonable discretion to assure the perfection and priority of the liens

granted herein; (c) permit the Debtors to incur all liabilities and obligations to the Prepetition CIT

Secured Parties under the terms of this Interim Order; and (d) authorize the Debtors to pay, and

the Prepetition CIT Secured Parties to retain and apply, any payments made in accordance with

the terms of this Interim Order.

       38.     The Court has considered and determined the matters addressed herein pursuant to

its powers under the Bankruptcy Code, including the power to authorize the Debtors to obtain

credit on terms and conditions to which the Debtors and DIP Agent have agreed. Thus, each of

the terms and conditions constitutes a part of the authorization under sections 364 of the

Bankruptcy Code, and is, therefore, subject to the protections contained in section 364(e) of the

Bankruptcy Code.

       39.     Notwithstanding any provision in this Interim Order to the contrary, any delay or

failure by the Prepetition CIT Secured Parties or DIP Secured Parties to exercise their rights and

remedies under this Interim Order, the Prepetition CIT Loan Documents, DIP Credit Facility

Documents, or applicable law, as applicable, shall not constitute a waiver of any of the Prepetition

CIT Secured Parties or DIP Secured Parties’ rights hereunder, thereunder or otherwise, and no

such waiver shall be deemed to have occurred unless such waiver is made pursuant to a written

instrument executed in accordance with the term of the applicable document.

       40.     A final hearing with respect to the Motion is scheduled for [________], 2023 at

[___________].m. (ET) (the “Final Hearing”) before the Honorable [________], United States

Bankruptcy Judge. The Debtors shall promptly mail copies of this Interim Order (which shall



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constitute adequate notice of the Final Hearing) to the parties having been given notice of the

Interim Hearing and to any other party that has filed a Rule 2002 request for service. Any party

in interest objecting to the relief sought at the Final Hearing shall file written objections, and serve

them on (i) the Debtors’ proposed counsel, Willkie Farr & Gallagher LLP, attn: Brian Lennon,

Debra Sinclair, and Weston Eguchi, 787 Seventh Avenue, New York, NY 10019 and Young

Conaway Stargatt & Taylor LLP, attn: Edmon L. Morton and Matthew B. Lunn, 1000 North King

Street, Wilmington, DE 19801; (ii) the DIP Secured Parties’ counsel, Holland & Knight LLP, attn:

Robert Jones and Brian Smith, 1722 Routh Street, Suite 1500, Dallas, TX 75201 and Erin Fay,

Wilson Sonsini, 222 Delaware Avenue, Suite 800, Wilmington, DE 19801; and (iii) the U.S.

Trustee, attn: Richard Schepacarter, Office of the United States Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, DE 19801, on or before [________] .m. (ET) on [__________],

2023.

        41.    This Court hereby retains jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Interim Order.




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                       Exhibit A

                Interim Approved Budget

                     (See Attached)
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Unconditional Love dba Hello Bello                                                                                                                                            Sale Close         Forecast       Winddown
Forecast DIP Cash Forecast (in 000s)                 WK 1                 WK 2                 WK 3                 WK 4                 WK 5                 WK 6              WK 7              7 Week         6 Week
Week Ending                                        10/28/23              11/4/23             11/11/23             11/18/23             11/25/23              12/2/23           12/9/23             Total          Total

I. Receipts

Total Cash Receipts                                       $2,331               $2,392               $2,646               $2,565               $2,547                $2,605           $2,717         $17,802                -

II. Disbursements

Operating Disbursements
   Raw Materials                                            $647                $647                  $647                 $647                 $647                 $647             $462            $4,347            -
   Manufacturing                                            $537                $537                  $537                 $537                 $537                 $537             $384            $3,607            -
   Shipping                                                 $281                $281                  $250                 $250                 $250                 $250             $178            $1,740            -
   Employee Related                                          $65                $945                   $65                 $945                  $65                 $945              $65            $3,095         $783
   Corporate & IT                                           $118                $118                  $118                 $118                 $118                 $118              $85             $795             -
   Marketing                                                $228                $228                  $228                 $228                 $228                 $228             $163            $1,532           $0
   Rent & Equipment Related                                  $52               $1,560                  $52                 $243                  $52                $1,344             $37            $3,340         $574
   Tax Related                                              $180                   $0                   $0                 $290                   $0                    $0              $0             $470          $825
Total Operating Disbursements                             $2,109               $4,317               $1,898               $3,259               $1,898                $4,070           $1,374         $18,925         $2,181

   Debtor Professional Fees(1)                                345                  345                  445                  345                  345                  371                 345        $2,541        $1,360
   Creditor Committee Prof. Fees                                -                   25                   50                   50                   50                   50                  50         $275          $250
   Lender Legal Fees                                           40                   40                   40                   40                   40                   40                  40         $280             $0
   UST Fees                                                     -                    -                    -                    -                  $65                    -                   -           $65         $176
   Other Non-Operating                                          -                  321                  233                  233                    -                   25                   -         $813          2,238
Total Non-Operating Disbursements                           $385                 $731                 $768                 $668                 $500                 $486             $435            $3,974        $4,024

Total Disbursements                                       $2,494               $5,048               $2,666               $3,927               $2,398                $4,556           $1,809         $22,899         $6,205

III. Liquidity

Beginning Cash                                              $815               $1,000               $1,000               $1,000               $1,000                $1,000           $1,000
Net Cash Flow                                              ($164)             ($2,656)                ($21)             ($1,362)                $149               ($1,951)            $908          ($5,097)       (6,205)
DIP Draw / (Repayments)                                   $2,879               $5,459               $2,667              $28,924                 (150)               $2,393            4,318
Prepetition ABL Paydowns                                 ($2,331)             ($2,392)             ($2,646)            ($27,562)                   -                     -                -
Financing Payments                                         ($200)               ($411)                   -                    -                    -                 ($442)             ($2)
Ending Cash                                               $1,000               $1,000               $1,000               $1,000               $1,000                $1,000           $6,223

IV. Debt Summary

Prepetition ABL                                          $32,599              $30,207              $27,562                    -                    -                     -               -
DIP Facility                                              $2,879               $8,338              $11,005              $39,929              $39,779               $42,172         $46,490
Total Debt Outstanding                                   $35,478              $38,545              $38,567              $39,929              $39,779               $42,172         $46,490
Net Debt Outstanding                                     $34,479              $37,546              $37,566              $38,929              $38,779               $41,172         $46,472
Borrowing Base Availability                              $43,640              $43,640              $43,640              $43,640              $43,640               $43,640         $46,490
Remaining Availability                                    $8,162               $5,095               $5,073               $3,711               $3,861                $1,468               -

Note:
(1) The Professional Fee line item does not include any transaction or sale fee payable to Jefferies; those fees are assumed to be paid out of the sale proceeds
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                                             Exhibit B

                                        363 Sale Milestones

The Debtors shall be required to comply with the following (the “Milestones”) (provided that if
any deadline set forth below shall be due on a day that is not a Business Day, such deadline shall
be extended to the next succeeding Business Day). Capitalized terms not otherwise defined
herein shall have the meanings ascribed to them in the applicable DIP Financing Documents.

       a.       On the Petition Date, the Debtor shall have entered into an asset purchase
agreement with the Stalking Horse Bidder, in form and substance satisfactory to the DIP Agent,
providing for the Stalking Horse Bidder’s purchase of substantially all of the Debtors’ assets
(subject to the Auction and process contemplated in the Sale Procedure Order)

       b.     On or before one business day after the Petition Date, or such later date to which
the DIP Agent consents in writing in its sole discretion, the Debtors shall file a motion, in form
and substance acceptable to the DIP Agent, requesting entry of the Sale Procedure Order (as
defined below) authorizing procedures for the sale of substantially all of the Debtors’ assets to the
Stalking Horse Bidder (or, if an Auction is held, to the Winning Bidder).

       c.       On or before 30 days after Petition Date, or such later date to which the DIP Agent
consents in writing in its sole discretion, the Bankruptcy Court shall have entered the Sale Procedure
Order; and

       d.      On or before the date that is 72 days after the Petition Date, the Debtors shall have
conducted an auction for the sale of substantially all of their assets (if necessary) and selected the
successful bidder for the substantially all of their assets;

       e.      On or before the date that is 75 days after the Petition Date, or such later date to
which the DIP Agent consents in writing in its sole discretion, the Bankruptcy Court shall have
entered the Sale Order approving the 363 Sale; and

       f.     On or before the date that is 77 days after the Petition Date, provided that the
Bankruptcy Court has waived the stay imposed by Bankruptcy Rule 6004(h) or such later date to
which the DIP Agent consents in writing in its sole discretion, the Sale shall be closed.

Notwithstanding anything to the contrary herein, the Bankruptcy Court may set dates with respect
to the Milestones beyond the outer dates specified above to accommodate its own schedule and to
the extent the Bankruptcy Court makes such an extension, the Milestones hereunder shall be
automatically extended by the same period as the Bankruptcy Court’s extension.
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                                            Exhibit C

                                Proceeds Application Waterfall

                                          (see attached)

1. First, all Proceeds shall be applied to obligations owed under the Pre-Petition Credit
Agreement and other Pre-Petition Credit Documents


2. Second, all remaining Proceeds shall be applied to DIP Facility obligations arising under the
DIP Credit Facility Documents.
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                       Exhibit D

                    DIP Term Sheet

                      (see attached)
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                                                                                                 Final Version


                                     Unconditional Love Inc., et al.
                                       Terms and Conditions of
                                Proposed Senior Secured, Super-Priority
                                   Debtor-in-Possession Credit Facility

The terms outlined below in this Terms and Conditions (this “DIP Term Sheet”) are the terms and
conditions for a senior secured, super-priority debtor-in-possession credit facility (hereinafter referred to as
the “DIP Facility”) to be made available to the Debtors (as defined below). This DIP Term Sheet, the Interim
Order (as defined below), the Final Order (as defined below), and such other documents as may be designated
by the DIP Agent (including, without limitation, a potential DIP Credit Agreement) shall collectively constitute
the exclusive and definitive documentation and agreement among the parties for the DIP Facility (the “DIP
Financing Documents”). Capitalized terms not otherwise defined herein shall have the meanings ascribed
to them in that certain Loan, Security and Guarantee Agreement, dated as of April 12, 2022, by and among
CIT Northbridge Credit LLC, as Agent, the lenders party thereto from time to time, Unconditional Love
Inc., a Delaware corporation, The Best Training Pants in the World Inc., a Delaware corporation, and
Unconditional Love Canada, Inc., a corporation organized under the laws of the Province of Ontario,
Canada (as such agreement may be modified, amended, or restated from time to time, the “Pre-Petition
Credit Agreement”). If the date for payment of any obligation of the Debtors or any Milestone (as defined
below) date in this DIP Term Sheet is not a business day, such date shall be extended to the next business
day.


 Borrowers:                                (i)     Unconditional Love Inc.
                                           (ii)    The Best Training Pants in the World Inc.
                                           (iii)   Unconditional Love Canada, Inc.

                                           Each of the borrowers listed above shall be referred to
                                           collectively herein as the “Debtors” and each individually, a
                                           “Debtor”.

 Amount and Type of Facility:              The DIP Facility will consist of a consolidated, revolving credit
                                           facility in the aggregate, maximum principal amount of forty-
                                           seven million dollars ($47,000,000) (such amount, the
                                           “Maximum DIP Facility Amount”), consisting of new
                                           revolving availability of up to twelve million seventy thousand
                                           six hundred sixty seven dollars and forty six cents
                                           ($12,070,667.46) (the “Maximum DIP Funding Amount”), and
                                           a conversion of thirty-four million, nine hundred twenty nine
                                           thousand three hundred thirty two dollars and fifty four cents
                                           ($34,929,332.54) of obligations under the Pre-Petition Credit
                                           Agreement into postpetition DIP Facility obligations; provided,
                                           however, that until entry of the Final Order, the amount of DIP
                                           Facility advances shall be limited to an amount that would not
                                           cause DIP Facility Usage to exceed the Opening Pre-Petition Loan
                                           Balance by more than five million five hundred thousand dollars
                                           ($5,500,000).

 Agent:                                    CIT Northbridge Credit LLC (the “DIP Agent”).

 DIP Lender:                               CIT Northbridge Funding I LLC (the “DIP Lender” and
                                           collectively, with the DIP Agent, the “DIP Secured Parties”).
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Borrowing Availability:       All new advances under the DIP Facility shall be limited by DIP
                              Availability, and the other terms of this DIP Term Sheet. From and
                              after the entry of the Interim Order, the Debtors may request, and
                              the DIP Lenders shall fund, revolving DIP Facility revolving
                              advances subject to the existence of DIP Availability.

                              In the event that DIP Availability at the time of a borrowing request
                              (or after advancing the amounts in the borrowing request) would be
                              less than or equal $0.00, but the Approved Budget contemplates
                              additional borrowings for such week and the Debtors would
                              otherwise be entitled to receive a revolving DIP Facility advance in
                              the event that DIP Availability were greater than $0.00, the Debtors
                              shall be entitled to request, and the DIP Lenders shall fund, a limited
                              DIP Facility overadvance, so long as the aggregate amount of such
                              overadvances, together with any DIP facility protective advances
                              extended by the DIP Agent or DIP Lenders, does not exceed the
                              Approved Limited DIP Overadvance Amount (as defined below).
                              Any such DIP Facility overadvances shall not be outstanding for
                              more than sixty (60) consecutive days and shall be repaid within
                              sixty (60) days after the incurrence of such DIP Facility
                              overadvance. In no event shall a DIP facility overadvance cause
                              the aggregate amount of DIP Facility obligations to exceed (a) prior
                              to entry of the Final Order, the Maximum DIP Funding Amount,
                              less the Carve-Out Trigger Reserve, or (b) after entry of the Final
                              Order, the Maximum DIP Facility Amount, less the Carve-Out
                              Trigger Reserve. In addition to any permitted DIP Facility
                              overadvances, the DIP Agent and DIP Lenders shall be permitted
                              to make protective advances (which protective advances shall also
                              constitute DIP facility obligations), in the manner set forth in the
                              DIP Facility credit agreement.

                              As used herein, the “Approved Limited DIP Overadvance
                              Amount” shall mean (a) at any time prior to entry of the Sale Order,
                              the lesser of (i) 10% of the amount by which DIP Facility Usage
                              exceeds the Opening Pre-Petition Loan Balance (based on the
                              projected ending balance of the DIP Facility for such week set forth
                              in the Approved Budget), or (ii) $1,150,000; or (b) from and after
                              the entry of the Sale Order, the lesser of (i) $1,150,000 plus the
                              amount set in the Approved Budget as the last draw to be made
                              immediately preceding the 363 Sale closing and (ii) the amount
                              that, after giving effect to such overadvance, would not cause the
                              aggregate amount of DIP Facility obligations to exceed the
                              Maximum DIP Facility Amount, less the Carve-Out Trigger
                              Reserve.

                              The Borrowing Base may be reduced from time to time by an
                              Availability Reserve (defined in substantially the same manner as
                              in the Pre-Petition Credit Agreement, but with the addition of a
                              reserve, in an amount not to exceed $510,000, to cover any Carve-
                              Out amounts that may be incurred or payable after the Carve-Out

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                              Trigger Date (such reserve, a “Carve-Out Trigger Reserve”))
                              established by the DIP Agent at its sole discretion in a manner
                              consistent with past practice and in good faith to reflect, among
                              other things, contingencies or risks that may materially impact the
                              DIP Collateral, the liens of the DIP Agent and the DIP Lender upon
                              the DIP Collateral, or the business and operations of the Debtors.
                              The Borrowing Base for the DIP Facility shall not include the
                              Availability Block (as that term is defined in the Pre-Petition Credit
                              Agreement), but shall include the Carve-Out Trigger Reserve.
                              Other than the Carve-Out Trigger Reserve, the DIP Agent shall
                              provide the Borrowers with at least three (3) business days’ notice
                              before imposing any reserves that were not in effect immediately
                              prior to the Petition Date.

                              Unless the Debtors shall have obtained the written consent of the
                              DIP Agent for additional, DIP Facility advances, the Debtors shall
                              not be authorized to receive a DIP Facility advance more frequently
                              than once per calendar day.

Budget and Variances:         Subject to the Approved Budget Variances (as defined below)
                              (i) the Debtors’ aggregate cash receipts budget line item (the
                              “Total Cash Receipts” line item) and (ii) the Debtors’ aggregate
                              cash operating disbursement line item (the “Total Operating
                              Disbursements” line item) (which Total Operating
                              Disbursements Line item shall not include line items for fees and
                              expenses of third party professionals engaged by or for the
                              benefit of the Debtor or the Statutory Committee (if any)) shall
                              be adhered to on a weekly basis (for the Total Operating
                              Disbursements line item) and a cumulative basis (for the Total
                              Cash Receipts line item and Total Operating disbursements line
                              item) for the Approved Budget (as defined below) period then
                              ending as described below, provided, however, that amounts not
                              disbursed under the Approved Budget shall be deemed to roll
                              over to subsequent weeks

                              The Debtors’ disbursements for fees and expenses of third party
                              professionals engaged by or for the benefit of the Debtors or the
                              Statutory Committee (if any), including success or transaction
                              fees (collectively, “Professional Fees”) shall be reported within
                              the Approved Budget in a manner so that Professional Fees for
                              each retained professional are reflected on its own line item. The
                              Approved Budget line items for Professional Fees shall not be
                              tested for purposes of compliance with the Approved Budget or
                              calculation of any Approved Budget Variances; provided,
                              however, that Carve-Out for the respective Chapter 11
                              Professionals retained by the Debtors or Statutory Committee
                              shall nevertheless be governed by the amounts of Professional
                              Fees budgeted for each group’s professionals within the
                              Approved Budget).

                              Any fees payable to professionals retained by the DIP Secured

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                              Parties set forth in the Approved Budget shall not be limited by
                              the amounts set forth in the Approved Budget and shall not be
                              tested for purposes of compliance with the Approved Budget or
                              calculation of any Approved Budget Variances.

                              Actual amounts for the Total Cash Receipts line item will be
                              tested weekly beginning with the first full calendar week
                              following the Petition Date and may not be less than the
                              applicable Approved Budget on a cumulative basis for that
                              portion of the Approved Budget period then ending by more than
                              (a) fifteen percent (15.0%) for such line item for the first two
                              testing periods, and (b) ten percent (10.0%) for such line item for
                              each testing period thereafter. Actual amounts for the Total
                              Operating Disbursements line item (which shall not and does not
                              include any Professional Fee line items) will be tested weekly
                              beginning with the first full calendar week following the Petition
                              Date and may not exceed the applicable Approved Budget
                              (including any amounts deemed to roll over from a previous
                              week due to not being spent) by more than ten percent (10.0%)
                              for such line item on a weekly basis or more than ten percent
                              (10.0%) for such line item on a cumulative basis for that portion
                              of the Approved Budget period then ending (collectively, the
                              “Approved Budget Variances”).

                              On or before Thursday of each week, commencing with the first
                              full week following the Petition Date, the Debtors shall deliver
                              to the DIP Agent an Approved Budget Variance Report.

                              The Approved Budget may be modified only with the
                              subsequent written agreement of the Debtors and DIP Agent (at
                              the DIP Agent’s sole discretion).

Fees:                         In addition to the costs and expenses of the DIP Secured Parties
                              as set forth in the Section titled “Agent Fees and Expenses”
                              below, the Debtors agree to pay the following fees (the “DIP
                              Fees”):

                              (a) An unused line fee equal to 50 basis points per annum

                              (b) a collateral management fee of $7,000 per month, fully
                              earned and payable in advance on the first business day of each
                              month

                              (c) an upfront fee of $200,000, payable on the date of the first
                              DIP Facility draw.

Termination Date:             The earliest to occur of: (a) the Maturity Date (as defined below);
                              (b) thirty (30) days after the Petition Date (as defined below), if the
                              Final Order has not been entered on or before that date;
                              (c) acceleration of the obligations under the DIP Facility; (d) the
                              effective date of a confirmed plan of reorganization or liquidation;

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                               or (e) the date which is the closing date of any sale of all or
                               substantially all of any Debtor’s assets. The date on which the
                               earliest of clauses (a) through (e) above occurs and the DIP Agent
                               provides written notice thereof to the Debtors being referred to
                               hereinafter as the “Termination Date.” On the Termination
                               Date, the DIP Facility shall be deemed terminated, and the DIP
                               Secured Parties shall have no further obligation to provide
                               financing pursuant to the DIP Facility or DIP Financing
                               Documents.

Non-Default Interest Rate      Interest on all outstanding advances under the DIP Facility shall
and Payment Terms:             accrue from and after the Petition Date at a per annum rate equal to
                               Adjusted Term SOFR + 8.00% (the “Non-Default Interest
                               Rate”). The Adjusted Term SOFR rate shall have a floor of
                               1.50%.

                               Interest on DIP Facility obligations shall be payable monthly, in
                               arrears, on the first day of each calendar month.

                               Interest with respect to any outstanding obligations under the
                               Pre-Petition Credit Agreement shall, to the extent permitted by
                               applicable bankruptcy law, accrue from and after the Petition
                               Date at the rate of interest set forth in the Pre-Petition Credit
                               Agreement. For purposes of computing interest on DIP Facility
                               obligations, any DIP Collateral proceeds applied by the DIP
                               Agent shall be deemed applied on the third (3rd) Business Day
                               after receipt.

Default Interest Rate:         Effective immediately upon the occurrence of an Event of
                               Default unless waived in writing by the DIP Agent, interest on
                               the outstanding loans under the DIP Facility shall accrue at a rate
                               that is 3% per annum in excess of the Non-Default Interest Rate.

Loan Payments:                 Each of the Debtors, jointly and severally, promises and agrees
                               to pay to the DIP Agent and the DIP Lender all DIP Facility
                               advances, together with interest thereon accruing pursuant to the
                               DIP Financing Documents, in full, in cash, at the times set forth
                               in the DIP Financing Documents, but no later than the
                               Termination Date. All daily collections in respect of DIP
                               Collateral shall be repaid to the DIP Agent, on a daily basis.

                               All unpaid principal, interest, fees, costs and expenses in respect
                               of the DIP Facility shall be due and payable in full by the Debtors
                               on the Termination Date, whether at maturity, upon acceleration
                               or otherwise and if such amounts are not paid in full in cash,
                               interest, fees, costs, and expenses in respect of the DIP Facility
                               shall continue to accrue until paid in full.

                               In the event that the DIP Availability on any given date of
                               determination would be less than $0.00, then the Debtors shall
                               promptly (and in any event, no later than one business day after

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                              such occurrence) repay the DIP Facility, in cash, in an amount
                              required to ensure that DIP Availability (after giving effect to
                              such cash payment) is not less than $0.00; provided, however,
                              that any permitted overadvances (described in the Borrowing
                              Availability) section, shall be repaid within 60 days after the
                              incurrence of such permitted overadvance. The DIP Agent and
                              DIP Lender are authorized to exercise any offset rights with
                              respect to any of the Debtors’ deposit accounts in the event that
                              such repayment does not occur within one business day as
                              required herein.

Use Of Proceeds:              Proceeds of the DIP Facility shall be used solely for the
                              following purposes (and to the extent identified in the Approved
                              Budget): (a) to fund postpetition operating expenses and
                              working capital needs of the Debtors, including, but not limited
                              to, those activities required to remain in, or return to, compliance
                              with laws in accordance with 28 U.S.C. § 1930; (b) to pay
                              interest, fees and expenses to the DIP Secured Parties in
                              accordance with this DIP Term Sheet (whether or not such
                              amounts are reflected in the Approved Budget); (c) to fund fees
                              and expenses incurred in connection with the 363 Sale (as defined
                              below); (d) to pay Professional Fees; and (e) to pay certain other
                              costs and expenses of administration of the Chapter 11 Cases.

                              Proceeds of the DIP Facility or cash collateral shall not be used
                              (a) to permit any Debtor, or any other party-in-interest or their
                              representatives to challenge or otherwise contest or institute any
                              proceeding to determine (i) the validity, perfection or priority of
                              security interests in favor of the DIP Agent, the Pre-Petition Agent,
                              the Pre-Petition Lenders or the DIP Lender or (ii) the
                              enforceability of the obligations of any Debtor or any guarantor
                              under the Pre-Petition Credit Agreement, any other Pre-Petition
                              Loan Documents, or the DIP Facility, (b) to investigate,
                              commence, prosecute or defend (or support any other person or
                              entity in investigating, commencing, prosecuting, or defending)
                              any claim, motion, proceeding or cause of action against the DIP
                              Agent, the Pre-Petition Agent, the Pre-Petition Lenders, or the
                              DIP Lender and their agents, attorneys, advisors or
                              representatives including, without limitation, any lender liability
                              claims or subordination claims, (c) to investigate, commence,
                              prosecute or defend (or support any other person or entity in
                              investigating, commencing, prosecuting, or defending) any claim
                              or proceeding or cause of action to disallow or challenge the
                              obligations of any Debtor or any guarantor under Pre-Petition
                              Credit Agreement, any other Pre-Petition Loan Documents or the
                              DIP Financing Documents, (d) to fund acquisitions, capital
                              expenditures, capital leases, or any other expenditure not
                              specifically set forth in the Approved Budget and approved by the
                              DIP Agent, or (e) for any other purpose for which the Carve Out
                              may not be used, provided that a Statutory Committee (if any) and
                              its professionals shall be permitted to investigate the liens of the
                              Pre-Petition Agent and Pre-Petition Lenders in connection with the

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                               Pre-Petition Credit Agreement, with such investigation fees not to
                               exceed $25,000.

Cash Management                The Debtors shall use a cash management system that is the same
Collections and Remittances:   as or substantially similar to their pre-petition cash management
                               system. Any material changes from such pre-petition cash
                               management system must be acceptable to the DIP Agent in its
                               sole discretion. The Interim Order and Final Order shall provide
                               the DIP Agent and the DIP Lender with a valid and enforceable
                               lien and security interest on the cash held in the Debtors’ bank
                               accounts.

Pre-Petition Obligations:      All collections and proceeds of DIP Collateral shall be applied
                               to reduce, on a dollar for dollar basis, the obligations under the
                               Pre-Petition Credit Agreement and Pre-Petition Loan
                               Documents. Upon entry of the Final Order, all obligations under
                               the Pre-Petition Credit Agreement and other Pre-Petition Loan
                               Documents shall be deemed and become postpetition obligations
                               under the DIP Facility.

Super-Priority                 Amounts owed by Debtors to the DIP Secured Parties pursuant
Administrative Claim:          to the DIP Facility (including all accrued interest, fees, costs and
                               expenses) shall constitute, in accordance with Section 364(c)(1)
                               of the Bankruptcy Code (as defined below), a claim having
                               priority over any or all administrative expenses of the kind
                               specified in, among other sections, Sections 105, 326, 328, 330,
                               331, 503(b), 506(c), 507(a), 507(b), 726, 1113, or 1114 of the
                               Bankruptcy Code, subject to payment of the Carve Out (such
                               claim, the “DIP Superpriority Claim”).

Collateral Security:           Subject and subordinate only to: (i) any valid, properly perfected,
                               enforceable, non-avoidable prior liens and security interests
                               existing as of the Petition Date (including any Liens that are
                               perfected after the Petition Date that are afforded priority due to
                               the express relation back of the perfection of such lien to a date
                               prior to the Petition Date as permitted by Bankruptcy Code section
                               546(b)) that are senior to the liens and security interests in favor
                               of the Pre-Petition Agent and/or the Pre-Petition Lenders (the
                               “Permitted Senior Liens”), and (ii) the Carve Out, the DIP
                               Facility (including accrued interest, fees, costs and expenses) shall
                               be secured by first priority senior and priming liens and security
                               interests (the “DIP Liens”) in all of the Debtors’ property,
                               including, without limitation, all of Debtors’ existing and future
                               acquired property and interests of any nature whatsoever, real
                               and personal, tangible and intangible, including accounts
                               receivable, general intangibles, payment intangibles, supporting
                               obligations, investment property, commercial tort claims,
                               inventory, rolling stock, machinery, equipment, subsidiary
                               capital stock, chattel paper, documents, instruments, deposit
                               accounts, contract rights, and tax refunds of each Debtor,
                               excluding only Avoidance Actions, but including, subject to

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                              entry of the Final Order, Avoidance Proceeds (collectively, the
                              “DIP Collateral”).

Lien Validation               All liens authorized and granted pursuant to the Interim Order or
and Perfection:               the Final Order entered by the Bankruptcy Court approving the
                              DIP Facility or with respect to adequate protection shall be
                              deemed effective and perfected as of the Petition Date, and no
                              further filing, notice or act will be required to effect such
                              perfection.

                              The Debtors shall stipulate in the Interim Order and Final Order
                              that (i) the liens of the Pre-Petition Agent and the other Pre-
                              Petition Lenders securing the Pre-Petition Credit Facility are
                              valid, perfected, encumber all assets of the Debtors, and have first
                              priority, and (ii) the Debtors possess no claims, offsets or any
                              other type cause of action against the Pre-Petition Agent or any
                              of the Pre-Petition Lenders that would impair, in any manner, the
                              liens of the Pre-Petition Agent or any of the Pre-Petition Lenders
                              against the Debtors’ assets or the obligations of the Debtors to
                              the Pre-Petition Agent and Pre-Petition Lenders under the Pre-
                              Petition Credit Facility. The Debtors’ stipulations shall be
                              binding upon all parties in interest in the Chapter 11 Cases,
                              including any Statutory Committee that is appointed, unless
                              (i) an adversary proceeding is filed by any party-in-interest
                              (including any Statutory Committee appointed in the Chapter 11
                              Cases) prior to the expiration of seventy-five (75) days after
                              entry of the Interim Order (the “Review Period”) against the
                              Pre-Petition Agent or the Pre-Petition Lenders (as applicable)
                              challenging the Pre-Petition Agent or the Pre-Petition Lender’s
                              liens (as applicable) or otherwise asserting estate claims against
                              the Pre-Petition Agent or the Pre-Petition Lenders (as
                              applicable), and (ii) a final, non-appealable judgment is entered
                              against the Pre-Petition Agent or the Pre-Petition Lenders (as
                              applicable) in such adversary proceeding. Any party-in-interest
                              that fails to file an adversary proceeding within the Review
                              Period shall be forever barred from asserting any claims against
                              the Pre-Petition Agent or the Pre-Petition Lenders on behalf of
                              any Debtor’s estate, or challenging in any manner the liens and
                              claims of the Pre-Petition Agent or the Pre-Petition Lenders
                              against any of the Debtors.

Release of Claims             In consideration of the furnishing of the DIP Facility, each of the
                              Debtors party hereto, subject to the rights of another party to
                              bring a Challenge Action (as such term is defined in the Interim
                              Order or the Final Order approving the DIP Facility) during the
                              Review Period, and upon entry of the Final Order, hereby
                              absolutely releases and forever discharges each of the Pre-
                              Petition Agent and Pre-Petition Lenders and their affiliates,
                              officers, directors, employees, attorneys, and other
                              representatives from any and all claims and causes of action of
                              every kind and nature that any of the Debtors may hold against

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                                    such released parties.

506(c) Surcharge/Equities of Case   Upon entry of the Final Order, each of the Debtors hereby waive
                                    any right to surcharge the prepetition collateral securing the Pre-
                                    Petition Credit Agreement, Pre-Petition Loan Documents, or
                                    DIP Collateral, whether pursuant to Bankruptcy Code sections
                                    506(c) or 105(a) or under any other applicable law.

                                    Upon entry of the Final Order, the DIP Agent, the DIP Lender,
                                    the Pre-Petition Agent and the Pre-Petition Lenders shall not be
                                    subject to the “equities-of-the case” exception of Bankruptcy
                                    Code section 552(b), or to the equitable doctrines of
                                    “marshaling” or any similar claim or doctrine with respect to any
                                    DIP Collateral or collateral securing the Pre-Petition Credit
                                    Agreement or Pre-Petition Loan Documents.

Adequate Protection –               As adequate protection and in consideration for being primed by
Pre-Petition Lenders:               the DIP Lender’s claims and liens, the Pre-Petition Agent and Pre-
                                    Petition Lenders shall receive, to the extent of diminution in value
                                    of the interests of the Pre-Petition Agent and Pre-Petition Lenders
                                    in the Debtors’ collateral securing the amounts due under the Pre-
                                    Petition Credit Agreement and other Pre-Petition Loan Documents
                                    following the Petition Date, (a) a claim having priority over any
                                    and all expenses of the kind specified in, among other sections of
                                    the Bankruptcy Code, Sections 105, 326, 328, 330, 331, 503(b),
                                    506(c), 507(a), 507(b), 726, and 1114, subject to payment of the
                                    Carve Out and subject to the super-priority administrative claims
                                    of the DIP Agent and the DIP Lender under the DIP Facility
                                    (such claim, the “Pre-Petition Adequate Protection
                                    Superpriority Claim”); and (b) valid, binding, enforceable and
                                    perfected replacement liens in all DIP Collateral, subject to
                                    payment of the Carve Out, Permitted Senior Liens (if any), and the
                                    DIP Liens (the “Pre-Petition Adequate Protection Liens”).

                                    The Pre-Petition Adequate Protection Liens granted herein in
                                    favor of the Pre-Petition Agent and Pre-Petition Lenders shall
                                    not encumber Avoidance Actions, but, subject to entry of the
                                    Final Order, shall encumber Avoidance Proceeds.

Agent Fees and Expenses:            The Debtors shall promptly pay or reimburse the DIP Agent
                                    when requested for all reasonable and documented costs and
                                    expenses of counsel (including, without limitation, local counsel)
                                    and financial advisors for the DIP Secured Parties relating to the
                                    DIP Facility and the administration and interpretation of, and the
                                    enforcement of remedies under, the DIP Facility, regardless of
                                    whether such amounts were incurred prior to or after the Petition
                                    Date, including but not limited to, due-diligence, duplication or
                                    printing costs, consultation, travel, and attendance at court
                                    hearings, regardless of whether the DIP Facility is consummated.
                                    The DIP Agent shall have the right to charge the DIP Facility for
                                    any such fees and costs. Failure to pay such fees and expenses
                                    within ten (10) days of delivery of the applicable fee

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                             reimbursement request shall be an Event of Default under the DIP
                             Facility if such failure continues unremedied for more than two
                             (2) business days after written notice of such failure to the
                             Debtors, provided that the DIP Agent shall concurrently provide
                             copies of any fee reimbursement request to the U.S. Trustee and
                             the Statutory Committee (if any) and allow such parties and the
                             Debtors ten (10) days to review and object to any fees or expenses
                             requested therein. If any objection is asserted, the Bankruptcy
                             Court shall decide the issue and the Debtors shall not be required
                             to pay any disputed portion of such fees or expenses until the
                             matter is resolved.

Carve-Out:                   The “Carve-Out” shall be an amount equal to the sum of:

                             (a)     unpaid, postpetition fees and expenses of the Clerk of
                             the Court and the U.S. Trustee pursuant to 28 U.S.C. § 1930(a)
                             in such amount, with respect to the U.S. Trustee, as agreed to by
                             the U.S. Trustee or as determined by the Court (collectively, the
                             “Statutory Fees”);

                             (b)      the unpaid postpetition fees and expenses of the
                             professionals retained by the Debtors and by the Statutory
                             Committee (if any), whose retentions are approved pursuant to
                             final orders of the Court under sections 327, 328, 363 or 1103(a)
                             of the Bankruptcy Code (the “Chapter 11 Professionals”), but
                             only to the extent that such fees and expenses are (i) incurred
                             prior to delivery of a Carve-Out Trigger Notice (the date of
                             delivery of such notice the “Carve-Out Trigger Date”),
                             (ii) within the amounts set forth in the Approved Budget
                             approved by the DIP Agent for the respective Chapter 11
                             Professionals of the Debtors and Statutory Committee as of the
                             Carve-Out Trigger Date, and (iii) subsequently allowed (whether
                             prior or subsequent to the Carve-Out Trigger Date) by the
                             Bankruptcy Court under sections 330, 331, or 363 of the
                             Bankruptcy Code; and

                             (c)       after the Carve-Out Trigger Date: (i) postpetition fees
                             and expenses of the Chapter 11 Professionals incurred in an
                             aggregate amount not to exceed $500,000, to the extent such fees
                             and expenses are subsequently allowed by the Bankruptcy Court
                             under sections 330, 331, or 363 of the Bankruptcy Code; and
                             (ii) fees and expenses of a chapter 7 trustee in an amount not to
                             exceed $10,000.

                             Provided, however, that (a) the Carve-Out shall only be available
                             to pay fees and expenses set forth herein to the extent that
                             unencumbered funds are not otherwise available; and (b) in no
                             event shall (i) the aggregate pre-Carve-Out Trigger Date amount
                             provided in clause (b) above for all the Chapter 11 Professionals
                             retained by the Debtors exceed the aggregate amount budgeted
                             for such professionals within the Approved Budget and (ii) the

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                    aggregate pre-Carve-Out Trigger Date amount provided in
                    clause (b) above for all the Chapter 11 Professionals retained by
                    the Statutory Committee exceed the aggregate amount budgeted
                    for such professionals within the Approved Budget.

                    Provided, further, however, that the Carve-Out for Chapter 11
                    Professional fees shall be first paid from any retainers or any
                    professional expense escrow account established by the Debtor.

                    The Carve-Out shall not include payment for any fees and
                    expenses, if any, of the Chapter 11 Professionals incurred
                    directly or indirectly, in respect of, arising from or relating to:

                    (i) the initiation, joinder, support, or prosecution of any action
                    contesting the indebtedness owed to the DIP Agent, the DIP
                    Lender, the Pre-Petition Agent, or the Pre-Petition Lenders, or
                    the validity of any liens granted to the DIP Agent, the DIP
                    Lender, the Pre-Petition Agent, or the Pre-Petition Lenders;

                    (ii) preventing, hindering or otherwise delaying (or supporting
                    any other person or entity in preventing, hindering or otherwise
                    delaying), whether directly or indirectly, the exercise by the DIP
                    Agent or the Pre-Petition Agent of any of its rights and remedies
                    under the Interim Order, Final Order, or documents comprising
                    the DIP Facility, DIP Financing Documents, Pre-Petition Credit
                    Agreements, or other Pre-Petition Loan Documents, including,
                    without limitation, any attempt to prevent, hinder or delay (or
                    supporting any other person or entity in preventing, hindering or
                    delaying) the submission of any credit bid by the DIP Agent, DIP
                    Lender, Pre-Petition Agent, or Pre-Petition Lenders;

                    (iii) the commencement, support, or prosecution of any action or
                    proceeding of any claims, causes of action or defenses against
                    the DIP Agent, the DIP Lender, the Pre-Petition Agent, the Pre-
                    Petition Lenders or any of their respective officers, directors,
                    employees, agents, attorneys, affiliates, successors or assigns,
                    including, without limitation, any attempt to recover or avoid
                    any claim or interest from the DIP Agent, the DIP Lender, the
                    Pre-Petition Agent, or the Pre-Petition Lenders;

                    (iv) any request to borrow money other than pursuant to the
                    terms of the Interim Order, the Final Order, or the DIP Financing
                    Documents;

                    (v) with respect to any Debtor, any of the Debtors’ Chapter 11
                    Professionals, or any of their successors or assigns (including,
                    without limitation, any trustee, responsible officer, examiner,
                    estate administrator or representative or similar person appointed
                    in a case for the Debtors under any chapter of the Bankruptcy
                    Code) performing or commencing any investigation or litigation
                    (whether threatened or pending) by the Debtors with respect to

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                    any matter released or to be released, waived, or to be waived,
                    or specified as not subject to challenge by the Debtors pursuant
                    to the Interim Order or Final Order; or

                    (vi) for any other purpose for which proceeds of the DIP Facility
                    may not be used pursuant to this DIP Term Sheet.

                    “Carve-Out Trigger Notice” shall mean a written notice
                    delivered by email (or other electronic means) by the DIP Agent
                    to the Debtors, their lead restructuring counsel, the U.S. Trustee,
                    and counsel to the Statutory Committee (if any), which notice is
                    identified as a Carve-Out Trigger Notice and is delivered
                    following the occurrence and during the continuation of an Event
                    of Default and acceleration of the obligations under the DIP
                    Facility.

                    The Debtors shall establish and fund a segregated account not
                    subject to the control of the DIP Agent (such account, the
                    “Carve-Out Account”) for purposes of funding the Carve-Out.
                    So long as a Carve-Out Trigger Date shall not have occurred, the
                    Debtor shall transfer to the Carve-Out Account on a weekly
                    basis, the amounts that the Chapter 11 Professionals may be paid
                    pursuant to the Approved Budget for such week. Such funds
                    shall be held for the benefit of the Chapter 11 Professionals, to
                    be applied to the fees and expenses of such Chapter 11
                    Professionals that are approved for payment pursuant to one or
                    more orders of the Bankruptcy Court. Any fees and expenses
                    payable to Chapter 11 Professionals shall be paid first out of the
                    Carve-Out Account, and all amounts deposited in the Carve-Out
                    Account shall reduce, on a dollar for dollar basis, the Carve-Out.

                    Upon the occurrence of the Carve-Out Trigger Date, the Debtors
                    shall be required to deposit in the Carve-Out Account an amount
                    equal to (a) the unpaid amount (if any) of Chapter 11
                    Professional fees contemplated in the Approved Budget for such
                    week that should have been paid into the Carve-Out Account
                    during the Approved Budget week in which the Carve-Out
                    Trigger Date occurs (to the extent such amount has not already
                    been paid into the Carve-Out Account during such Approved
                    Budget week); and (b) the $510,000 Carve-Out Trigger Reserve.
                    To the extent that the cash of the Debtors is not sufficient to fund
                    the amounts set forth in the preceding items (a) or (b), the DIP
                    Lenders shall make advances under the DIP Facility sufficient to
                    deposit such amounts into the Carve-Out Account.

                    To the extent that the fees and expenses of the Professionals
                    performed prior to a Carve-Out Trigger Date and allowed
                    pursuant to one or more orders of the Bankruptcy Court are less
                    than the amounts funded into the Carve-Out Account, the excess
                    amounts in the Carve-Out Account shall be remitted to the DIP
                    Agent to reduce the obligations under the DIP Facility. The

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                                  DIP Agent shall not foreclose or sweep amounts in the Carve-
                                  Out Account unless and until the final, allowed amounts payable
                                  to Chapter 11 Professionals have been disbursed to the Chapter
                                  11 Professionals from the Carve-Out Account, and, following
                                  delivery of a Carve-Out Trigger Notice, the DIP Agent shall not
                                  sweep or foreclose on cash of the Debtors that would be required
                                  to fund the Carve-Out Account after the occurrence of the Carve-
                                  Out Trigger Date in the manner set forth in the paragraph above.
                                  The DIP Agent and DIP Lenders reserve all of their rights to
                                  challenge or otherwise object to the allowance of any fees or
                                  expenses sought to be paid to any Chapter 11 Professionals.

                                  For the avoidance of doubt, and notwithstanding anything to the
                                  contrary in the Interim Order, Final Order, or the DIP Facility
                                  Documents, the Carve-Out shall be senior to all liens and claims
                                  securing the DIP Facility, the DIP Liens, the DIP Superpriority
                                  Claims, and any and all other forms of liens or claims securing
                                  the obligations under the DIP Facility.

Conditions Precedent to Initial   The closing of the DIP Facility shall be subject to (a) approval of
DIP Facility Advance:             the Approved Budget by the DIP Agent, together with all financial
                                  information and projections regarding the Debtors requested by
                                  the DIP Agent, all in form and substance satisfactory to the DIP
                                  Agent in its sole discretion, (b) entry of an Interim Order approving
                                  the DIP Facility, the DIP Liens, and the DIP Superpriority Claim,
                                  and containing such other orders and findings as the DIP Agent
                                  may require, including modification of the automatic stay after a
                                  specified notice period following the occurrence of an Event of
                                  Default enabling the DIP Agent to exercise certain rights and
                                  remedies against the DIP Collateral, which Interim Order or Final
                                  Order, as applicable, shall not have been modified or amended
                                  without approval of the DIP Agent, and shall not have been
                                  reversed, vacated or stayed pending appeal, in form and substance
                                  satisfactory to the DIP Agent in its sole discretion, (c) the DIP
                                  Agent’s approval (not to be unreasonably withheld, conditioned,
                                  or delayed) of all material first day motions and orders filed in
                                  the Chapter 11 Cases relating to the 363 Sale or requiring the
                                  expenditure of cash amounts greater than $25,000 in the
                                  aggregate, (d) continuation of Debtors’ present cash
                                  management system, (e) the form and substance of this DIP
                                  Term Sheet shall be satisfactory to the DIP Agent in its sole
                                  discretion, and (f) the Debtors’ delivery to the DIP Agent of an
                                  executed asset purchase agreement, prior to the Petition Date,
                                  between the Debtors and the Stalking Horse Bidder, in form and
                                  substance satisfactory to the DIP Agent at its sole discretion,
                                  providing for the Stalking Horse Bidder’s purchase of
                                  substantially all of the Debtors’ assets; and (g) no material
                                  adverse change in the Debtors’ operations (financial,
                                  environmental, or otherwise), performance, or properties (other
                                  than as a result of (i) the commencement of the Chapter 11 Cases
                                  or (ii) events or circumstances disclosed to the DIP Agent prior to

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                                the Petition Date), has occurred since the Petition Date.

Additional Conditions to Each   The funding of each DIP Facility advance shall be subject to the
Borrowing Under the             following conditions precedent: (a) There shall exist no Event
DIP Facility:                   of Default (or event that would constitute an Event of Default with
                                the giving of notice or lapse of time) under any of the DIP
                                Financing Documents, and the representations and warranties
                                therein shall be true and correct in all material respects;
                                (b) compliance with Bankruptcy Rule 4001 and any applicable
                                Local Bankruptcy Rules, the entry of the Interim Order and the
                                Final Order (as applicable), together with any other order
                                requested by the DIP Agent authorizing and approving the DIP
                                Facility in form, substance and amount acceptable to the DIP
                                Agent in its sole discretion; (c) payment of all fees and expenses
                                owing to the DIP Agent in connection with the DIP Facility (which
                                payment may be made from the proceeds of such borrowing);
                                (d) satisfaction of all other borrowing conditions set forth in the
                                DIP Credit Agreement (which shall be substantially the same as
                                in the Pre-Petition Credit Agreement, including, the absence of
                                any Material Adverse Effect since the Petition Date), and (e) the
                                DIP Financing Documents and the Interim and Final Orders shall
                                include such waivers, indemnities, and other provisions as are
                                acceptable to the DIP Agent in its sole discretion.

Affirmative and                 The Debtors shall comply with the following affirmative and
Negative                        negative covenants: (a) compliance with Approved Budget
Covenants:                      covenants consistent with the section titled “Budget and
                                Variances,” (b) the Debtors shall, from and after the Petition Date,
                                satisfy the Milestones; (c) other customary DIP Facility
                                covenants, including covenants substantially the same as in the
                                Pre-Petition Credit Agreement (subject to revisions necessary or
                                appropriate for DIP Facility financings).

Reporting Matters               On the fifteenth (15th) day of each calendar month the Debtors
                                shall deliver to the DIP Agent a report, in the form substantially
                                similar to the form utilized for the Pre-Petition Credit
                                Agreement, showing the computation of the Borrowing Base as
                                of the end of the immediately preceding calendar month (such
                                report a “Borrowing Base Report”). The Borrowing Base
                                Report shall include a detailed report of all Accounts that are not
                                Eligible Accounts and all Credit Card Receivables that are not
                                Eligible Credit Card Receivables. All information (including a
                                calculation of DIP Availability) in a Borrowing Base Report
                                shall be certified by the Debtors’ chief executive officer, chief
                                financial officer, chief restructuring officer, Christina Keady
                                (senior manager, finance), or Brad Self (director, finance). DIP
                                Agent may from time to time adjust such report (x) to reflect DIP
                                Agent’s reasonable estimate of declines in value of DIP
                                Collateral, due to collections received; (y) to adjust advance
                                rates to reflect changes in dilution, quality, mix and other factors
                                affecting DIP Collateral; and (z) to the extent any information or

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                                    calculation does not comply with the DIP Facility requirements.

                                    On or before Thursday of each week, the Debtors shall deliver
                                    to the DIP Agent a rollforward of sales, accounts receivable, and
                                    collections, in form and substance reasonably satisfactory to the
                                    DIP Agent.

                                    On or before the fifteenth (15th) day of each calendar month, the
                                    Debtors shall deliver to the DIP Agent both (a) an accounts
                                    receivable aging, accounts payable aging, sales/invoice registers
                                    and collection journals as of the end of the prior month, and (b) a
                                    schedule of business locations and inventory locations, which
                                    has been updated as of the end of the immediately preceding
                                    month, in form and substance satisfactory to DIP Agent in its
                                    discretion.

Application of 363 Sale Proceeds:   The DIP Facility obligations shall be fully satisfied upon the
                                    closing of the 363 Sale (whether via repayment in cash or
                                    assumption of such obligations by the 363 Sale purchaser in a
                                    manner satisfactory to the DIP Agent at its sole discretion) and
                                    363 Sale cash proceeds required to satisfy the DIP Facility shall
                                    be paid to the DIP Agent at the closing of the 363 Sale.

Bankruptcy Court Filings:           As soon as reasonably practicable in advance of filing with the
                                    Bankruptcy Court, the Debtors shall furnish to the DIP Agent the
                                    drafts of forms of the following (which shall not have been
                                    modified or amended upon filing in any material respect without
                                    approval of the DIP Agent) (i) any motions, proposed orders, and
                                    pleadings related to the approval of the DIP Facility, which
                                    motion and orders shall be in form and substance satisfactory to
                                    the DIP Agent in its sole discretion, (ii) the motions seeking
                                    approval of the Sale Procedure Order and the 363 Sale, and the
                                    proposed forms of the orders related thereto, which shall be in
                                    form and substance reasonably satisfactory to the DIP Agent,
                                    (iii) any plan of reorganization or liquidation, and/or any
                                    disclosure statement related to such plan (which plan or
                                    disclosure statement shall comply with the requirements set forth
                                    herein), which shall be in form and substance reasonably
                                    satisfactory to the DIP Agent, (iv) any motion seeking approval
                                    of any sale of the Debtors’ assets and any proposed form of a
                                    related bidding procedures order and sale order (other than those
                                    with respect to the bidding procedures and the 363 Sale), and (v)
                                    any other motion filed seeking approval of any matter requiring
                                    material expenditures of DIP Collateral (each of which must be
                                    in form and substance reasonably satisfactory to the DIP Agent).

Sale Process:                       The Debtors shall conduct a sale process for the sale of
                                    substantially all of the assets of the Debtors to the Stalking Horse
                                    Bidder (or, if an Auction is held, to the Winning Bidder) in
                                    accordance with the Milestones defined below.


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                    The Debtors’ current management, together with Investment
                    Banker, the Debtors’ counsel, and the Debtors’ other
                    professionals, shall oversee the sale process on behalf of the
                    Debtors, including all activities of any advisors retained by the
                    Debtors in connection with the sale process.                Current
                    management shall at all times be entitled to take any action
                    necessary or appropriate to conduct the sale process, and shall
                    not interfere with, and shall use its commercially reasonable best
                    efforts to provide DIP Agent with access to all potential bidders,
                    lessors, and other interested parties requested by DIP Agent, and,
                    so long as no DIP Agent, DIP Lender, Pre-Petition Agent, or Pre-
                    Petition Lender has provided written notice of its intent to submit
                    a bid at the Auction, any materials, term sheets, bids, or financial
                    information provided in writing to the Debtors by such parties.

                    The Debtors shall provide or cause to be provided to DIP Agent
                    a written report from current management bi-weekly (or more
                    frequently as reasonably requested by the DIP Agent) in form
                    and substance satisfactory to, and addressing such items as are
                    requested by DIP Agent, including addressing the status of the
                    marketing and sale process of the Debtors. The Debtors shall also
                    cause current management and the Investment Banker to be
                    made available to provide periodic telephonic updates of such
                    reports to DIP Agent from time to time (but not less than bi-weekly),
                    as requested by DIP Agent.


                    Milestones. The Debtors shall be required to comply with the
                    following, (the “Milestones”):

                            (a)       On the Petition Date, the Debtor shall have
                    entered into an asset purchase agreement with the Stalking Horse
                    Bidder, in form and substance satisfactory to the Agent,
                    providing for the Stalking Horse Bidder’s purchase of
                    substantially all of the Debtors’ assets (subject to the Auction and
                    process contemplated in the Sale Procedure Order)

                            (b)      On or before one business day after the Petition
                    Date, or such later date to which the DIP Agent consents in
                    writing in its sole discretion, the Debtors shall file a motion, in
                    form and substance acceptable to the DIP Agent, requesting entry
                    of the Sale Procedure Order (as defined below) authorizing
                    procedures for the sale of substantially all of the Debtors’ assets
                    to the Stalking Horse Bidder (or, if an Auction is held, to the
                    Winning Bidder).

                             (c)     On or before 30 days after Petition Date, or such
                    later date to which the DIP Agent consents in writing in its sole
                    discretion, the Bankruptcy Court shall have entered the Sale
                    Procedure Order; and


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                                          (d)      On or before the date that is 72 days after the
                                  Petition Date, the Debtors shall have conducted an auction for
                                  the sale of substantially all of their assets (if necessary) and
                                  selected the successful bidder for the substantially all of their
                                  assets;

                                           (e)       On or before the date that is 75 days after the
                                  Petition Date, or such later date to which the DIP Agent consents
                                  in writing in its sole discretion, the Bankruptcy Court shall have
                                  entered the Sale Order approving the 363 Sale; and

                                           (f)     On or before the date that is 77 days after the
                                  Petition Date, provided that the Bankruptcy Court has waived the
                                  stay imposed by Bankruptcy Rule 6004(h) or such later date to
                                  which the DIP Agent consents in writing in its sole discretion, the
                                  Sale shall be closed.

                                  Notwithstanding anything to the contrary herein, the Bankruptcy
                                  Court may set dates with respect to the Milestones beyond the
                                  outer dates specified above to accommodate its own schedule and
                                  to the extent the Bankruptcy Court makes such an extension, the
                                  Milestones hereunder shall be automatically extended by the same
                                  period as the Bankruptcy Court’s extension.

                                  The DIP Agent, DIP Lender, Pre-Petition Agent, and Pre-Petition
                                  Lenders shall have the right to “credit bid” any secured obligations
                                  owed to them in any sale of the Debtors’ assets.

Representations and Warranties:   The representations and warranties of the Debtors set forth in the
                                  Pre-Petition Credit Agreement and other Pre-Petition Loan
                                  Documents, except (i) as otherwise disclosed to the DIP Agent in
                                  writing, or (ii) with acceptable qualifications for the
                                  commencement of the Chapter 11 Cases and other matters
                                  contemplated herein, are hereby incorporated in all material
                                  respects into this DIP Term Sheet as if made on the date hereof
                                  (except to the extent such representations and warranties expressly
                                  relate to an earlier date, in which case they are true and correct in
                                  all material respects as of such earlier date)

Remedies:                         Following the Termination Date or the occurrence of an Event of
                                  Default, unless such Event of Default has been waived by the DIP
                                  Agent in writing in its sole discretion, subject to the terms of the
                                  Interim Order or the Final Order (as applicable), the DIP Agent
                                  shall be entitled to exercise: (i) any remedies with respect to the DIP
                                  Facility that would be available to the Pre-Petition Agent as a result
                                  of an event of default under the Pre-Petition Credit Agreement, as
                                  well as all other remedies set forth in this DIP Term Sheet, the
                                  Interim Order, or the Final Order, including, without limitation, the
                                  ability to accelerate the entire DIP Facility and the right to terminate
                                  the Debtors’ use of cash collateral; and (ii) any customary remedies
                                  that would have been available under the Pre-Petition Loan

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                              Documents, including, without limitation, the right to realize on all
                              DIP Collateral and the right to exercise any remedy available
                              under applicable law, without the necessity of obtaining any
                              further relief or order from the Bankruptcy Court. Consistent with
                              the foregoing sentence, section 362 relief from the stay in favor of
                              the DIP Agent, as provided herein, shall be embodied in any order
                              approving the DIP Facility and the use of cash collateral.

Events of Default:            Defaults and Events of Default shall mean the occurrence of any
                              of the following:

                              •   The Debtors shall cease to employ a chief executive officer
                                  or chief restructuring officer who is reasonably acceptable to
                                  the DIP Agent (it being understood that Erica Buxton and
                                  John Madden shall be acceptable to the DIP Agent).
                              •   Any of the Chapter 11 Cases shall be converted to a case
                                  under Chapter 7 of the Bankruptcy Code or be dismissed.
                              •   Filing or support of a proposed plan of reorganization by any
                                  Debtor that does not provide for the indefeasible payment in
                                  full and in cash of Debtors’ obligations outstanding under the
                                  DIP Facility, unless otherwise agreed in writing by the DIP
                                  Agent in its sole discretion.
                              •   The filing by the Debtor of, or the filing of motion or
                                  pleading requesting confirmation of, a plan of reorganization
                                  that does not require the indefeasible repayment in full, in
                                  cash of the DIP Facility as of the effective date of the plan,
                                  unless otherwise agreed in writing by the DIP Agent in its
                                  sole discretion.
                              •   Appointment of a trustee under Section 1104 of the
                                  Bankruptcy Code without the express written consent of the
                                  DIP Agent, or the failure of the Debtors to oppose prior to
                                  the applicable objection deadline (as such deadline may be
                                  extended from time to time) any motion or other pleading
                                  requesting such relief.
                              •   Appointment of an examiner with expanded or enlarged
                                  powers (powers beyond those set forth in Section 1106(a)(3)
                                  and (4) of the Bankruptcy Code) under Section 1106(b) of
                                  the Bankruptcy Code without the prior written consent of the
                                  DIP Agent, or the failure of the Debtors to oppose prior to
                                  the applicable objection deadline (as such deadline may be
                                  extended from time to time) any motion or other pleading
                                  requesting such relief.
                              •   Entry of an order by the Bankruptcy Court amending,
                                  supplementing, staying, vacating or otherwise modifying the
                                  DIP Facility, the Interim Order or Final Order approving the
                                  DIP Facility, without the prior written consent of the DIP
                                  Agent or the failure of the Debtors to oppose prior to the


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                        applicable objection deadline (as such deadline may be
                        extended from time to time) any motion or other pleading
                        requesting such relief.
                    •   Any Debtor commences an adversary proceeding or files a
                        motion to obtain, or if any other party in interest obtains, an
                        order of the Bankruptcy Court or other judgment, and the
                        effect of such order or judgment is to, invalidate, reduce or
                        otherwise impair the claims of the DIP Agent, DIP Lender,
                        Pre-Petition Agent, or Pre-Petition Lenders, or to subject any
                        of the collateral of the DIP Agent or Pre-Petition Agent to a
                        surcharge pursuant to Section 506(c) of the Bankruptcy
                        Code.
                    •   Any Debtor shall request approval of any postpetition
                        financing, other than the DIP Facility, that would not
                        immediately repay all DIP Facility obligations, in full, in
                        cash, on the date of the closing of such postpetition
                        financing.
                    •   Any Debtor shall apply for an order substituting any assets
                        for all or any portion of the DIP Collateral.
                    •   Subject to the Carve Out and the Permitted Senior Liens,
                        entry of an order granting liens or claims that are senior or
                        pari passu to the liens granted in favor of the DIP Agent
                        and/or the DIP Lender under the DIP Financing Documents.
                    •   Any Debtor shall assert in any pleading that any of the DIP
                        Liens are invalid, or any DIP Liens granted to the DIP Agent
                        or DIP Lender shall be determined by the Bankruptcy Court
                        to be invalid.
                    •   Any payment on, or application for authority to pay any pre-
                        petition claim owing to terminated employees or lease
                        rejection damages without prior written consent of the DIP
                        Agent or as otherwise set forth in the Approved Budget.
                    •   If at any time prior to the conclusion of the sale process,
                        either (i) the Debtors announce or state in writing that the
                        sales process has been terminated or suspended, and such
                        termination or suspension continues for more than seven (7)
                        days without the DIP Agent’s consent; or (ii) the DIP Agent
                        has filed a notice with the Bankruptcy Court, at least two (2)
                        business days before the effective date of any declared
                        default, of its intent to declare an event of default as a result
                        of the sales process being terminated or suspended for more
                        than seven (7) days (with the Debtors reserving all rights to
                        seek further order of the Bankruptcy Court concerning
                        whether such alleged suspension is an actionable default).
                    •   A final order is entered granting any creditor relief from the
                        automatic stay that would permit the foreclosure of any
                        assets of the Debtors with a value in excess of $500,000 in


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                                  the aggregate.
                              •   Failure to make any payment of (i) principal, interest, or DIP
                                  Fees under the DIP Facility when due or (ii) any other
                                  amount (other than principal, interest, or DIP fees) where
                                  such payment default has continued for five (5) days.
                              •   Failure to pay by the applicable due dates (after giving effect
                                  to applicable grace periods) any material indebtedness in
                                  excess of $500,000 incurred after the Petition Date, which
                                  payment is not otherwise stayed.
                              •   Breach of any Milestones.
                              •   Breach of any other covenant set forth in any DIP Financing
                                  Document and such breach shall continue for five (5)
                                  Business Days after notice by the DIP Agent to the Debtors.
                              •   Any material representation or warranty by any Debtor is
                                  incorrect or misleading in any material respect when made.
                              •   Exclusivity shall have been terminated or any Debtor shall
                                  have agreed to any such termination.
                              •   After entry thereof, either of the Sale Procedure Order or the
                                  Sale Order shall cease to be in full force and effect, shall have
                                  been reversed, stayed, vacated or subject to stay pending
                                  appeal or shall have been modified or amended without the
                                  prior written consent of the DIP Agent (not to be
                                  unreasonably withheld, conditioned, or delayed).
                              •   Unless the Stalking Horse Bidder fails to be the Winning
                                  Bidder, or a back-up-bidder, following the conclusion of an
                                  Auction, the Stalking Horse Bidder designated in the motion
                                  seeking approval of the Sale Procedures Order shall drop out
                                  of the sale process or otherwise indicate that it is unable to
                                  close the sale process within ninety (90) days of the Petition
                                  Date.
                              •   Any Debtor shall file a motion to seek (or support any other
                                  Person in seeking) an order to restrict or prohibit the DIP
                                  Agent, DIP Lender, Pre-Petition Agent, or Pre-Petition
                                  Lender from submitting a “credit bid” for any DIP
                                  Collateral.
                              •   Any Debtor commences any Challenge Action (as such term
                                  is defined in the interim or final order approving the DIP
                                  Facility) against the Pre-Petition Agent or any Pre-Petition
                                  Lender.
                              •   The Debtors fail to enter into a Pre-Petition Credit
                                  Agreement, in form and substance satisfactory to the DIP
                                  Agent, on or before three (3) days prior to the hearing to
                                  consider entry of the Final Order.
Indemnification:              The Debtors shall, jointly and severally, indemnify and hold the


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                             DIP Agent, the DIP Lender, and their officers, directors,
                             employees and agents (including all of their attorneys and other
                             professionals) (each an “Indemnified Party”) harmless from and
                             against any and all claims, damages, losses, liabilities and
                             expenses (including, without limitation, all fees and
                             disbursements in respect of attorneys and other professionals) to
                             which any Indemnified Party may become liable or which may be
                             incurred by or asserted against any Indemnified Party, in each case
                             in connection with or arising out of or by reason of any
                             investigation, litigation or proceeding arising out of or relating to or
                             in connection with the DIP Facility, the DIP Financing Documents,
                             any obligation, or any act, event or transaction related or attendant
                             thereto or any use or intended use of the proceeds of the DIP
                             Facility, except to the extent the same is found in a final, non-
                             appealable judgment by a court of competent jurisdiction to have
                             resulted from such Indemnified Party’s gross negligence, fraud,
                             or willful misconduct.           The indemnification terms and
                             conditions of the Pre-Petition Credit Agreements are hereby
                             incorporated in this DIP Term Sheet and applied to the DIP
                             Facility.

Governing Law:               All documentation in connection with the DIP Facility shall be
                             governed by the laws of the state of New York, subject to
                             applicable federal bankruptcy laws.




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Other Definitions:            The definition of the “Borrowing Base” and other definitions
                              related to the computation of the Borrowing Base, are set forth
                              on Annex I hereto.

                              “363 Sale” means the sale of all or substantially all of the assets
                              of the Debtors under Section 363 of the Bankruptcy Code.

                              “Adjusted Term SOFR” means (a) Term SOFR plus (b) the
                              Term SOFR Adjustment. In no event shall Adjusted Term
                              SOFR be less than 1.50%.

                              “Approved Budget” means the 13-week budget of the Debtors
                              relative to the operations of the Debtors in the Chapter 11 Cases
                              for any fiscal period, as delivered to the DIP Agent in form and
                              substance satisfactory to the DIP Agent at its sole discretion.
                              The Approved Budget shall include the Debtors’ projected cash
                              receipts and disbursements, and projected ending cash balance,
                              for each Approved Budget week. The Approved Budget may
                              be amended from time to time as may be agreed to by the DIP
                              Agent, in writing, in its sole discretion.

                              “Approved Budget Variance Report” means a current report,
                              in form and substance satisfactory to the DIP Agent, that:
                              (i) details the actual amount of cash receipts and disbursements
                              for the prior week for each line item included in the Approved
                              Budget (on a weekly and cumulative basis), (ii) compares such
                              actual cash receipts and disbursements (on a line item by line
                              item basis) with the weekly and cumulative budgeted amounts
                              for each such line item set forth in the Approved Budget for
                              such period, and (iii) provides a reasonable explanation for all
                              variances between budgeted and actual amounts. Each
                              Approved Budget Variance Report will be certified as true and
                              correct by the Debtors’ chief financial officer, chief executive
                              officer, chief restructuring officer, Christina Keady (senior
                              manager, finance), or Brad Self (director, finance).

                              “Auction” means an auction held in connection with the 363
                              Sale and in accordance with the provisions set forth in the Sale
                              Procedure Order.

                              “Avoidance Actions” means any causes of action that could be
                              brought pursuant to section 544, 545, 547, or 548 of the
                              Bankruptcy Code, or any applicable state fraudulent transfer
                              statutes.

                              “Avoidance Proceeds” means the proceeds received from, or
                              property recovered in respect of, Avoidance Actions.

                              “Bankruptcy Court” means the United States Bankruptcy Court
                              for the District of Delaware presiding over the Chapter 11
                              Cases.

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                    “Business Day” means any day other than a Saturday, Sunday
                    or other day on which commercial banks are authorized or
                    required to close under the Laws of either New York or the state
                    where Agent is located, and, if such day relates to Term SOFR,
                    means any such day meeting the above requirements that is also
                    a U.S. Government Securities Business Day.

                    “Chapter 11 Cases” means the voluntary Chapter 11 cases
                    commenced by the Debtors in the Bankruptcy Court.

                    “DIP Availability” means the lesser of (a) (i) prior to entry of
                    the Final Order, the Maximum DIP Funding Amount, and (ii)
                    after entry of the Final Order, the Maximum DIP Facility
                    Amount; (b) the maximum amount of DIP Facility obligations
                    contemplated in the Approved Budget as of any particular date
                    and (c) the Borrowing Base (as defined in Annex I) minus the
                    DIP Facility Usage.

                    “DIP Facility Usage” means the sum of (a) the total principal
                    amount of obligations under the DIP Facility (prior to giving effect
                    to a proposed DIP Facility revolving advance); plus (b) the total
                    balance of obligations under the Pre-Petition Loan Documents.

                    “Final Order” means a final, non-appealable order of the
                    Bankruptcy Court, that, without limitation, approves the DIP
                    Facility and grants the liens and security interests contained
                    therein, on terms satisfactory to the DIP Agent in its sole
                    discretion.

                    “Governmental Authority” means any federal, state,
                    provincial, territorial, local, foreign or other agency, authority,
                    body, commission, court, instrumentality, political subdivision,
                    central bank, or other entity or officer exercising executive,
                    legislative, judicial, taxing, regulatory or administrative powers
                    or functions for any governmental, judicial, investigative,
                    regulatory or self-regulatory authority (including the Financial
                    Conduct Authority, the Prudential Regulation Authority and any
                    supra-national bodies such as the European Union or European
                    Central Bank).

                    “Interim Order” means an interim order of the Bankruptcy
                    Court authorizing Debtors, among other things, to obtain
                    interim financing and incur postpetition indebtedness on terms
                    satisfactory to the DIP Agent in its sole discretion.

                    “Investment Banker” means Jefferies LLC

                    “Material Adverse Effect” means (a) a material adverse
                    change in, or a material adverse effect upon, the operations,

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                    business, assets, properties, liabilities (actual or contingent) or
                    condition (financial or otherwise) of the Debtors; (b) a material
                    impairment of the rights and remedies of any of the DIP Agent,
                    DIP Lender, Pre-Petition Agent, or Pre-Petition Lenders under
                    any of the DIP Financing Documents, Pre-Petition Credit
                    Agreement, or other Pre-Petition Loan Documents, (c) a
                    material impairment of the Debtors’ ability to perform any of
                    their obligations under the DIP Financing Documents, Pre-
                    Petition Credit Agreement, or other Pre-Petition Loan
                    Documents, or (d) a material adverse effect upon the legality,
                    validity, binding effect, or enforceability against any Debtor of
                    any of the DIP Financing Documents, Pre-Petition Credit
                    Agreement, or other Pre-Petition Loan Documents, in each of
                    the foregoing cases, other than as a result of (i) the
                    commencement of the Chapter 11 Cases or (ii) events or
                    circumstances disclosed to the DIP Agent prior to the Petition
                    Date.

                    “Maturity Date” means the date that is seventy seven (77) days
                    after the Petition Date, or such later date to which the DIP Agent
                    consents in writing.

                    “Monthly Period” means a period that commences on the first
                    day of any calendar month (or in the case of a calendar month in
                    which the first DIP Facility advance occurs, such period shall
                    commence on the date of the first advance) and ends on (and
                    includes) the last day of such calendar month.

                    “Opening Pre-Petition Loan Balance” means $34,929,332.54.

                    “Person” means any individual, corporation, limited liability
                    company, partnership, joint venture, association, trust,
                    unincorporated organization, Governmental Authority, or other
                    entity.

                    “Petition Date” means the date on which the Chapter 11 Cases
                    for the Debtors were commenced.

                    “Pre-Petition Agent” means CIT Northbridge Credit LLC, in
                    its role as Agent for the Pre-Petition Lenders under the Pre-
                    Petition Credit Agreement.

                    “Pre-Petition Credit Agreement” has the meaning ascribed to
                    it in the preamble to this term sheet.

                    “Pre-Petition Credit Facility” means the facility furnished by
                    the Pre-Petition Agent and Pre-Petition Lenders pursuant to the
                    Pre-Petition Credit Agreement and other Pre-Petition Loan
                    Documents.

                    “Pre-Petition Lenders” means the lenders party to the Pre-

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                    Petition Credit Agreement.

                    “Pre-Petition Loan Documents” means, collectively, the Pre-
                    Petition Credit Agreement, and each other document relating to,
                    and executed in connection with, the credit facility governed by
                    the Pre-Petition Credit Agreement.

                    “Sale” means a sale of all or substantially all of the Debtors’
                    assets.

                    “Sale Order” means the order entered by the Bankruptcy Court
                    in form and substance reasonably satisfactory to the DIP Agent
                    that, among other things, approves the 363 Sale, the results of the
                    Auction (if applicable) and the Winning Bidder’s bid.

                    “Sale Procedure Order” means an order in form and substance
                    satisfactory to the DIP Agent approving the bidding procedures
                    to be applicable to the 363 Sale for the sale to the Stalking Horse
                    Bidder or, if an Auction is held, to the Winning Bidder.

                    “SOFR” means a rate per annum equal to the secured overnight
                    financing rate as administered by the SOFR Administrator.

                    “SOFR Administrator” means the Federal Reserve Bank of
                    New York (or a successor administrator of the secured
                    overnight financing rate).

                    “Stalking Horse Bidder” means shall mean Bucky Acquisition
                    Holdco, LLC.

                    “Statutory Committee” means any statutory committee
                    appointed in the Chapter 11 Cases.

                    “Term SOFR” means the rate determined by agent to be the
                    Term SOFR Reference Rate for a tenor comparable to the
                    applicable Monthly Period on the day (such day, the "Periodic
                    Term SOFR Determination Day") that is two (2) U.S.
                    Government Securities Business Days prior to the first day of
                    such Monthly Period, as such rate is published by the Term
                    SOFR Administrator and obtained by DIP Agent through the
                    Bloomberg Data License service or a comparable service
                    acceptable to DIP Agent; provided, however, that if as of 5:00
                    p.m. (New York City time) on any Periodic Term SOFR
                    Determination Day the Term SOFR Reference Rate for the
                    applicable tenor has not been published by the Term SOFR
                    Administrator and a Benchmark Replacement Date with respect
                    to the Term SOFR Reference Rate has not occurred, then Term
                    SOFR will be the Term SOFR Reference Rate for such tenor as
                    published by the Term SOFR Administrator on the first
                    preceding U.S. Government Securities Business Day for which
                    such Term SOFR Reference Rate for such tenor was published

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                    by the Term SOFR Administrator so long as such first
                    preceding U.S. Government Securities Business Day is not
                    more than three (3) U.S. Government Securities Business Days
                    prior to such Periodic Term SOFR Determination Day.

                    “Term SOFR Adjustment” means 0.11448%

                    “Term SOFR Administrator” means CME Group Benchmark
                    Administration Limited (CBA) (or a successor administrator of
                    the Term SOFR Reference Rate selected by DIP Agent at its
                    reasonable discretion).

                    “Term SOFR Reference Rate” means the rate per annum
                    determined by DIP Agent as the forward-looking term rate
                    based on SOFR.

                    “Termination Event” means the occurrence of the earlier of:

                    (i) an Event of Default under the DIP Facility; or

                    (ii) the Debtors’ failure to comply with the terms of the DIP
                    Financing Documents (including, without limitation, their
                    failure to comply with the Approved Budget, subject to any
                    approved variances).

                    “UCC” means the Uniform Commercial Code as in effect in the
                    State of New York or, when the laws of any other jurisdiction
                    govern the perfection or enforcement of any Lien, the Uniform
                    Commercial Code of such jurisdiction.

                    “U.S. Government Securities Business Day” means any day
                    except for (a) a Saturday, (b) a Sunday or (c) a day on which
                    the Securities Industry and Financial Markets Association
                    recommends that the fixed income departments of its members
                    be closed for the entire day for purposes of trading in United
                    States government securities and is otherwise a Business Day.

                    “Winning Bidder” means the bidder that agrees (at the Auction if
                    applicable) to purchase all or substantially all of the assets of the
                    Debtors.




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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed and
delivered by their duly authorized officers as of the date first set forth above.


                                     DEBTORS:

                                     UNCONDITIONAL LOVE INC.


                                     By:
                                     Name:
                                     Title:

                                     THE BEST TRAINING PANTS IN THE WORLD INC.


                                     By:
                                     Name:
                                     Title:

                                     UNCONDITIONAL LOVE CANADA, INC.


                                     By:
                                     Name:
                                     Title:




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                         DIP AGENT:

                         CIT NORTHBRIDGE CREDIT LLC


                         By:
                         Name:
                         Title:



                         DIP LENDER:

                         CIT NORTHBRIDGE FUNDING I LLC


                         By:
                         Name:
                         Title:




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                                                Annex I

                                  Calculation of the Borrowing Base

The Borrowing Base shall be substantially the same as under the Pre-Petition Credit Agreement, with the
following exceptions: (a) the Availability Block shall be $0.00; (b) the Availability Reserve will include
provision for all Carve-Out amounts payable after the Carve-Out Trigger Date, and (c) the Special Advance
Amount shall be computed as set forth below.

SPECIAL ADVANCE FORMULA:                Up to the lesser of a) $13,900,000 and b) the sum of (x) Up to 10%
                                        of the U.S. Formula Amount, plus the Canadian Formula Amount,
                                        minus the Availability Reserve and (y) $11,700,000.

                                        The existing Special Advance Formula (in effect under the Pre-
                                        Petition Credit Agreement) provides availability of $6.9 million.
                                        The revised Special Advance Formula above, combined with the
                                        lifting of the $5 million Availability Block, will produce
                                        incremental DIP Facility availability of $12,000,000 (prior to
                                        giving effect to the post-termination Carve-Out reserve).

SPECIAL ADVANCE AMORT:                  No amortization of the Special Advance Formula Amount during
                                        the DIP period.
